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                          Nos. 2024-1278, 2024-1354


                 United States Court of Appeals
                    for the Federal Circuit
                  CPC PATENT TECHNOLOGIES PTY, LTD.,
                               Appellant

                                     v.

                                APPLE, INC.,
                                  Appellee

          Appeals from the United States Patent and Trademark Office,
     Patent Trial and Appeal Board in Nos. IPR2022-00601, IPR2022-00602

                   CORRECTED BRIEF OF APPELLANT
                 CPC PATENT TECHNOLOGIES PTY, LTD.


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April 23, 2024
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           CHALLENGED CLAIMS OF THE ʼ208 PATENT

[1pre]     A system for providing secure access to a controlled item, the system
           comprising:

[1a]       a database of biometric signatures;

[1b]       a transmitter sub-system comprising:

[1b1]      a biometric sensor for receiving a biometric signal;

[1b2]      means for matching the biometric signal against members of the
           database of biometric signatures to thereby output an accessibility
           attribute; and

[1b3]      means for emitting a secure access signal conveying information
           dependent upon said accessibility attribute; and

[1c]       a receiver sub-system comprising:

[1c1]      means for receiving the transmitted secure access signal; and

[1c2]      means for providing conditional access to the controlled item
           dependent upon said information,

[1d]       wherein the transmitter sub-system further comprises means for
           populating the data base of biometric signatures, the population
           means comprising:

[1d1]      means for receiving a series of entries of the biometric signal, said
           series being characterised according to at least one of the number of
           said entries and a duration of each said entry;

[1d2]      means for mapping said series into an instruction; and

[1d3]      means for populating the data base according to the instruction,

[1e]       wherein the controlled item is one of: a locking mechanism of a
           physical access structure or an electronic lock on an electronic
           computing device.
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[3a]     The system according to claim 1, wherein the database of biometric
         signatures comprises signatures in at least one of a system
         administrator class, a system user class, and a duress class,

[3b]     the accessibility attribute preferably comprising: an access attribute
         if the biometric signal matches a member of the database of biometric
         signatures;

[3c]     a duress attribute if the biometric signal matches a member of the
         database of biometric signatures and said member belongs to the
         duress class; and

[3d]     an alert attribute if the biometric signal does not match a member of
         the database of biometric signatures.


[4]      The system according to claim 1, wherein the biometric sensor is
         responsive to one of voice, retinal pattern, iris pattern, face pattern,
         and palm configuration, and/or the database of biometric signatures
         is located in at least one of the transmitter sub-system and the receiver
         sub-system.


[5]      The system according to claim 1, wherein said conditional access
         comprises one of:
         provision of access to the controlled item if the accessibility attribute
         comprises an access attribute:
         provision of access to the controlled item and sounding of an alert if
         the accessibility attribute comprises a duress attribute; and
         denial of access to the controlled item and sounding of an alert if the
         accessibility attribute comprises an alert attribute.


[6a]     The system as claimed in claim 1, wherein: the biometric sensor is
         for authenticating the identity of a user;

[6b]     the means for emitting comprises a transmitter for transmitting
         information capable of granting more than two types of access to the
         controlled item using a secure wireless signal dependent upon a
         request from the user and the authentication of the user identity; and
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[6c]       the system further comprising a control panel for receiving the
           information and for providing the secure access requested.


[7]        The system according to claim 6, wherein the control panel includes
           a converter for receiving the secure wireless signal and for outputting
           the information, and/or the biometric sensor authenticates the identity
           of the user by comparing a biometric input from the user with a
           biometric signature for the user in a biometric database, and/or the
           biometric sensor, the biometric database, and the transmitter are
           located in a remote fob.


[9pre]     A transmitter sub-system for operating in a system for providing
           secure access to a controlled item, wherein the transmitter sub-system
           comprises:

[9a]       a biometric sensor for receiving a biometric signal;

[9b]       means for matching the biometric signal against members of a
           database of biometric signatures to thereby output an accessibility
           attribute; and

[9c]       means for emitting a secure access signal conveying said information
           dependent upon said accessibility attribute;

[9d]       wherein the transmitter sub-system further comprises means for
           populating the database of biometric signatures, the populating means
           comprising:

[9d1]      means for receiving a series of entries of the biometric signal, said
           series being characterised according to at least one of the number of
           said entries and a duration of each said entry;

[9d2]      means for mapping said series into an instruction; and

[9d3]      means for populating the database according to the instruction,

[9e]       wherein the controlled item is one of: a locking mechanism of a
           physical access structure or an electronic lock on an electronic
           computing device.
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[10pre1]     A method for providing secure access to a controlled item in a system
             comprising

[10pre2]     a database of biometric signatures,

[10pre3]     a transmitter sub-system comprising a biometric sensor for receiving
             a biometric signal, and means for emitting a secure access signal
             capable of granting more than two types of access to the controlled
             item, and

[10pre4]     a receiver sub-system comprising means for receiving the transmitted
             secure access signal, and

[10pre5]     means for providing conditional access to the controlled item
             dependent upon information in said secure access signal,

[10a]        the method comprising the steps of: populating the database of
             biometric signatures by:

[10a1]       receiving a series of entries of the biometric signal;

[10a2]       determining at least one of the number of said entries and a duration
             of each said entry;

[10a3]       mapping said series into an instruction; and

[10a4]       populating the database according to the instruction;

[10b]        receiving a biometric signal;

[10c]        matching the biometric signal against members of the database of
             biometric signatures to thereby output an accessibility attribute;

[10d]        emitting a secure access signal conveying information dependent
             upon said accessibility attribute; and

[10e]        providing conditional access to the controlled item dependent upon
             said information,

[10f]        wherein the controlled item is one of: a locking mechanism of a
             physical access structure or an electronic lock on an electronic
             computing device.
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[11]     The method according to claim 10, wherein the step of populating the
         database of biometric signatures further comprises the step of
         enrolling a biometric signature into the database of biometric
         signatures comprising the steps of:
         receiving a biometric signal; and
         enrolling the biometric signal as an administrator signature if the
         database of biometric signatures is empty.


[13]     A non-transitory computer readable storage medium for storing a
         computer program comprising instructions, which when executed by
         processors causes the processors to perform the steps of the method
         of claim 10.
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           CHALLENGED CLAIMS OF THE ʼ705 PATENT

[1pre]     1. A system for providing secure access to a controlled item, the
           system comprising:

[1a]       a memory comprising a database of biometric signatures;

[1b]       a transmitter sub-system comprising:

[1b1]      a biometric sensor configured to receive a biometric signal;

[1b2]      a transmitter sub-system controller configured to match the biometric
           signal against members of the database of biometric signatures to
           thereby output an accessibility attribute; and

[1b3]      a transmitter configured to emit a secure access signal conveying
           information dependent upon said accessibility attribute; and

[1c]       a receiver sub-system comprising: a receiver sub-system controller
           configured to:

[1c1]      receive the transmitted secure access signal; and

[1c2]      provide conditional access to the controlled item dependent upon said
           information;

[1d]       wherein the transmitter sub-system controller is further configured to:

[1d1]      receive a series of entries of the biometric signal, said series being
           characterised according to at least one of the number of said entries
           and a duration of each said entry;

[1d2]      map said series into an instruction; and

[1d3]      populate the data base according to the instruction,

[1e]       wherein the controlled item is one of: a locking mechanism of a
           physical access structure or an electronic lock on an electronic
           computing device.


[4]        4. The system according to claim 1, wherein the biometric sensor is
           responsive to one of voice, retinal pattern, iris pattern, face pattern,
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            and palm configuration, and/or the database of biometric signatures
            is located in at least one of the transmitter sub-system and the receiver
            sub-system.


[6a]        6. The system as claimed in claim 1, wherein the biometric sensor is
            further configured to authenticate the identity of a user;

[6b]        wherein the transmitter is further configured to transmit information
            capable of granting access to the controlled item using a secure
            wireless signal dependent upon a request from the user and the
            authentication of the user identity; and

[6c]        the system further comprising a control panel configured to receive
            the information and provide the secure access requested.


[10pre]     10. A transmitter sub-system for operating in a system for providing
            secure access to a controlled item, wherein the transmitter sub-system
            comprises:

[10a]       a biometric sensor configured to receiving a biometric signal;

[10b]       a controller configured to match the biometric signal against
            members of a database of biometric signatures to thereby output an
            accessibility attribute; and

[10c]       a transmitter configured to emit a secure access signal conveying said
            information dependent upon said accessibility attribute;

[10d]       wherein the controller is further configured to:

[10d1]      receive a series of entries of the biometric signal, said series being
            characterised according to at least one of the number of said entries
            and a duration of each said entry;

[10d2]      map said series into an instruction; and

[10d3]      populate the database according to the instruction,
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[10e]        wherein the controlled item is one of: a locking mechanism of a
             physical access structure or an electronic lock on an electronic
             computing device.


[11pre1]     11. A method for providing secure access to a controlled item in a
             system comprising

[11pre2]     a database of biometric signatures,

[11pre3]     a transmitter sub-system comprising a biometric sensor configured to
             receive a biometric signal, and a transmitter configured to emit a
             secure access signal capable of granting access to the controlled item,

[11pre4]     and a receiver sub-system comprising a receiver sub-system
             controller configured to receive the transmitted secure access signal,
             and provide conditional access to the controlled item dependent upon
             information in said secure access signal,

[11a]        the method comprising: populating the database of biometric
             signatures by:

[11a1]       receiving a series of entries of the biometric signal;

[11a2]       determining at least one of the number of said entries and a duration
             of each said entry;

[11a3]       mapping said series into an instruction; and

[11a4]       populating the database according to the instruction;

[11b]        receiving the biometric signal;

[11c]        matching the biometric signal against members of the database of
             biometric signatures to thereby output an accessibility attribute;

[11d]        emitting a secure access signal conveying information dependent
             upon said accessibility attribute; and

[11e]        providing conditional access to the controlled item dependent upon
             said information,
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[11f]       wherein the controlled item is one of: a locking mechanism of a
            physical access structure or an electronic lock on an electronic
            computing device.


[12]        12. The method according to claim 11, wherein populating the
            database of biometric signatures further comprises enrolling a
            biometric signature into the database of biometric signatures, and
            wherein enrolling the biometric signature into the database
            comprises:
            receiving a biometric signal; and
            enrolling the biometric signal as an administrator signature in
            response to the database of biometric signatures being empty.


[14pre]     14. A non-transitory computer readable storage medium storing a
            computer program comprising instructions, which when executed by
            processors causes the processors to:

[14a]       receive a series of entries of a biometric signal;

[14b]       determine at least one of a number of said entries and a duration of
            each of said entries;

[14c]       map said series into an instruction;

[14e]       populate a database of biometric signatures according to the
            instruction;

[14f]       receive the biometric signal;

[14g]       match the biometric signal against members of the database of
            biometric signatures to thereby output an accessibility attribute;

[14h]       emit a secure access signal conveying information dependent upon
            said accessibility attribute; and

[14i]       provide conditional access to a controlled item dependent upon said
            information, wherein the controlled item is one of: a locking
            mechanism of a physical access structure or an electronic lock on an
            electronic computing device.
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[15pre]     15. A system for providing secure access to a controlled item, the
            system comprising:

[15a]       a memory comprising a database of biometric signatures;

[15b]       a transmitter sub-system comprising:

[15b1]      a biometric sensor capable of receiving a biometric signal;

[15b2]      a transmitter sub-system controller capable of matching the biometric
            signal against members of the database of biometric signatures to
            thereby output an accessibility attribute; and

[15b3]      a transmitter capable of emitting a secure access signal conveying
            information dependent upon said accessibility attribute; and

[15c]       a receiver sub-system comprising: a receiver sub-system controller
            capable of:

[15c1]      receiving the transmitted secure access signal; and

[15c2]      providing conditional access to the controlled item dependent upon
            said information;

[15d]       wherein the transmitter sub-system controller is further capable of:

[15d1]      receiving a series of entries of the biometric signal, said series being
            characterised according to at least one of the number of said entries
            and a duration of each said entry;

[15d2]      mapping said series into an instruction; and

[15d3]      populating the data base according to the instruction,

[15e]       wherein the controlled item is one of: a locking mechanism of a
            physical access structure or an electronic lock on an electronic
            computing device.


[16pre]     16. A transmitter sub-system for operating in a system for providing
            secure access to a controlled item, wherein the transmitter sub-system
            comprises:
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[16a]        a biometric sensor capable of receiving a biometric signal;

[16b]        a controller capable of matching the biometric signal against
             members of a database of biometric signatures to thereby output an
             accessibility attribute; and

[16c]        a transmitter capable of emitting a secure access signal conveying
             said information dependent upon said accessibility attribute;

[16d]        wherein the controller is further capable of:

[16d1]       receiving a series of entries of the biometric signal, said series being
             characterised according to at least one of the number of said entries
             and a duration of each said entry;

[16d2]       mapping said series into an instruction; and

[16d3]       populating the database according to the instruction,

[16e]        wherein the controlled item is one of: a locking mechanism of a
             physical access structure or an electronic lock on an electronic
             computing device.


[17pre1]     17. A method for providing secure access to a controlled item in a
             system comprising

[17pre2]     a database of biometric signatures,

[17pre3]     a transmitter sub-system comprising a biometric sensor capable of
             receiving a biometric signal, and a transmitter capable of emitting a
             secure access signal capable of granting access to the controlled item,
             and

[17pre4]     a receiver sub-system comprising a receiver sub-system controller
             capable of receiving the transmitted secure access signal, and
             providing conditional access to the controlled item dependent upon
             information in said secure access signal,

[17a]        the method comprising: populating the database of biometric
             signatures by:
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[17a1]     receiving a series of entries of the biometric signal;

[17a2]     determining at least one of the number of said entries and a duration
           of each said entry;

[17a3]     mapping said series into an instruction; and

[17a4]     populating the database according to the instruction;

[17b]      receiving the biometric signal;

[17c]      matching the biometric signal against members of the database of
           biometric signatures to thereby output an accessibility attribute;

[17d]      emitting a secure access signal conveying information dependent
           upon said accessibility attribute; and

[17e]      providing conditional access to the controlled item dependent upon
           said information,

[17f]      wherein the controlled item is one of: a locking mechanism of a
           physical access structure or an electronic lock on an electronic
           computing device.
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FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                   March 2023


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 24-1278, 24-1354
   Short Case Caption CPC Patent Technologies Pty Ltd. v. Apple Inc.
   Filing Party/Entity CPC Patent Technologies Pty Ltd.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        04/22/2024
  Date: _________________                    Signature:   /s/ George Summerfield

                                             Name:        George Summerfield
              Case: 24-1278           Document: 16     Page: 15       Filed: 04/23/2024



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                           March 2023


     1. Represented                       2. Real Party in            3. Parent Corporations
         Entities.                            Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).             Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of            Provide the full names of       Provide the full names of
 all entities represented by          all real parties in interest    all parent corporations for
 undersigned counsel in               for the entities. Do not list   the entities and all
 this case.                           the real parties if they are    publicly held companies
                                      the same as the entities.       that own 10% or more
                                                                      stock in the entities.

                                      ‫܆‬
                                      ✔ None/Not Applicable           ‫܆‬
                                                                      ✔ None/Not Applicable



CPC Patent Technologies Pty Ltd.




                                  ‫܆‬      Additional pages attached
              Case: 24-1278       Document: 16   Page: 16   Filed: 04/23/2024



FORM 9. Certificate of Interest                                                 Form 9 (p. 3)
                                                                                 March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬        None/Not Applicable               ‫܆‬     Additional pages attached

Brian P. Bozzo (K&L Gates LLP)




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
  ✔
                                                        ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔        None/Not Applicable               ‫܆‬     Additional pages attached
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                      STATEMENT OF RELATED CASES

      Pursuant to Federal Circuit Rule 47.5, counsel for Appellant states that: (a) no

other appeal in or from the same proceeding was previously before this or any other

appellate court, whether under the same or a similar title; and (b) the following cases

will be directly impacted by this court’s decision in the pending appeal:

      Apple Inc. v. CPC Patent Technologies Pty Ltd., IPR2022-00601 (PTAB)

      Apple Inc. v. CPC Patent Technologies Pty Ltd., IPR2022-00602 (PTAB)

      Assa Abloy AB, et al. v. CPC Patent Technologies PTY, LTD., IPR2022-01094
      (PTAB);

      Assa Abloy AB, et al. v. CPC Patent Technologies PTY, LTD., IPR2022-01093
      (PTAB);

      Assa Abloy AB, et al. v. CPC Patent Technologies PTY, LTD., IPR2022-01006
      (PTAB);

      Assa Abloy AB, et al. v. CPC Patent Technologies PTY, LTD., No. 3:22-cv-
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                      JURISDICTIONAL STATEMENT

      On September 27, 2023, the Board issued final written decisions (“FWDs”)

determining claims 1, 3–7, 9–11, and 13 of the ʼ208 Patent and claims 1, 4, 6, 10–

12, and 14–17 of the ʼ705 Patent invalid. Appx1-65; Appx66-125. Regarding the

ʼ208 Patent, CPC timely requested director review on October 27, 2023, which was

denied on November 6, 2023. Appx572-589; Appx590-592. On December 20,

2023, the same Board as in IPR2022-00601 determined the ʼ208 Patent was not

unpatentable as obvious in proceedings IPR2022-01045 and IPR2022-01089.

Appx4399. CPC timely appealed from both decisions on December 18, 2023.

Appx594.

      Regarding the ʼ705 Patent, CPC timely requested director review on October

4, 2023, which was denied on November 6, 2023. Appx3525-3541; Appx3542-

3544. On November 30, 2023, the same Board as in IPR2022-00602 determined the

ʼ705 Patent was not unpatentable as obvious in IPR2022-01006. Appx4305. CPC

sought a rehearing of the Director’s decision to deny review in light of the same

panel finding the same claims were not unpatentable in IPR2022-01006. Appx3546.

This rehearing request was dismissed, noting “[a] party many not file a request for

rehearing of the Director’s decision to deny Director Review.” Appx3555. CPC

timely appealed on January 8, 2024. Appx3558.




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      This Court therefore has jurisdiction over this appeal pursuant to 28 U.S.C. §

1295(a)(4)(A) and 35 U.S.C. §§ 141(c) and 319.




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                                INTRODUCTION

      In its final written decisions invalidating every challenged claim, the Board

routinely confused the input of biometric information, such as fingerprints, with the

input of indisputably non-biometric information, such as a geometric pattern. This

confusion infects the Board’s analysis as to every challenged claim and warrants

reversal.

      In the IPR proceedings, Apple did not argue that swapping biometric signals

for non-biometric ones would have been an obvious modification to the cited prior

art. Apple also failed to present any evidence that replacing a post-enrollment

process with an enrollment process would have been an obvious modification.

Despite not making these arguments and not presenting this evidence, the Board

improperly filled in the gaps for Apple. Troublingly, the Board’s reasoning flies in

the face of numerous instances of the parties’ experts agreeing to the contrary.

      Thus, the PTAB abused its discretion in finding that non-biometric signals

equate to biometric signals, and that signal entries that occur after enrollment are

nonetheless part of an enrollment process. Despite unrebutted evidence that the prior

art fails to render the challenged claims obvious, the Board erroneously found each

of the challenged claims unpatentable. Reversal is, therefore, warranted.




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                           STATEMENT OF THE ISSUE

      1.     Whether the PTAB abused its discretion in finding that the proposed

modification to Mathiassen’s finger movements with Anderson’s variable pressure

pulses, both of which are non-biometric, and which are entered after an enrollment

has taken place, nonetheless results in the claimed series of received biometric signal

entries entered as part of an enrollment process, as required by the challenged claims.

                           STATEMENT OF THE CASE

      A.     The Challenged Patents

      The ʼ208 Patent, entitled “Remote Entry System,” issued on February 23,

2016, from an application claiming priority of August 13, 2003. Appx126.

      The ʼ705 Patent is a continuation of the ʼ208 Patent. Appx147. Like the ʼ208

Patent, the ʼ705 Patent claims priority of no later than August 13, 2003, and issued

on May 30, 2017. Appx126.

      The ʼ208 and ʼ705 Patents disclose a system ‘for providing secure access to a

controlled item.’” Appx5; Appx69. Claims 1 of the ʼ208 and ʼ705 Patents both

further specify that the “controlled item” includes “an electronic lock on an

electronic computing device.” Appx145, 16:1-3; Appx166, 16:21-23. Claim 1 of

the ʼ208 Patent reads in its entirety as follows:

             1. A system for providing secure access to a controlled
             item, the system comprising:

             a database of biometric signatures;


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           a transmitter sub-system comprising:

           a biometric sensor for receiving a biometric signal;

           means for matching the biometric signal against members
           of the database of biometric signatures to thereby output
           an accessibility attribute;

           and means for emitting a secure access signal conveying
           information dependent upon said accessibility attribute;

           and a receiver sub-system comprising: means for receiving
           the transmitted secure access signal;

           and means for providing conditional access to the
           controlled item dependent upon said information, wherein
           the transmitter sub-system further comprises means for
           populating the database of biometric signatures, the
           population means comprising:

           means for receiving a series of entries of the biometric
           signal,

           said series being characterized according to at least one
           of the number of said entries and a duration of each said
           entry;

           means for mapping said series into an instruction;

           and means for populating the data base according to the
           instruction,

           wherein the controlled item is one of a locking mechanism
           of a physical access structure or an electronic lock on an
           electronic computing device.

Appx145, 15:42-16:3 (emphasis added).

     Claim 1 of the ʼ705 Patent reads in its entirety as follows:

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 1. A system for providing secure access to a controlled
 item, the system comprising:

 a memory comprising a database of biometric signatures;

 a transmitter sub-system comprising:

 a biometric sensor configured to receive a biometric
 signal;

 a transmitter sub-system controller configured to match
 the biometric signal against members of the database of
 biometric signatures to thereby output an accessibility
 attribute; and

 a transmitter configured to emit a secure access signal
 conveying information dependent upon said accessibility
 attribute; and

 a receiver sub-system comprising: a receiver sub-system
 controller configured to: receive the transmitted secure
 access signal; and

 provide conditional access to the controlled item
 dependent upon said information; wherein the transmitter
 sub-system controller is further configured to:

 receive a series of entries of the biometric signal,

 said series being characterized according to at least one
 of the number of said entries and a duration of each said
 entry;

 map said series into an instruction; and

 populate the data base according to the instruction,

 wherein the controlled item is one of: a locking
 mechanism of a physical access structure or an electronic
 lock on an electronic computing device.

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Appx166, 15:62-16:23 (emphasis added).

      The ʼ208 and ʼ705 Patents are designed to solve for the security problems

associated with inputting secret digits or the use of a prior art biometric system.

Appx138, 1:48-51. Of note for this appeal, the invention solves this problem, in

part, by populating a database of biometric signatures that includes “receiving a

series of entries of [a] biometric signal.” Appx139, 3:26-37 (emphasis added). As

the PTAB recognized, the database is populated in this manner as part of a user

enrollment process. Appx38; Appx97.

      The challenged patents give an example of a “biometric” signal: the signal

generated when a user presses his thumb on a “biometric sensor panel,” thereby

allowing the authentication of the user’s “personal biometric identity.” Appx141,

7:43-51; see also Appx138, 1:29-30 (“One example of a biometric signal is a

fingerprint”). In that regard, the PTAB also referenced a “succession of finger

presses” applied to a “fingerprint sensor” as an example of the claimed “biometric

signal.” Appx37.

      As depicted graphically in the challenged patents, a biometric signal is first

received at step 701 in Figure 6, and, if the database of biometric signals is empty at

step 702, the invention proceeds to step 708 Figure 8 to commence the enrollment

process. Appx133, Appx135. The latter figure shows the storage of the biometric

signatures corresponding to the entered biometric signals at steps 804-807.

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Appx135. For that enrollment process, the challenged patents explain that steps 805

and 807 in Figure 8 “involve sequences of finger presses on the biometric sensor.”

Appx143, 12:55-57 (emphasis added).




               Fig. 8




                                                               Fig. 6




Appx133, Appx135, Appx142, 10:5-19, Appx144, 13:7-19.


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      According to the plain language of claim 1 in both the ʼ208 and ʼ705 Patents,

the series of biometric signal entries is characterized according to both “at least one

of the number of said entries,” as well as “a duration of each said entry.” Appx145,

15:62-64 (emphasis added); Appx166, 16:15-18 (same). In a co-pending district

court matter between the parties, “[t]he court found the claim term ‘at least’ modifies

‘one of the number of said entries’ and that the claim requires ‘a duration of each

said entry.’” See Appx208 (citing Appx2247); Appx3240 (same).

      The PTAB observed that these “number and duration clauses” “require a

number and duration of biometric signals because the input for these biometric

signals is a biometric sensor, as disclosed in the Specification.” Appx37 (emphasis

added); Appx96 (same). As the PTAB recognized, “[i]f the number and duration of

presses did not include a biometric component, it would be simply a ‘knowledge-

based’ security measure, based on a pattern rather than based on a unique physical

attribute of the user.” Appx40; Appx99.

      B.     The Prior Art

      Apple urged a single challenge ground: obviousness under 35 U.S.C. § 103(a)

in light of Mathiassen, McKeeth, and Anderson. Appx40; Appx99. As will be

demonstrated herein, that combination fails to teach a biometric signal series

received as part of an enrollment process, as required by the subject claims.




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             1.    Mathiassen

      Mathiassen is generally “related to access and input devices for giving access

and allowing user input in access limited devices, apparatuses, appliances, systems

or networks.” Appx1285, ¶ [0001]. While Mathiassen teaches several different

embodiments of its access system, Apple relied upon the portable door control

iteration, as depicted in Figure 8 of that reference, when mapping that reference to

the challenged claims:




See, e.g., Appx190-191, Appx193; Appx3219, Appx3222.

      This portable door control is part of the “automotive application” of

Mathiassen’s purported invention.      Appx1295, ¶¶ [0146]-[0147].        Mathiassen

teaches that a dealer will initially access a database on a separate computer terminal

by “fingerprint authentication.” Id., ¶ [0152]. Mathiassen provides no description


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of that authentication, e.g., whether such authentication involves a “series” of

fingerprint entries, and how the dealer’s fingerprints are originally stored to allow

for such authentication.

      After such authentication, the following is Mathiassen’s description of a

user’s fingerprint enrollment procedure:

             This first person to enroll his fingerprint on the portable
             door control (20) becomes the ‘owner’ of the car, in the
             sense that he becomes the system administrator. When he
             has successfully enrolled on the portable door control (20)
             he will countersign by his fingerprint to authorize and
             initiate encryption of his master minutiae table(s) from the
             IC (1) on the portable door control (20) via the door locks
             and the central car computer (not shown) to the IC (1) of
             the embedded ignition control (15) of the car.

Appx1296, ¶ [0165].

      The master minutiae tables corresponding to the owner’s fingerprints are then

encrypted and transmitted to the central computer of the car. Id., ¶ [0167]. As Apple

admitted in its petition, “[a]lthough Mathiassen teaches inputting a command via a

series of fingerprint representations, Mathiassen does not teach determining a

duration of each entry,” meaning that these master minutiae tables do not include

“duration” information. Appx180 (emphasis added); Appx3212 (same).

      Separately, Mathiassen teaches, as an additional safety feature, the use of

“omni-directional finger movements,” which are compared to “predefined sets of

finger movement sequences including directional and touch/no-touch finger



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movement sequences,” allowing for “controlling the device.” Appx1297, ¶ [0192]

(emphasis added). This capability additionally requires “[m]ovement analyzing

means, in the form of a hardware or a software movement analyzing program

module.” See id.

      While Mathiassen offers no express teaching regarding how or when these

finger movement sequences are “predefined,” this Court has affirmed that the plain

and ordinary meaning of that term is to be “defined in advance.” See IGT v. Bally

Gaming Int’l, Inc., 659 F.3d 1109, 1119 (Fed. Cir. 2011). In other words, nothing

in Mathiassen expressly teaches that these predefined finger movements are stored

in memory as part of the user’s enrollment process.

            2.     Anderson

      Anderson’s invention relates to “systems employing user entered access codes

such as passwords, personal identification numbers (PIN) and the like, and more

particularly to a method for inputting such access codes via temporal variations in

the amount of pressure applied to a touch interface.” Appx1321, 1:7-12. As

Anderson explains, its claimed method “includes the steps of sensing temporal

variations in pressure applied to the touch interface, encoding the sensed temporal

variations in pressure to generate a code, and comparing the generated code with a

stored code template to determine if the code and the code template match within a

predetermined tolerance.” Id., 2:7-12. Figure 3A shows the steps comprising that


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method, including: 1) a user’s attempt to access a function requiring an access code

(step 312); 2) a request provided to the user to enter the access code (step 314); 3)

the user’s entered temporal pattern of pressure applications that is sensed by the

touch interface (step 316); 4) an access code is generated (step 318); and 5) the

generated access code is compared with a code template created earlier by the user

(step 320).




See Appx1323, 5:58-6:27.

      There is no biometric information involved in this process at all. In fact,

Anderson teaches that fingerprint collection is an optional add-on to the procedure

depicted in Figure 3A:

               [D]igitizer pad 120 may include an optical scanner or
               thermal sensor for collecting an image of the user’s
               fingerprint as the pressure access code is entered and


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            verified against a stored fingerprint template. Verification
            of both the collected fingerprint image and the access code
            may then be required before the user is allowed access to
            the system or information.

See Appx1324, 7:5-11 (emphasis added).

      It is clear from the foregoing passage that the pressure pulses taught by

Anderson are distinct from this optional fingerprint imaging, which is unsurprising,

given that Anderson also teaches that fingerprint recognition utilizes “specialized

equipment and may require sophisticated software for implementation.”           See

Appx1321, 1:54-57.      This discussion of fingerprint recognition appears in

Anderson’s Background of the Invention section, where Anderson is identifying the

“drawbacks” of prior art security methods. And, as both parties’ experts1 opined,

Anderson’s pressure pulses are knowledge-based, rather than biometric:




Appx2993, ¶ 69; Appx2894, 58:3-10.



1
 CPC presented testimony from Dr. Easttom, and Apple presented testimony from
Dr. Sears.

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      In Anderson’s teaching of optional fingerprint imaging, there is no disclosure

in that reference as to the creation of the stored “template,” let alone the specific

entry of a series of fingerprint signals as part of an enrollment process to create that

template. In fact, Anderson teaches “collecting an image of the user’s fingerprint as

the pressure access code is entered,” as opposed to multiple images, belying any

conclusion that Anderson captures a series of fingerprint signals as part of an

enrollment process or otherwise. See Appx1324, 7:6-7 (emphasis added).

             3.     McKeeth

      McKeeth’s teachings are directed to “authenticating a user to access a

computer system” using an “implicit input” to match with “corresponding

information associated with the user,” and “granting the user access to the computer

system in the event of a satisfactory match.” Appx1302, Abstract. McKeeth gives

as an example of “implicit input” forming a geometric pattern using a mouse.

Appx1308, 4:5-9. McKeeth contrasts its invention with fingerprint authentication,

which is “not immune to the computer hacker’s ability to force the user to place

his/her finger on the acquisition device,” or to “provide a simulated [fingerprint]

signal to the computer system to obtain access.” Appx1307, 1:49-55.

      McKeeth goes on to teach that combinations of “input signals may be used to

authenticate a user,” including “a password from a keyboard,” “a fingerprint scan

from an optical scanner,” and “a geometric pattern from a mouse or trackball.”


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Appx1308, 3:11-18. The user can, for example, “enter a password through the

keyboard and, within a predetermined duration of time (e.g., 5 seconds), place

his/her finger on the mouse to be scanned while moving the mouse in a specified

pattern.” Id., 3:19-23 (emphasis added).

      McKeeth makes clear that the invention described operates when the user

performs “a fingerprint scan and/or pattern,” indicating that the fingerprint scan and

geometric pattern are separate operations. See id., 3:40-53 (emphasis added). As

Figures 3A-3D illustrate, the geometric patterns are not biometric, as they are

patterns that can be learned:




Appx1305, Figs 3A-3D. In fact, McKeeth teaches that these geometric figures are

formed by moving a trackball over a flat surface, so no fingerprint data is collected

in forming these figures. See Appx1309, 5:34-40.


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      C.     Procedural Background

      As noted above, Apple petitioned for review of the challenged patents on a

single obviousness challenge ground involving the three afore-discussed references.

See, e.g., Appx40; Appx99. CPC urged in response that the asserted combination

failed to teach a “duration” component for the claimed biometric signal series, as

any duration present would be, at most, attendant to a non-biometric signal, i.e.,

Anderson’s knowledge-based pressure pulses, or geometric designs of the type

disclosed in Mathiassen and McKeeth. See Appx58; Appx116-117. Further, CPC

maintained that there is no teaching that the combination referenced by Apple is part

of an enrollment process, as required by the challenged claims. See Appx60;

Appx121.

      In finding all challenged claims unpatentable, the PTAB made two critical,

and erroneous, findings: 1) “there can be no reasonable dispute that Anderson

discloses input biometric signals that vary in number and duration” (Appx57

(emphasis added); Appx116); and 2) “[b]ecause Mathiassen, like the [challenged

patents], uses a biometric sensor as the input device, it will detect the biometric part

of the input signal, while also sensing the number and duration of inputs” (Appx58;

Appx117).

      As to the first finding, the PTAB cited to Anderson’s teaching “of inputting

an access code” using a digitizer pad “as a touch interface, which may include an



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optical scanner or thermal sensor for collecting an image of the user’s fingerprint.”

Appx44 (emphasis added); Appx103. The PTAB did not address the fact that

inputting an access code on Anderson’s digitizer pad could occur with or without

simultaneous fingerprint imaging, i.e., the former is not a biometric signal even if

the latter is.

       As to the second point, the PTAB failed to address Mathiassen’s express

teaching that movement detection (including “touch/no-touch finger movement

sequences”) additionally requires “[m]ovement analyzing means, in the form of a

hardware or a software movement analyzing program module,” and particularly how

that movement analyzing means corresponds to anything in the challenged patents.

See Appx1297, ¶ [0192].

       Finally, the PTAB provided no explanation as to how Mathiassen’s finger

movement sequences or Anderson’s touch sequences are part of an enrollment

process, despite the PTAB’s express acknowledgement that “populating” the

database with the received biometric information in the challenged claims is part of

such a process. See Appx38; Appx97.

       After the PTAB issued its Final Written Decisions, CPC sought Director

review of, inter alia, whether the prior art taught the entry of the claimed biometric

signal series as part of an enrollment procedure. Appx573; Appx3526. The Director

denied both requests on November 6, 2023. Appx591; Appx3543. CPC timely filed



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its notice of appeal in the IPR2022-00601 proceeding on December 18, 2023.

Appx594.

      In the IPR2022-00602 proceeding, CPC sought a rehearing of the Director’s

decision to deny review in light of the same panel finding the same claims were not

unpatentable in IPR2022-01006. Appx3546. This rehearing request was dismissed,

noting “[a] party many not file a request for rehearing of the Director’s decision to

deny Director Review.” Appx3555. CPC timely filed its notice of appeal in the

IPR2022-00602 proceeding on January 8, 2024. Appx3558. The Court consolidated

the proceedings on January 25, 2024. ECF No. 10, 1.

                           SUMMARY OF ARGUMENT

      Apple’s proposed combination of Mathiassen/McKeeth/Anderson fails to

teach “a series of entries of the biometric signal” as part of an enrollment process,

as required by the challenged claims. In urging its sole challenge ground, Apple

must resort to non-biometric signaling to satisfy the “biometric” signal series

requirement of such claims, specifically the finger movement sequences of

Mathiassen and the variable pressure sequences of Anderson. There is no dispute

that these sequences are knowledge-based – they can be learned by anyone. In fact,

both parties’ experts agree on this point. However, because of the paucity of

teachings in the cited prior art regarding fingerprint imaging, which would be

biometric, Apple is required to rely upon these non-biometric features.


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      Further, and separately, there is no teaching in either Mathiassen or Anderson

regarding these sequences being part of a user enrollment process, as required by the

challenged claims. In both instances, the teachings of these references relate to

functionality available after a user has been enrolled.            Mathiassen teaches

“predefined” finger movements stored for comparison purposes with no explanation

as to how that predefinition occurred. Similarly, Anderson references a “stored”

fingerprint template with no indication as to how such template was created. The

absence of any tether between these teachings and a user enrollment process evinces

reversible error in the PTAB’s decision finding the challenged claims unpatentable.

                                    ARGUMENT

I. STANDARD OF REVIEW

      This Court reviews the PTAB’s factual findings for substantial evidence and

its legal determinations de novo. See, e.g., In re Van Os, 844 F.3d 1359, 1360 (Fed.

Cir. 2017). Obviousness, the sole basis for rejecting the proposed claims below, is

a question of law based on subsidiary findings of fact. Id. The PTAB “must make

findings of relevant facts, and present its reasoning in sufficient detail that the court

may conduct meaningful review of the agency action.” In re Lee, 277 F.3d 1338,

1346 (Fed. Cir. 2002); see also In re NuVasive, Inc., 842 F.3d 1376, 1383 (Fed. Cir.

2016) (“The PTAB must provide ‘a reasoned basis for the agency’s action….’”).




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II.   THE PRIOR ART’S NON-BIOMETRIC, POST-ENROLLMENT
      DISCLOSURE DOES NOT RENDER OBVIOUS A METHOD OF
      ENROLLING BIOMETRIC DATA

      As the PTAB noted, “[t]he question of obviousness is resolved on the basis of

underlying factual determinations, including: (1) the scope and content of the prior

art; (2) any differences between the claimed subject matter and the prior art; (3) the

level of ordinary skill in the art; and (4) when available, evidence such as commercial

success, long felt but unsolved needs, and failure of others.” Appx12 (citation

omitted); Appx77. Here, the subject differences are the claimed “biometric” signal

series in the challenged claims versus the non-biometric signals in the prior art, and

the claimed use of such series as part of an enrollment process versus the prior art’s

use of a signals used after an enrollment process.

      “Illustrative” claim 1 of each of the challenged patents requires receiving “a

series of entries of the biometric signal, said series being characterised according to

at least one of the number of said entries and a duration of each said entry.” Appx10;

Appx75. This function is part of the “enrolling feature.” Appx38; Appx97.

      Apple admitted that “Mathiassen does not teach determining a duration of

each entry.” Appx180; Appx3212. Therefore, Apple relied upon Anderson as

purportedly teaching “receiving a series of fingerprint pressure pulses of varying

duration.” Appx231; Appx3242-3243. The substitution proposed by Apple, and

found invalidating by the PTAB, involves modifying Mathiassen’s directional finger



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movements with a series of presses of varying duration, as taught by Anderson. See

Appx57; Appx116. There are two clear errors underlying this finding: 1) the

combination in question is entirely non-biometric, as both Mathiassen’s finger

movements and Anderson’s finger presses are knowledge-based; and 2) neither

Mathiassen’s finger movements nor Anderson’s finger presses are part of an

enrollment process. Either error is sufficient to reverse the PTAB’s ruling that the

challenged claims are unpatentable.

      A.    Apple’s Cited Prior Art Combination Results in a Non-Biometric
      Signal Series

      As discussed above, the PTAB’s invalidity finding hinges upon a combination

of Mathiassen’s finger movements and Anderson’s series of pressure pulses, the

latter purportedly providing the required “duration” component to the claimed signal

series. Both of these features are indisputably non-biometric.

      Beginning with Mathiassen’s finger movements, CPC’s expert provided the

non-controversial opinion that such movements, which can be learned, are not

biometric:

              To one of ordinary skill in the art, the finger movements
              suggested in Mathiassen, as distinct from fingerprints
              themselves, are not biometric signals, as something more
              than the fingerprint sensor is required to track them, and
              one can “learn” finger movements. Fingerprints are
              unique to a specific individual; finger movements are not.
              Anyone can duplicate [a] particular set of finger
              movements. One of ordinary skill in the art would
              understand that, in the context of tracking ‘omni-


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             directional finger movements,’ the fingerprint sensor, in
             conjunction with the translation means hardware or
             software, is not acting like a fingerprint sensor.

Appx2987-2988, ¶ 53.

      Apple’s own expert also acknowledged that Mathiassen’s movement

analyzing means was concerned with finger movement, as opposed to the

fingerprints themselves. See Appx3097-3098, 51:4-52:6. Even the PTAB appeared

to agree, stating “there can be no reasonable dispute that Mathiassen discloses a

computer implemented software translation program for converting finger

movements into control signals.” Appx59 (emphasis added); Appx120.

      While Apple does not rely on the McKeeth reference for the “duration”

limitation, that reference also shows how geometric patterns are non-biometric,

requiring no fingerprint information at all. See Appx1309, 5:34-40 (using a trackball

to form geometric patterns). And, as CPC’s expert noted, McKeeth’s geometric

patterns are “knowledge-based,” irrespective of the mechanism used to form them.

Appx2985-2986, ¶ 47. McKeeth’s teaching is therefore analogous to Mathiassen’s

knowledge-based finger movements.

      Yet, the PTAB noted that “[a] fingerprint sensor’s ability to recognize a

fingerprint is not turned off when a succession of finger presses is applied to the

fingerprint sensor.” Appx37; Appx96. Contrary to the PTAB’s finding, however,

the issue is not whether Mathiassen’s sensor is “turned off” when a user employs



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finger movements. Indeed, in three separate inter partes reviews finding the same

claims of the same patents patentable, the same panel found that the prior art cited

therein uses “the same biometric (fingerprint) sensor for the dual purposes of (i)

reading fingerprints for authentication and access control and (ii) as a means of

issuing commands/instructions through a series of ‘taps’ of varying durations.”

Appx4385-4386 (emphasis added); Appx4295 (same, internal citation omitted).2

        The issue, rather, is whether the fingerprint sensor is operating for the first

purpose – “reading fingerprints for authentication and access control” – when it

analyzes finger movements (e.g., taps) pursuant to the sensor’s second purpose.

Both experts agree that it does not, and Mathiassen’s finger movements are non-

biometric, as anyone can learn them. Appx2987-2988, ¶ 53; Appx3097-3098, 51:4-

52:6.




2
  These decisions were vacated by the Director on other grounds, namely the panel’s
construction of “biometric signal” which the Director determined was improperly
issued for the first time in the final written decisions. Assa Abloy AB, et al. v. CPC
Patent Technologies PTY, LTD., IPR2022-01006, -01045, -01089, Paper 49 at 6-7
(P.T.A.B. Mar. 15, 2024) (“The Board’s construction of ‘biometric signal’ in its
Final Written Decisions, however, requires that the biometric signal ‘provides secure
access to a controlled item.’ Neither party’s proposed construction includes a
requirement of ‘provid[ing] secure access to a controlled item.’ Nor was this
requirement articulated in the Board’s preliminary construction in its institution
decision, where it afforded the term its ‘plain and ordinary meaning.’” (internal
citations omitted)).

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      Turning now to Anderson’s variable duration finger presses, which Apple

relies upon as the purported “duration” component of the biometric signal series, the

analysis is essentially the same as with Mathiassen’s finger movements. Both

experts agree that the duration pattern of Anderson’s finger presses are knowledge-

based, i.e., they are non-biometric.       See Appx2993, ¶ 69 (“As Dr. Sears

acknowledged and as discussed above, Anderson’s pressure code is knowledge-

based, not biometric.”); Appx2894, 58:3-10 (“Q. Would you characterize the

pressure and duration patterns that Anderson teaches as knowledge-based? A. Yes,

I think when you start using things like the amount of pressure that you need to

apply, and you might have a light pressure or more forceful pressure or a short

contact or a long contact, that is starting to leverage some knowledge-based.”).

Nonetheless, the PTAB contended that “there can be no reasonable dispute that

Anderson discloses input biometric signals that vary in number and duration.”3

Appx57 (emphasis added); Appx116.             As support, the PTAB cited Apple’s

contention that “Anderson…teaches receiving a series of fingerprint pressure pulses

of varying duration.” Id. (emphasis added). The passage from Anderson cited in

Apple’s Petition is the following:



3
  The Panel elsewhere appears to recognize that this statement is erroneous, as it
states that Anderson only contributes “a number and duration of pulses as inputs,”
while the combination of Mathiassen and McKeeth actually provides a teaching of
“biometric sensing.” Appx58; Appx117.

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             As shown in FIG. 4A, the touch interface may sense only
             temporal applications of pressure relying on timing of the
             pressure applications for entry of the access code. In such
             an embodiment, the touch interface would not detect
             variations in pressure magnitude or intensity. Thus, the
             access code would be entered as a series of alternating
             pressure applications of varying duration.

Appx210 (citing Appx1324, 7:28-34); see also Appx3243-3244.

      There is no mention of fingerprints in this passage.4 Indeed, Anderson’s

teachings of fingerprint imaging, apart from denigrating that technology, is

“collecting an image of the user’s fingerprint as the pressure access code is entered.”

Appx1324, 7:4-7 (emphasis added). There is no mention in Anderson of a series of

fingerprint entries, let alone a duration associated with each such entry.

      Further, as the PTAB noted in the co-pending inter partes reviews, a single

sensor can both read fingerprints and simultaneously issue commands through “a

series of ‘taps’ of varying duration,” which is precisely Anderson’s teaching. See

Appx4385-4386; Appx4295.5 This holding confirms the two concepts – fingerprint

recognition and capturing a series or taps or other inputs – are distinct in the art. Yet,

while the PTAB found the claims of the ʼ208 and ’705 Patents patentable in those



4
  The PTAB also mistakenly adopts Apple’s references to a “fingerprint access code”
(Appx44; Appx103) and a “series of fingerprint pressure pulses of varying duration”
(Appx57; Appx115-116), purportedly found in Anderson’s teachings. Neither of
these terms appear anywhere in that reference, however.
5
  Vacated on other grounds. Assa Abloy, IPR2022-01006, -01045, -01089, Paper 49
at 7.

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co-pending actions, it reached the opposite conclusion here, failing to recognize the

similar dual purpose of Anderson’s sensor.

      The upshot of the foregoing is that Apple’s proposed combination of

Mathiassen’s non-biometric finger movements with Anderson’s non-biometric

variable pressure taps necessarily results in a non-biometric signal series. As the

challenged claims call for “a series of entries of the biometric signal,” this proposed

combination does not render obvious such claims, which was, in fact, the result in

co-pending inter partes reviews. Appx4395-4396 (agreeing with Patent Owner that

“[b]ecause the ’208 Patent claims require entries of a biometric signal that is

characterized by a number and a duration, the finger presses of Mathiassen[-067] –

which are not biometric entries at all – do not teach or suggest these ’208 Patent

claim limitations.”); Appx4302-4303 (same for the ʼ705 Patent).6 The PTAB abused

its discretion in finding the challenged claims unpatentable.

      B.    Mathiassen’s Finger Movements and Anderson’s Variable
      Pressure Pulses Are Not Part of an Enrollment Process

      The challenged claims further require populating a database of biometric

signatures by “receiving a series of entries of [a] biometric signal” as part of a user

enrollment process. Appx38; Appx97; see also Appx139, 3:26-37. Mathiassen




6
 Vacated on other grounds. Assa Abloy, IPR2022-01006, -01045, -01089, Paper 49
at 7.

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teaches the use of “omni-directional finger movements,” which are compared to

“predefined sets of finger movement sequences including directional and touch/no-

touch finger movement sequences,” allowing for “controlling the device.”

Appx1297, ¶ [0192] (emphasis added). A “command table” in Mathiassen “is used

to translate the categorized finger movements into control signals whereby the

translating means generates control signal” resulting in such control. Id.

      There is no teaching in Mathiassen that these finger movements are part of an

enrollment process as required by the challenged claims, or that the finger

movements are used to populate a database. The PTAB nonetheless credited

Apple’s argument that “Mathiassen’s fingerprint sensor receives this series of entries

of the biometric signal, similar to the ’208 Patent’s code entry module 103

containing a biometric sensor 121 that receives a user’s fingerprint.” Appx61;

Appx122. Putting aside the dual purpose served by Mathiassen’s sensor when

imaging a fingerprint while simultaneously collecting non-biometric signals, the

PTAB simply ignores when and whether Mathiassen’s sensor collects such signals,

focusing only upon how it does so.

      This omission is particularly surprising, given the PTAB’s cognizance of

CPC’S contention that “Mathiassen has no teaching that either the ‘predefined sets

of finger movement sequences’ or the ‘command table’ constitute a series of

received biometric signal entries that are mapped into an instruction used to populate



                                         28
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the database as part of the enrollment process.”         Appx60 (emphasis added);

Appx121. The PTAB’s failure to address CPC’s argument other than to summarize

and tacitly reject it was an abuse of discretion. See In re Nuvasive, 842 F.3d at 1383

(“it is not adequate to summarize and reject arguments without explaining why the

PTAB accepts the prevailing argument”).

      The PTAB also references Mathiassen’s master minutiae tables, which are

generated as part of a user enrollment process. See, e.g., Appx60; Appx120-121.

However, such tables are not the feature from Mathiassen that Apple proposes

modifying with Anderson’s pressure pulses. Appx215-216 (“Mathiassen teaches

instructing a particular command with a series of fingerprint representations, and

Anderson teaches enabling a requested function via a series of fingerprint pulses of

varying durations.”); Appx3249 (same). The PTAB ultimately recognizes this in

referencing Mathiassen’s finger movements as the “series of entries of the biometric

signal” that is received by Mathiassen’s sensor, rather than the generation of the

master minutiae tables. See Appx60-61; Appx122. In short, nothing in Mathiassen

ties the finger movements taught in that reference to an enrollment process.

      Turning now to Anderson’s series of variable pressure pulses, the following

description thereof by the PTAB is telling:

             Anderson’s method of inputting an access code uses
             digitizer pad 120 as a touch interface, which may include
             an optical scanner or thermal sensor for collecting an
             image of the user’s fingerprint. [Appx1323], 5:43-44, 7:4-

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             7. The user enters the access code as a series of pressure
             pulses having varying durations. Id. at 6:45-47. This
             fingerprint access code is then compared with a stored
             code template to determine whether they match. If they
             do, access is permitted. Id. at 6:48-54.

Appx44 (emphasis added); Appx103.

       Similarly, Anderson teaches “collecting an image of the user’s fingerprint as

the pressure access code is entered and verified against a stored fingerprint

template.” Appx1324, 7:4-8 (emphasis added). With both the pressure pulses and

the fingerprint image, the comparison is to a pre-stored template, making clear that

the pressure pulses and fingerprint imaging referenced in Anderson are captured

after user enrollment has occurred. As with Mathiassen, nothing expressly taught in

Anderson relates to an enrollment process.

III.   THE PTAB’S ERROR WARRANTS REVERSAL

       The foregoing makes clear that the PTAB abused its discretion in finding that

non-biometric signals equate to biometric signals, and that signal entries that occur

after enrollment are nonetheless part of an enrollment process. Apple did not argue,

and the PTAB did not find, that swapping biometric signals for non-biometric ones

would have been an obvious modification to the cited prior art combination. Nor

was there any evidence that replacing a post-enrollment process with an enrollment

process would have been an obvious modification. Thus, in light of the sole

challenge ground that Apple urged – a combination of non-biometric signals entered



                                         30
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post enrollment, there would be nothing remaining for the PTAB to do on remand.

The necessary result, then, in light of the PTAB’s abuse of discretion would be to

reverse the PTAB’s decision and find that the challenged claims are patentable.

                                 CONCLUSION

      For the foregoing reasons, the PTAB’s decision that the challenged claims of

the ʼ208 and ʼ705 Patents are obvious should be reversed.



Dated: April 22, 2024                 Respectfully submitted,

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  ADDENDUM
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                            INDEX TO ADDENDUM

  Date                           Description                             Appendix Nos.
                               Final Written Decisions
9/27/2023    Final Written Decision - 35 U.S.C. §318(a)                  Appx1-Appx65
             IPR2022-00601
9/27/2023    Final Written Decision - 35 U.S.C. §318(a)                Appx66-Appx125
             IPR2022-00602
                                        Patents
    -        U.S. Patent No. 9,269,208 to Burke                        Appx126-Appx146

    -        U.S. Patent No. 9,665,705 to Burke                        Appx147-Appx168
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Trials@uspto.gov                                                 Paper 31
571-272-7822                                     Date: September 27, 2023


      UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                           APPLE INC.,
                            Petitioner,
                                 v.
             CPC PATENT TECHNOLOGIES PTY, LTD.,
                         Patent Owner.


                          IPR2022-00601
                        Patent 9,269,208 B2



Before SCOTT A. DANIELS, BARRY L. GROSSMAN, and
AMBER L. HAGY, Administrative Patent Judges.
GROSSMAN, Administrative Patent Judge.



                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




                              Appx1
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IPR2022-00601
Patent 9,269,208 B2
                           I. INTRODUCTION
                       A. Background and Summary
      Apple Inc. (“Petitioner” or “Apple”) filed a Petition requesting inter
partes review of claims 1, 3–7, 9–11, and 13 (collectively, the “challenged
claims”) of U.S. Patent No. 9,269,208 B2 (Ex. 1001, “the ’208 patent”).
Paper 1 (“Pet.”). CPC Patent Technologies PTY, Ltd. (“Patent Owner” or
“CPC”) filed a Preliminary Response to the Petition. Paper 7 (“Prelim.
Resp.”). With our authorization, Petitioner filed a Preliminary Reply (Paper
8 (“Prelim. Reply”)) addressing the issue of discretionary denial raised in the
Preliminary Response and Patent Owner filed a Prelim. Sur-Reply (Paper 9
(“Prelim. Sur-Reply”)).

      We concluded that Petitioner satisfied the burden, under 35 U.S.C.
§ 314(a), to show that there was a reasonable likelihood that Petitioner
would prevail with respect to at least one of the challenged claims.
Accordingly, on behalf of the Director (37 C.F.R. § 42.4(a)), and in
accordance with SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348, 1353 (2018), we
instituted an inter partes review of all the challenged claims, on the single
asserted ground. Paper 11 (“Dec. Inst.”).
      Patent Owner filed a Response. Paper 17 (“PO Resp.”). Petitioner
filed a Reply. Paper 20 (“Reply”). Patent Owner filed a Sur-reply.
Paper 26 (“Sur-reply”).
      Petitioner submitted seventy-six exhibits. See Exs. 1001–1091 1 (some
consecutive exhibit numbers were not used; e.g, there are no exhibits

1
 Exhibit 1091 is a demonstrative exhibit used at the final hearing. It is not
an evidentiary exhibit. See PTAB Consolidated Trial Practice Guide, 84
(Nov. 2019 (“TPG”) (“Demonstrative exhibits used at the final hearing are
aids to oral argument and not evidence.”).

                                      2
                                    Appx2
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Patent 9,269,208 B2
numbered 1056–1064); see also Paper 28 (Petitioner’s Updated Exhibit List
stating that Exhibit numbers 1056–1064 were “Intentionally left blank.”).
Petitioner relies on the Declaration testimony of Andrew Sears, Ph.D.
See Exs. 1003, 1090.
      Patent Owner submitted fourteen exhibits. See Exs. 2001–2014 2;
see also Paper 29 (Patent Owner’s Updated Exhibit List). Petitioner relies
on the Declaration testimony of William C. Easttom III, D. Sc., Ph.D.
See Exs. 2011, 2012.
      A hearing was held June 29, 2023. See Paper 30 (“Transcript” or
“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6. We enter this Final Written
Decision pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73.
      Petitioner has the burden of proving unpatentability of a claim by a
preponderance of the evidence. 35 U.S.C. § 316(e).
      Based on the findings and conclusions below, we determine that
Petitioner has proven that claims 1, 3–7, 9–11, and 13 are unpatentable.
                          B.    Real Parties-in-Interest
      Apple identifies itself as the sole real party-in-interest. Pet. 72.
      CPC also identifies itself as the sole real party-in-interest. Paper 4, 2.
      There is no dispute between the parties concerning the real party-in-
interest.
                               C. Related Matters
      Petitioner and Patent Owner each identify the following two district
court proceedings as related matters: (1) CPC Patent Technologies Pty Ltd.


2
 Exhibit 1014 is a demonstrative exhibit used at the final hearing. It is not
an evidentiary exhibit. See id.

                                       3
                                     Appx3
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v. Apple Inc., Case No. 6:21-cv-00165-ADA (W.D. Tex.); and (2) CPC
Patent Technologies Pty Ltd. v. HMD Global Oy, Case No. 6:21-cv-00166-
ADA (W.D. Tex.) (the “HMD Litigation”). Pet. 72; Paper 4, 2–3.
      The first listed case, between the same parties involved in this inter
partes review proceeding, however, has been transferred to the Northern
District of California. See In re Apple Inc., 2022 WL 1196768 (Fed. Cir.
Apr. 22, 2022); see also Ex. 3002 (Text Order granting Motion to Change
Venue). The case is now styled CPC Patent Technologies Pty Ltd. v. Apple
Inc., No. 5:22-cv-02553 (N.D. Cal.). See Ex. 3003 (PACER Docket for the
transferred case); Prelim. Resp. 1, fn 1 (Patent Owner acknowledging the
transfer from the Western District of Texas to the Northern District of
California). Also, the ’208 patent is no longer involved in the Northern
District of California case. Patent Owner states it “dismissed its
infringement claim for the ’208 Patent in the district court action.” Prelim.
Resp. 1.
      Petitioner and Patent Owner also each identify the following two
pending inter partes review proceedings as related matters: (1) IPR2022-
00600, challenging claims in Patent 8,620,039; and (2) IPR2022-00602,
challenging claims in Patent 9,665,705, which is based on a continuation of
the application that matured into the ’208 patent in the proceeding before us.
See Ex. 3001, code (63). A final written decision in the 00600 IPR is due
October 17, 2023. A final written decision in the 00602 IPR is being issued
simultaneously with this Decision in the case before us.
                             D. The ’208 Patent
      We make the following findings concerning the disclosure of the ’208
patent.



                                     4
                                   Appx4
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Patent 9,269,208 B2
      The ’208 patent discloses a system “for providing secure access to a
controlled item.” Ex. 1001, Abstr. Examples of a “controlled item” include
“a door locking mechanism on a secure door, or an electronic key circuit in a
personal computer” that can be accessed only by an authorized user.
Ex. 1001, 6:13–16. The system uses a database of “biometric signatures,”
such as a fingerprint, for determining authorized access. Id. at 1:29–30;
5:63–65 (“the user database [ ] contains biometric signatures for authorised3
users against which the request [ ] can be authenticated”).
      Figure 2 from the ’208 patent is reproduced below.




3
 The Specification uses the British spelling, which we also use when
quoting the Specification.

                                     5
                                   Appx5
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Patent 9,269,208 B2
      Figure 2 is a functional block diagram of an arrangement for
providing secure access according to the system disclosed in the ’208 patent.
Ex. 1001, 5:15–16.
      As described in the written description of the ’208 patent, and as
illustrated generally in Figure 2, user 101 makes request 102 to “code entry
module 103.” Id. at 5:51–55. Code entry module 103 includes biometric
sensor 121. Id. The specific type of biometric sensor 121 used depends on
the type of request 102, or biometric input signal, to be used. Id. If
biometric sensor 121 is a fingerprint sensor, for example, then biometric
input signal 102 “typically takes the form of a thumb press” on a sensor
panel (not shown) on code entry module 103. Ex. 1001, 5:56–59. 403.
“Other physical attributes that can be used to provide biometric signals
include voice, retinal or iris pattern, face pattern, [and] palm configuration.”
Id. at 1:30–32.
      Code entry module 103 then “interrogates” authorized user identity
database 105, which contains “biometric signatures” for authorized users, to
determine if user 101 is an authorized user. Id. at 5:60–65. Database 105 is
prepared by an “administrator.” Id. at 10:28–34 (“The first user of the code
entry module 103 . . . is automatically categorised as an administrator.”).
      The disclosed system and method compare biometric input “signal”
102 to database 105 of authorized biometric “signatures” to determine if
user 101 is an authorized user. Id. at 5:61–65 (“Thus for example if the
request 102 is the thumb press on the biometric sensor panel 121 [producing
a thumbprint] then the user database 105 contains biometric signatures [i.e.,
thumbprints] for authorised users against which the request 102 can be
authenticated.”). If user 101 is an authorized user, code entry module 103



                                      6
                                    Appx6
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Patent 9,269,208 B2
sends a signal to “controller/transmitter” 107 allowing access to the
controlled item. Id. at 5:65–67.
      When biometric sensor 121 is a fingerprint sensor,4 the biometric
signatures stored in database 105 are not limited to a single fingerprint. The
’208 patent also discloses that, if so programed by an administrator, code
entry module 103 may be activated by providing a succession of finger
presses to biometric sensor 121 included in module 103. Id. at 10:45–47. If
these successive presses are of the appropriate duration, the appropriate
quantity, and are input within a predetermined time, controller 107 accepts
the presses “as potential control information,” or a biometric signal, and
checks the input information against a stored set of “legal [authorized]
control signals,” or the database of biometric signatures. Id. at 10:47–67.
“In one arrangement, the control information is encoded by either or both
(a) the number of finger presses and (b) the relative duration of the finger
presses.” Id. at 10:49–52 (emphasis added).
      An example of this type of “control information” or “legal control
signal” is “dit, dit, dit, dah,” where “dit” is a finger press of one second’s
duration and “dah” is a “finger press of two second’s duration.”5
Id. at 10:57–63.


4
  See Ex. 1001, 10:35 – 38 (“Although the present description refers to
‘Users’, in fact it is ‘fingers’ which are the operative entities in system
operation when the biometric sensor 121 (see FIG. 2) is a fingerprint
sensor.”) (emphasis added). Thus, it is clear that biometric sensor 121 is not
limited to a fingerprint sensor.
5
  We have not been directed to any persuasive evidence, and have found
none on our own review of the evidence, which establishes why the
Specification refers to the number and duration of finger presses as “control
information” and “legal control signals,” rather than a “biometric signal” and
a “database” of “biometric signatures,” respectively, which are the terms

                                       7
                                     Appx7
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Patent 9,269,208 B2
      If user 101 is an authorized user based on the inputs to code entry
module 103, controller/transmitter 107 then sends “an access signal,” based
on a “rolling code,” to controller 109. Ex. 1001, 6:1–5. According to the
written description, “[t]he rolling code protocol offers non-replay encrypted
communication.” Id. at 6:5–6. Other secure codes, such as “the
Bluetooth™ protocol, or the Wi Fi™ protocols” also can be used.
Id. at 6:28–34.
      If controller 109 determines that the rolling code received is
“legitimate,” then controller 109 sends a command to “controlled item 111,”
which, for example “can be a door locking mechanism on a secure door, or
an electronic key circuit in a personal computer” that is to be accessed by
user 101. Id. at 6:7–16.
      Code entry module 103 also incorporates at least one mechanism for
providing feedback to user 101. Id. at 6:20–21. This mechanism can, for
example, take the form of “one or more Light Emitting Diodes (LEDs) 122,”
and/or audio transducer 124, which provide visual or audio feedback to the
user. Ex. 1001, 6:22–27.




used throughout the Specification for the input signal and the database of
authorized users.
The Specification is required to include “a written description of the
invention, and of the manner and process of making and using it, in such
full, clear, concise, and exact terms as to enable any person skilled in the art
. . . to make and use the same.” 35 U.S.C. § 112(a). Neither we nor the
parties, however, have jurisdiction in this inter partes review proceeding to
address an enablement issue. See id. at § 311(b) (“A petitioner in an inter
partes review may request to cancel as unpatentable 1 or more claims of a
patent only on a ground that could be raised under section 102 or 103 and
only on the basis of prior art consisting of patents or printed publications.”).

                                      8
                                    Appx8
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      In Figure 2, “sub-system 116,” shown on the left of vertical dashed
line 119, communicates with “sub-system 117,” shown on the right of
dashed line 119, “via the wireless communication channel” used by access
signal 108 between controller/transmitter 107 and controller/receiver 109.
Id. at 6:62–65. As disclosed in the ’208 patent, “[a]lthough typically the
communication channel uses a wireless transmission medium, there are
instances where the channel used by the access signal 108 can use a wired
medium.” Id. at 7:3–8.
                           E. Illustrative Claim
      Among the challenged claims, claims 1, 9, and 10 are independent
claims. Independent claim 1 is directed to a “system for providing secure
access to a controlled item.” Ex. 1001, 15:42–16:3. Independent claim 9 is
directed to a “transmitter sub-system for operating in a system for providing
secure access to a controlled item.” Id. at 16:64–17:18. Independent claim
10 is directed to a “method for providing secure access to a controlled item.”
Id. at 17:19–18:13.
             Independent claim 1 is illustrative and is reproduced below.
             1. A system for providing secure access to a controlled
      item, the system comprising:
             a database of biometric signatures;
             a transmitter sub-system comprising:
                  a biometric sensor for receiving a biometric signal;
                  means for matching the biometric signal against
                members of the database of biometric signatures to
                thereby output an accessibility attribute; and
                  means for emitting a secure access signal conveying
                information dependent upon said accessibility
                attribute; and
             a receiver sub-system comprising:
                  means for receiving the transmitted secure access
                signal; and


                                     9
                                   Appx9
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                 means for providing conditional access to the
               controlled item dependent upon said information,
            wherein the transmitter sub-system further comprises
      means for populating the data base of biometric signatures, the
      population means comprising:
                 means for receiving a series of entries of the biometric
               signal, said series being characterised according to at
               least one of the number of said entries and a duration of
               each said entry;
                 means for mapping said series into an instruction; and
                 means for populating the data base according to the
               instruction,
            wherein the controlled item is one of: a locking
      mechanism of a physical access structure or an electronic lock on
      an electronic computing device.
Ex. 1001, 15:42–16:3. 6
                    F. Prior Art and Asserted Grounds
      Petitioner asserts that the challenged claims are unpatentable on the
following ground:




6
 Petitioner provides a Claim Listing Appendix as part of the Petition.
Pet. 74–77. This Appendix includes all the challenged claims identified by
individual clause, such as, for claim 1, labeling the clauses 1(a), 1(b),
1(b)(1), etc. Petitioner refers to these clause labels in its analysis.

                                     10
                                   Appx10
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Patent 9,269,208 B2

    Claim(s) Challenged      35 U.S.C. § 7         Reference(s)/Basis
                                              Mathiassen,8 McKeeth,9
    1, 3–7, 9–11, 13       103(a)
                                              Anderson 10
         Petitioner also relies on the declaration testimony of Andrew Sears,
Ph.D. See Ex. 1003; 11 see also Ex. 1090 (Dr. Sears’ Supplemental
Declaration.
                                II. ANALYSIS
                              A. Legal Standards
                                1. Obviousness
         Section 103 forbids issuance of a patent when “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the

7
  The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
Stat. 284, 296–07 (2011), took effect on September 16, 2011. The changes
to 35 U.S.C. §§ 102 and 103 in the AIA do not apply to any patent
application filed before March 16, 2013. Because the application for the
patent at issue in this proceeding has an effective filing date before
March 16, 2013, we refer to the pre-AIA version of the statute.
8
  Mathiassen et al, US 2004/0123113 A1, published June 24, 2004
(Ex. 1004, “Mathiassen”).
9
  McKeeth, US 6,766,456 B1, issued July 20, 2004 (Ex. 1005, “McKeeth”).
10
   Anderson, US 6,509,847 B1, issued Jan. 21, 2003 (Ex. 1006,
“Anderson”).
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   Exhibit 1003 is a 238 page declaration from Dr. Sears, including its
Appendix A, which is a detailed mapping of the disclosures of the three
applied references to the challenged claims. Dr. Sears currently is a
Professor and Dean of the College of Information Sciences and Technology
at The Pennsylvania State University. Ex. 1003 ¶ 5. Dr. Sears earned a
Bachelor of Science degree in Computer Science, and a Ph.D. degree, also in
Computer Science. Id. ¶ 6. He has held various positions in academia,
including serving as the Interim Chief Information Security Officer at Penn
State. Id. ¶¶ 7, 8. He has authored or edited a number of computer-related
publications and held leadership positions in several computer industry
organizations.

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invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including: (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) when available, evidence
such as commercial success, long felt but unsolved needs, and failure of
others. Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966); see KSR, 550
U.S. at 407 (“While the sequence of these questions might be reordered in
any particular case, the [Graham] factors continue to define the inquiry that
controls.”). The Court in Graham explained that these factual inquiries
promote “uniformity and definiteness,” for “[w]hat is obvious is not a
question upon which there is likely to be uniformity of thought in every
given factual context.” 383 U.S. at 18.
      The Supreme Court made clear that we apply “an expansive and
flexible approach” to the question of obviousness. KSR, 550 U.S. at 415.
Whether a patent claiming the combination of prior art elements would have
been obvious is determined by whether the improvement is more than the
predictable use of prior art elements according to their established functions.
Id. at 417. To support this conclusion, however, it is not enough to show
merely that the prior art includes separate references covering each separate
limitation in a challenged claim. Unigene Labs., Inc. v. Apotex, Inc., 655
F.3d 1352, 1360 (Fed. Cir. 2011). Rather, obviousness additionally requires
that a person of ordinary skill at the time of the invention “would have
selected and combined those prior art elements in the normal course of
research and development to yield the claimed invention.” Id.



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      In determining whether there would have been a motivation to
combine prior art references to arrive at the claimed invention, it is
insufficient to simply conclude the combination would have been obvious
without identifying any reason why a person of skill in the art would have
made the combination. Metalcraft of Mayville, Inc. v. Toro Co., 848 F.3d
1358, 1366 (Fed. Cir. 2017).
      Moreover, in determining the differences between the prior art and the
claims, the question under 35 U.S.C. § 103 is not whether the differences
themselves would have been obvious, but whether the claimed invention as a
whole would have been obvious. Litton Indus. Prods., Inc. v. Solid State
Sys. Corp., 755 F.2d 158, 164 (Fed. Cir. 1985) (“It is elementary that the
claimed invention must be considered as a whole in deciding the question of
obviousness.”); see also Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530,
1537 (Fed. Cir. 1983) (“[T]he question under 35 U.S.C. § 103 is not whether
the differences themselves would have been obvious. Consideration of
differences, like each of the findings set forth in Graham, is but an aid in
reaching the ultimate determination of whether the claimed invention as a
whole would have been obvious.”).
      As a factfinder, we also must be aware “of the distortion caused by
hindsight bias and must be cautious of arguments reliant upon ex post
reasoning.” KSR, 550 U.S. at 421.
      Applying these general principles, we consider the evidence and
arguments of the parties.
                    B. Level of Ordinary Skill in the Art
      The level of skill in the art is “a prism or lens” through which we view
the prior art and the claimed invention. Okajima v. Bourdeau, 261 F.3d
1350, 1355 (Fed. Cir. 2001). “This reference point prevents . . . factfinders

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from using their own insight or, worse yet, hindsight, to gauge obviousness.”
Id.
      Factors pertinent to a determination of the level of ordinary skill in the
art include: (1) educational level of the inventor; (2) type of problems
encountered in the art; (3) prior art solutions to those problems; (4) rapidity
with which innovations are made; (5) sophistication of the technology; and
(6) educational level of workers active in the field. Env’t Designs, Ltd. v.
Union Oil Co., 713 F.2d 693, 696–697 (Fed. Cir. 1983) (citing Orthopedic
Equip. Co. v. All Orthopedic Appliances, Inc., 707 F.2d 1376, 1381–82 (Fed.
Cir. 1983)). Not all such factors may be present in every case, and one or
more of these or other factors may predominate in a particular case. Id.
Moreover, these factors are not exhaustive but are merely a guide to
determining the level of ordinary skill in the art. Daiichi Sankyo Co. v.
Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007). In determining a level
of ordinary skill, we also may look to the prior art, which may reflect an
appropriate skill level. Okajima, 261 F.3d at 1355.
      “The Graham analysis includes a factual determination of the level of
ordinary skill in the art. Without that information, a district court [or an
administrative Board] cannot properly assess obviousness because the
critical question is whether a claimed invention would have been obvious at
the time it was made to one with ordinary skill in the art.” Custom
Accessories, Inc. v. Jeffrey-Allan Indus., Inc., 807 F.2d 955, 962 (Fed. Cir.
1986); see also Ruiz v. A.B. Chance, 234 F.3d 654, 666 (Fed. Cir. 2000)
(“The determination of the level of skill in the art is an integral part of the
Graham analysis.”).
      Petitioner asserts that a person of ordinary skill in the art would have
had “at least a bachelor’s degree in computer engineering, computer science,

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electrical engineering, or a related field, with at least one year experience in
the field of human-machine interfaces and device access security.” Pet. 3
(citing Ex. 1003 ¶¶ 35–38). Petitioner also states that “[a]dditional
education or experience may substitute for the above requirements.” Id.
      In forming an opinion on the level of ordinary skill applicable to this
proceeding, Dr. Sears testifies that he considered various factors, including
the type of problems encountered in the art, the solutions to those problems,
the rapidity with which innovations are made in the field, the sophistication
of the technology, and the education level of active workers in the field.
Ex,1003 ¶ 35. Dr. Sears also testifies that he “placed myself back in the
time frame of the claimed invention and considered the colleagues with
whom I had worked at that time.” Id. Dr. Sears opines that a person of
ordinary skill would have had the education and experience adopted by
Petitioner. Id. at ¶ 36.
      Patent Owner states it “does not dispute [Petitioner’s]
characterization” of the level of ordinary skill in the art See PO Resp. 5–6.
      Based on the prior art, the sophistication of the technology at issue,
and Dr. Sears’ Declaration testimony, we adopt, with minor modification,
Petitioner’s undisputed definition of the level of ordinary skill. We
determine that in this proceeding a person of ordinary skill would have had a
bachelor’s degree in computer engineering, computer science, electrical
engineering, or a related field, with one year of experience in the field of
human-machine interfaces and device access security, or an equivalent
balance of education and work experience. We have eliminated the open-
ended phrase of “at least” in describing the education and experience of a
person of ordinary skill. This open-ended description fails to provide the
specificity necessary to define the level of ordinary skill.

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                             C. Claim Construction
      We construe each claim “using the same claim construction standard
that would be used to construe the claim in a civil action under 35 U.S.C.
[§] 282(b).” 37 C.F.R. § 42.100(b) (2021). Under this standard, claim terms
are generally given their ordinary and customary meaning as would have
been understood by a person of ordinary skill in the art at the time of the
invention and in the context of the entire patent disclosure. Phillips v. AWH
Corp., 415 F.3d 1303, 1312–14 (Fed. Cir. 2005) (en banc) (“We have
frequently stated that the words of a claim ‘are generally given their ordinary
and customary meaning.’” (citations omitted)).
      The challenged claims make extensive use of “means-plus-function”
claiming. See 35 U.S.C. § 112, ¶ 6 (we cite to the pre-AIA version of the
statute applicable to the challenged claims). Means-plus-function claiming
occurs when a claim term is drafted in a manner that invokes 35 U.S.C.
§ 112, ¶ 6, which states:
            An element in a claim for a combination may be expressed
      as a means or step for performing a specified function without
      the recital of structure, material, or acts in support thereof, and
      such claim shall be construed to cover the corresponding
      structure, material, or acts described in the specification and
      equivalents thereof.
See 35 U.S.C. § 112, ¶ 6. Williamson v. Citrix Online, LLC, 792 F.3d 1339,
1347 (Fed. Cir. 2015) (en banc).
      Independent claim 1, for example, includes numerous means-plus-
function clauses: See, e.g., Ex. 1001, 15:47–52, 54–67. Independent claim
9 also uses numerous means-plus-function clauses. Id. at 17:1–15. On the
record before us, we have not been directed to any dispute between the




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parties as to whether § 112, ¶ 6 applies to numerous clauses in the
challenged claims.
      Where claim language may be construed according to 35 U.S.C.
§ 112(f) (or its predecessor, § 112, ¶ 6), a petitioner must provide a
construction that includes both the claimed function and the specific portions
of the specification that describe the structure, material, or acts
corresponding to each claimed function. 37 C.F.R. § 42.104(b)(3).
      In accordance with these requirements, Petitioner provides specific
constructions for all the means-plus-function clauses in the challenged
claims. Pet. 6–9. Petitioner asserts its proposed constructions are consistent
with constructions made by the Texas district court in the related litigation
between the parties (see Ex. 1077), constructions agreed to by the parties in
the related litigation (see Ex. 1079), or constructions proposed by Patent
Owner in the related litigation (see Ex. 1073). 12
      Patent Owner does not dispute any of the myriad means-plus-function
clauses construed by Petitioner. See Response; Sur-reply.
      Thus, we adopt Petitioner’s undisputed findings and conclusions for
these means-plus-function terms as our own, and repeat them below for
convenient reference. See Pet. 6–9.




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  The cited exhibits 1073, 1077, and 1079 are from the case prior to its
transfer from the Western District of Texas to the Northern District of
California.

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       Claim Term                     Support           Structure and Function
Claims 1, 9: “means for     ’208 Patent, 4:8–13, 4:15– Structure: database and
matching the biometric      17, 4:40–45, 4:47–49,      computer program
signal against members of   5:50–67, 6:56–7:2, 7:65– product having a
the database of biometric   8:10, 8:67–9:5, 14:10–42, computer readable
signatures to thereby       Fig. 2, items 103, 105,    medium having a
output an accessibility     Fig. 3, item 202,          computer program
attribute”                  (Ex. 1077, 4)              recorded therein, with
                                                       code for
Court Construction, Ex.
1077                                                   Function: matching the
                                                       biometric signal against
                                                       members of the database
                                                       of biometric signatures
                                                       to thereby output an
                                                       accessibility attribute
 Claim 10: “means for       ’208 Patent, 4:8–13, 4:18– Structure: computer
emitting a secure access    22, 4:40–45, 4:50–54,      program product having
signal capable of           8:17–28, 10:24–44          a computer readable
granting more than two      (Ex. 1073, 7)              medium having a
types of access to the                                 computer program
controlled item”                                       recorded therein, with
                                                       code for
CPC Construction, Ex.
1073                                                  Function: emitting a
                                                      secure access signal
                                                      capable of granting more
                                                      than two types of access
                                                      to the controlled item




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       Claim Term                     Support              Structure and Function
Claims 1, 9: “means for ’208 Patent, 4:8–13,              Structure: computer
emitting a secure access 4:18–22, 4:40–45, 4:50–          program product having
signal conveying said         54, 5:65–6:6, 6:28–55,      a computer readable
informationdependent upon 8:19–35, 14:16–20               medium having a
said accessibility attribute” (Ex. 1073, 4).              computer program
                                                          recorded therein, with
CPC Construction,                                         code for
Ex. 1073
                                                          Function: emitting a
                                                          secure access signal
                                                          conveying said
                                                          information dependent
                                                          upon said accessibility
                                                          attribute
Claims 1, 10: “means for      ’208 Patent, 6:16–19,       Structure: receiver 118
receiving the transmitted     FIGs. 2, 4, 10 (Ex. 1079)
secure access signal”                                     Function: receiving the
                              * Note the Parties’         transmitted secure access
Agreed-Upon                   communications in the       signal
Construction,                 district court
Ex. 1079                      correspondence did not
                              identify specification
                              support
Claims 1, 10: “means for      ’208 Patent, 8:65–9:15,     Structure: controller 109
providing conditional         8:17–35, 11:27–12:38,       executing software 304
access to the controlled      FIGs. 2, 4, 7, 10
item dependent upon           (Ex. 1079)                  Function: providing
[said] information [in said                               conditional access to
secure access signal]”        * Note the Parties’         the controlled item
                              communications in the       dependent upon
Agreed-Upon                   district court              information in said
Construction, Ex. 1079        correspondence did not      secure access signal
                              identify specification
                              support




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       Claim Term                      Support             Structure and Function
Claims 1, 9: “means for        ’208 Patent, 4:8–14, 4:25– Structure: computer
receiving a series of          34, 4:40–46, 5:53–59,      program product having a
entries of the biometric       7:66–8:6, 10:45–63,        computer readable
signal”                        12:55–59 (Ex. 1073, 4–5) medium having a
                                                          computer program
CPC Construction,                                         recorded therein, with
Ex. 1079                                                  code for

                                                        Function: receiving a
                                                        series of entries of the
                                                        biometric signal
Claims 1, 9: “means for        ’208 Patent, 4:25–31,    Structure: computer
mapping said series into       4:37, 5:50–6:27, 10:45– program product having a
an instruction”                11:2, 12:55–59, 12:67–   computer readable
                               13:3, Fig. 2, items 103, medium having a
Court Construction,            107, 121 (Ex. 1077, 3)   computer program
Ex. 1077                                                recorded therein, with
                                                        code for

                                                          Function: mapping said
                                                          series into an instruction
Claims 1, 9: “means for        ’208 Patent, 4:25–31,      Structure: database and
populating the database        4:38–39, 10:57–11:2,       computer program
according to the               12:43–45, 13:9–11,         product having a
instruction”                   13:15– 19 (Ex. 1077, 3)    computer readable
                                                          medium having a
Court Construction,                                       computer program
Ex. 1077                                                  recorded therein, with
                                                          code for

                                                          Function: populating the
                                                          database according to the
                                                          instruction




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       Claim Term                       Support               Structure and Function
 Claims 1, 9: “means for        ’208 Patent, 4:25–31,        Structure: database and
 populating the data base       4:38–39, 10:32–34,           computer program
 of biometric signatures”       10:57–11:2, 12:43–45,        product having a
                                13:9–1, 13:15–19             computer readable
 Court Construction,            (Ex. 1077, 3–4)              medium having a
 Ex. 1077                                                    computer program
                                                             recorded therein, with
                                                             code for

                                                             Function: populating the
                                                             data base of biometric
                                                             signatures

      Concerning claim terms that are not in means-plus-function format,
Petitioner also proposes constructions for the claim terms “database,”
“conditional access,” “biometric signal,” and “accessibility attribute.”
Pet. 9. Petitioner asserts the proposed constructions are either agreed to by
the parties (see Ex. 1079) or made by the district court (see Ex. 1077).
      Patent Owner proposes “constructions” (1) for the term “accessibility
attribute” (Resp. 6–7); (2) the phrase requiring a series of entries of the
biometric signal “characterised according to at least one of the number of
said entries and a duration of each said entry” (id. at 7–11); and (3) the
“populate” the database limitation concerning enrolling or authorizing new
users (id. at 11–12).
      “[W]e need only construe terms ‘that are in controversy, and only to
the extent necessary to resolve the controversy.’” Nidec Motor Corp. v.
Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013, 1017 (Fed. Cir.
2017) (quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795,
803 (Fed. Cir. 1999)). Here, we determine the claim terms that need specific




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construction are the three terms proposed by Patent Owner for specific
construction. Accordingly, we construe these terms below.
                 1. General Claim Construction Principles
      “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent
define the invention to which the patentee is entitled the right to exclude.’”
Phillips, 415 F.3d at 1312 (citations omitted). “[T]here is no magic formula
or catechism for conducting claim construction.” Intel Corp. v. Qualcomm
Inc., 21 F.4th 801, 809 (Fed. Cir. 2021) (quoting Phillips, 415 F.3d at 1324).
Fortunately, however, there is substantial judicial guidance.
      Claim construction requires determining how a skilled artisan would
understand a claim term “in the context of the entire patent, including the
specification.” Grace Instrument Indus., LLC v. Chandler Instruments Co.,
LLC, 57 F.4th 1001, 1008 (Fed. Cir. 2023) (quoting Phillips, 415 F.3d
at 1313. Id. (citation omitted). “[C]laims must be read in view of the
specification, of which they are a part.” Id. (quoting Markman v. Westview
Instruments, Inc., 52 F.3d 967, 978 (Fed. Cir. 1995) (en banc)). The
Specification, or more precisely, the written description, is the “single best
guide to the meaning of a disputed term.” Id. (quoting Vitronics Corp. v.
Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996), and “is, thus, the
primary basis for construing the claims.” Id. (citation omitted). Although
claim terms are interpreted in the context of the entire patent, it is improper
to import limitations from the Specification into the claims. Phillips, 415
F.3d at 1323. Thus, we are careful not to cross that “fine line” that exists
between properly construing a claim in light of the specification and
improperly importing into the claim a limitation from the specification.”
Comark Commc’ns., Inc. v. Harris Corp., 156 F.3d 1182, 1186 (Fed. Cir.
1998) (“We recognize that there is sometimes a fine line between reading a

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claim in light of the specification, and reading a limitation into the claim
from the specification.”).
      While certain terms may be at the center of the claim construction
debate, the context of the surrounding words of the claim also must be
considered in determining the ordinary and customary meaning of those
terms. ACTV, Inc. v. Walt Disney Co., 346 F.3d 1082, 1088 (Fed. Cir.
2003).
      We also consider the patent’s prosecution history. Phillips, 415 F.3d
at 1317.
      In construing the claims, we may also look to available “extrinsic
evidence concerning relevant scientific principles, the meaning of technical
terms, and the state of the art.” Phillips, 415 F.3d at 1314 (quoting
Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111,
1116 (Fed. Cir. 2004)).
                          2. “Accessibility Attribute”
      In our Decision to Institute this proceeding, we adopted, for purposes
of that Decision, Petitioner’s unopposed asserted claim construction for
“accessibility attribute,” which was an “attribute that establishes whether
and under which conditions access to the controlled item should be granted.”
Dec. Inst. 13 (citing Pet. 9 (citing the Texas District Court’s claim
construction, Ex. 1077, 2–3)). We note here that the District Court included
the phrase “to a user” at the end of the construed term, which Petitioner did
not include. The complete construction by the District Court is an “attribute
that establishes whether and under which conditions access to the controlled
item should be granted to a user.” Ex. 1077, 2 (emphasis added). The
District Court did not cite any intrinsic or extrinsic evidence to support its
construction.

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      In Patent Owner’s Response, Patent Owner acknowledges Petitioner’s
proposed construction but asserts that “a mere binary decision to grant
access to a device does not constitute an ‘accessibility attribute.’” PO Resp.
6–7; see also Ex,2011 ¶ 45 (Patent Owner’s expert, Dr. Easttom,13 testimony
that the construction of the term “accessibility attribute” in our Decision to
Institute this proceeding “requires more than the binary determination of
whether to grant access to a controlled item by virtue of the ‘under which
conditions’ language”). Patent Owner also asserts that Petitioner’s “position
on the ‘accessibility attribute’ limitation is muddied at best.” Id. at 12.
According to Patent Owner, Petitioner “and its expert appear to argue that
‘accessibility attribute’ can be a binary access decision.” Id. at 13 (citing
Paper [Pet.] 1 at 42–44).
      Thus, Patent Owner asserts what an “accessibility attribute” is not (it
is not a binary decision), but fails to assert a construction of what an
“accessibility attribute” is.
      We do not understand Petitioner to be asserting a construction of the
term “accessibility attribute” to mean simply a “binary decision” to grant or
not grant access to a locked structure or device. Nor, did our Decision to
Institute adopt such a “binary decision.” The construction asserted by


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  Exhibit 2011 is a 36-page declaration from Dr. Easttom. Dr. Easttom
earned a D.Sc. degree in Cyber Security, a Ph.D. degree in Technology, and
three master’s degrees (one in Applied Computer Science, one in Education,
and one in Systems Engineering). Ex. 2011 ¶ 7. Dr. Easttom testifies that
he has 30 years of experience in the computer science industry including
extensive experience with computer security, computer software, and
computer networking; that he has authored 37 computer science books; that
he has authored over 70 research papers; and that he is an inventor with
25 patents, including patents related to computer networking. His CV
(Ex. 2012) provides details of his extensive experience and education.

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Petitioner in this proceeding, and the construction adopted in our Decision to
Institute this proceeding requires “an attribute that establishes whether and
under which conditions access to the controlled item should be granted.”
Dec. Inst. 13 (citing Pet. 9 (citing the Texas District Court’s claim
construction, Ex. 1077, 2–3) (emphasis added)).
      As we explain in our analysis below, to avoid any confusion of the
meaning of “accessibility attribute,” we clarify the construction to add the
phrase “if any” to modify the “conditions” that may, or may not, be imposed
to allow access. Thus, we determine that an “accessibility attribute” is “an
attribute that establishes whether and under which conditions, if any, access
to the controlled item should be granted.” Based on the language of the
claims and Specification, the “accessibility attribute” may include only an
“access attribute,” which is “unconditional.” See Ex, 1001, 8:19–25 (stating
“the accessibility attribute may comprise one or more of an access attribute
(granting unconditional access) . . . ), 16:13–23 (claim 3 requiring “at least
one of” an access attribute, a duress attribute, and an alert attribute).14
      Notwithstanding Patent Owner’s Response, Petitioner asserts that
“[t]he Parties agree to apply the District Court’s construction for the claimed
“accessibility attribute.” Reply 1. Petitioner also states, however, that
Petitioner is relying on McKeeth for teaching two accessibility attributes
(duress and alert) even though “the ’208 Patent’s independent claims only
require outputting a single accessibility attribute.” Id. at 2.
      Petitioner clarifies its position on the construction of “accessibility
attribute” by further explaining Petitioner’s view that “the ’208 Patent


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  To avoid any confusion, we note that an “access attribute” is one specific
example of the generic term “accessibility attribute.” Ex. 1001, 8:19–25.

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describes outputting an accessibility attribute that includes ‘access’ without
any conditions, which satisfies the under which conditions’ construction
component.” Reply. 4.
         We begin our claim construction analysis with the language used in
the claims.
                                   a) Claims
         The term “accessibility attribute” appears in all the challenged claims.
         Independent claim 1 includes the following two clauses that refer to
an “accessibility attribute”: (1) “means for matching the biometric signal
against members of the database of biometric signatures to thereby output an
accessibility attribute” (Ex. 1001, 15:47–49) 15; and (2) “means for emitting
a secure access signal conveying information dependent upon said
accessibility attribute” (id. at 15:50–52). These two references merely
establish that an “accessibility attribute” is an output access signal based on
matching the biometric signal against the authorized user database of
biometric signatures. See id. at 5:61–65 (“Thus for example if the request
102 is the thumb press on the biometric sensor panel 121 then the user
database 105 contains biometric signatures for authorised [sic] users against
which the request 102 can be authenticated.”).
         These clauses provide no further structure or function of the claimed
“accessibility attribute.”
         Claim 1 also includes a clause stating that “conditional access” to a
user is “dependent upon” information in the “accessibility attribute.” Id.
at 15:56–57. This clause does not require or state that there is, or is not,
conditional access. It merely states that “conditional access,” if any,


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     All italicized emphasis of claim language has been added.

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depends on what information is in the “accessibility attribute.”
See id. at 15:50–52 (stating that the “information” in the “access signal” in
claim 1 is “dependent upon” the “accessibility attribute”). Thus, based on
the claim language in claim 1, the scope of the “accessibility attribute” is
undefined. The only requirement is that it provide access for authorized
users.
         Claim 3, dependent on claim 1, states that “the [authorized user]
database of biometric signatures comprises signatures in at least one of a
system administrator class, a system user class, and a duress class.”
Ex. 1001, 16:13–16 (emphasis added). Thus, consistent with Petitioner’s
argument summarized above (see Reply 4–5), the system administrator may
be the only authorized user in the database. Claim 3 also further defines the
“accessibility attribute” as comprising:
         an access attribute if the biometric signal matches a member of
         the database of biometric signatures;
         a duress attribute if the biometric signal matches a member of
         the database of biometric signatures and said member belongs to
         the duress class; and
         an alert attribute if the biometric signal does not match a
         member of the database of biometric signatures.
Id. at 16:18–24 (emphasis added).
         In claim 3, the conditional “duress attribute” applies only if the user is
a member of the “duress class” in the database of biometric signatures.
There is, however, no requirement that any member of the “duress class” be
in the database.
         We recognize that the Federal Circuit has held that the plain and
ordinary meaning of “at least one of” is “one or more,” but that when the
phrase is used in a claim, the issue is what “at least one of” is used to


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modify. See SuperGuide Corp. v. DirecTV Enters., Inc., 358 F.3d 870, 886
(Fed. Cir. 2004). In SuperGuide, the court held that, when “[t]he phrase ‘at
least one of’ precedes a series of categories of criteria, and the patentee used
the term ‘and’ to separate the categories of criteria,” the phrase connotes a
conjunctive list and requires selecting at least one value for each category.
Id. For example, in SuperGuide, the claim phrase “storing at least one of a
desired program start time, a desired program end time, a desired program
service, and a desired program type” was interpreted as requiring storing at
least one desired program start time, at least one desired program end time,
and so forth. Id. at 884.
      Courts have not, however, interpreted SuperGuide as setting forth a
per se rule that the use of “at least one of” followed by “and” necessarily
connotes a conjunctive list. See Fujifilm Corp. v. Motorola Mobility LLC,
Case No. 12–CV–03587–WHO, 2015 WL 1265009, at *8 (N.D. Cal. Mar.
19, 2015) (summarizing cases and noting that “SuperGuide did not erect a
universal rule of construction for all uses of ‘at least one of’ in all patents”).
In particular, courts have found SuperGuide inapplicable when the listed
items following “at least one of” are not categories containing many possible
values. See id.; see also TQ Delta, LLC v. Comcast Cable Commc’ns, LLC,
No. 1:15–CV–00611–RGA, 2016 WL 7013481, at *8 (D. Del. Nov. 30,
2016) (list following “at least one of” was of parameters to be selected from,
not categories). The Board has also distinguished SuperGuide on this basis.
See Hewlett–Packard Co. v. MPHJ Tech. Invs., LLC, Case IPR2013–00309,
Paper 9, slip op. at 8 (PTAB Nov. 21, 2013); Daifuku Co., Ltd. v. Murata
Machinery, Ltd., Case IPR2015–00083, Paper 63, slip op. at 4–5 (PTAB
May 3, 2016); Apple, Inc. v. Evolved Wireless LLC, No. IPR2016-01177,
2017 WL 6543970, at *4 (P.T.A.B. Dec. 20, 2017).

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      Relevant to our inquiry, therefore, is whether the items that follow “at
least one of” in the challenged claims of the ’208 patent are categories that
may have multiple values (such as in SuperGuide ) or individual parameters
having only one value. Here, we think it is clear that the accessibility
attributes and the classes of users are individual parameters that apply to
individual people.
      As noted above, the first user of the disclosed and claimed invention
“is automatically categorised as an administrator.” Ex. 1001, 10:28–32.
This first user may be the only authorized user. Thus, the only database
entry for this first user is a “system administrator class” entry that will
generate only an “access attribute (granting unconditional access).”
Id. at 8:19–21 (emphasis added). This is not unlikely because the claims are
specifically limited to a “controlled item” that is either “a locking
mechanism of a physical access structure,” or “an electronic lock on an
electronic computing device.” See, e.g., Ex. 1002, 336 (Examiner’s
amendment to application claim 69, which became patent claim 1 (id. 355,
Index of Claims). A similar Examiner’s Amendment was entered in each
independent claim. See id. at 338–339 (amending application claims 78, 79,
which became patent claims 9 and 10). The owner of an individual
computing device may be the only authorized user of that device.
      Claim 3 allows a database of only a first and only user, who is
automatically the system administrator. Ex. 1001, 16:13–16. (“the database
of biometric signatures comprises signatures in at least one of a system
administrator class, a system user class, and a duress class” (emphasis
added)). There may be no other individuals in the “system user class” or the
“duress class.”



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      Additionally, dependent claim 3 further limits claim 1 by stating the
“accessibility attribute” in claim 1 “preferably” comprises 16 the three
specific attributes stated in claim 3 – “an “access attribute”; “a duress
attribute”; and “an alert attribute.” This listing in claim 3 establishes a
presumption that these three requirements are not included in the claimed
“accessibility attribute” in claim 1. Phillips, 415 F.3d at 1314–15
(“Differences among claims can also be a useful guide in understanding the
meaning of particular claim terms. For example, the presence of a
dependent claim that adds a particular limitation gives rise to a presumption
that the limitation in question is not present in the independent claim.”
(citations omitted)).17


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   “[I]n general, a patent claim reciting an apparatus “comprising” various
components merely means that the apparatus “includ[es] but is not limited
to” those components. Rothschild Connected Devices Innovations, LLC v.
Coca-Cola Co., 813 F. App’x 557, 562 (Fed. Cir. 2020) (nonprecedential)
(citations omitted).
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   We recognize that the Board “must base its decision on arguments that
were advanced by a party, and to which the opposing party was given a
chance to respond.” Masimo Corp. v. Apple Inc., Nos. 2022-1631 et al, slip
op. at 8 (Fed. Cir. Sep. 12, 2023 (nonprecedential)) (citing In re Magnum Oil
Tools Int’l, Ltd., 829 F.3d 1364, 1381 (Fed. Cir. 2016). The parties argued
claim construction, but did not discuss specifically claim differentiation as
part of their claim construction analysis. Petitioner argued, however, that
the claims allowed for “administrator access as an exemplary access without
conditions.” Reply 4–5. Patent Owner addressed this in its Sur-reply. Sur-
reply 22. Our claim construction analysis, as stated in the text, follows
controlling procedures from Phillips. The parties also were advised that:
       claim construction, in general, is an issue to be addressed at trial.
       Claim construction will be determined at the close of all the
       evidence and after any hearing. The parties are expected to assert
       all their claim construction arguments and evidence in the
       Petition, Patent Owner’s Response, or otherwise during trial, as
       permitted by our rules.

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      Claim 5, dependent on claim 1, specifies the claimed system
“comprises” conditional approval or denial of access based on “one of” three
specific types of the “accessibility attribute” stated in claim 3 – “an access
attribute;” “a duress attribute;” and “an alert attribute.” Thus, a system with
only an “access attribute” type of “accessibility attribute” satisfies the
requirement of claim 5 for only “one of” the three types of attributes. The
access attribute merely provides access, without any conditions if the user’s
biometric signal is in the database. No conditional “duress attribute;” or
“alert attribute” is required in claim 5.
      Independent claim 9, directed to a “transmitter sub-system” includes
the same two clauses as in claim 1 concerning the “accessibility attribute.”
      Independent claim 10, directed to a “method for providing secure
access” also includes the same two clauses as in claim 1 concerning the
“accessibility attribute.” Method claim 10, however, states the verb form of
“matching” and “emitting” rather than the patent law “means-plus-function
form in system claim 1 of “means for matching” and “means for emitting.”
      Based on the claim language, the doctrine of claim differentiation, and
the analysis above, we determine that an “accessibility attribute,” as used in
claims 1, 9, and 10, means that a user with a biometric signature in the
database is given access to the controlled item. As used in the independent
claims, there are no other conditions imposed.
      For dependent claims 3 and 5, however, the “accessibility attribute”
may also include a “duress attribute” and/or an “alert attribute.”




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      Thus, based on the claim language, an “accessibility attribute” is an
attribute that establishes whether and under which conditions, if any, access
to the controlled item should be granted.
                                b) Specification
      Claims “must be read in view of the specification, of which they are a
part.” Phillips, 415 F.3d at 1315 (citation omitted). “The specification “is
always highly relevant to the claim construction analysis. Usually, it is
dispositive; it is the single best guide to the meaning of a disputed term.” Id.
(citation omitted). Thus, we turn to the Specification for additional guidance
on the meaning of the claim term “accessibility attribute.”
      The Specification states that the “accessibility attribute establishes
whether and under which conditions access to the controlled item 111 should
be granted to a user.” Ex. 1001, 8:17–19. This is the construction adopted
in our Decision to Institute this proceeding,
      The Specification further states:
      the accessibility attribute may comprise one or more of an access
      attribute (granting unconditional access), a duress attribute
      (granting access but with activation of an alert tone to advise
      authorities of the duress situation), an alert attribute (sounding a
      chime indicating that an unauthorised [sic], but not necessarily
      hostile, person is seeking access, and a telemetry attribute, which
      represents a communication channel for communicating state
      information for the transmitter sub-system to the receiver sub-
      system such as a “low battery” condition.
Id. at 8:19–28 (emphases added). Thus, while four different accessibility
attributes are disclosed (access attribute, duress attribute, alert attribute, and
telemetry attribute), the Specification, consistent with the claims discussed
above, states that the disclosed invention “may comprise one or more of”




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these four attributes. Ex. 1001, 8:20. The Specification also states that an
“access attribute” grants “unconditional access.” Id. at 8:20–21.
      The term “accessibility attribute” does not appear in the Specification
after column 8 until it appears again in the claims.
      Thus, based on the Specification, an “accessibility attribute” is an
attribute that establishes whether and under which conditions, if any, access
to the controlled item should be granted. The term “if any” is required
because an “access attribute” grants “unconditional access” (id.) and it may
be the only attribute included as an “accessibility attribute.” See id. at 8:19–
25 (stating the accessibility attribute “may comprise one or more of” the
four disclosed specific attributes).
                           c) Prosecution History
      The parties have not directed us to any persuasive evidence from the
proceedings leading to issuance of the ’208 patent to inform our construction
of the term “accessibility attribute.”
      We note that in its final amendment and response prior to allowance
of the application that matured into the ’208 patent, the applicant
characterized the “claimed invention” as “matching a received biometric
signal against members of a database of biometric signatures.” Ex. 1002,
297. Applicant also asserted that “new [application] claim 69 [patent claim
1] is not directed towards performing a simple biometric authentication, but
rather is directed towards using biometric authentication to either produce or
prevent physical access to a controlled item.” Id. at 300. Thus, the claim
uses a biometric authentication to produce a result, which is whether, and
under what conditions, if any, access to a controlled item will be permitted.
We also note that applicant’s argument that “using biometric authentication



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to either produce or prevent physical access to a controlled item” (id.) is a
binary determination concerning access.
      The Examiner entered the following statement under the heading
“EXAMINER’S STATEMENT OF REASONS FOR ALLOWANCE”
      Regarding the claimed terms, the Examiner notes that a ‘general
      term must be understood in the context in which the inventor
      presents it.’ In re Glaug 283 F.3d 1335, 1340, 62 USPQ2d 1151,
      1154 (Fed. Cir. 2002) [sic]. Therefore the Examiner must
      interpret the claimed terms as found on the specification of the
      instant application. Clearly almost all the general terms in the
      claims may have multiple meanings. So where a claim term ‘is
      susceptible to various meanings, . . . the inventor's lexicography
      must prevail. . . . ’ Id. [sic] Using these definitions for the claims,
      the claimed invention was not reasonably found in the prior art.
             This communication warrants No Examiner's Reason for
      Allowance, Applicant’s reply make[s] evident the reasons for
      allowance, satisfying the ‘record as a whole’ proviso of the rule
      37 CFR 1.104(e). Specifically, amended independent claims 69,
      78, and 79 in view of examiner's amendment and the substance
      of applicant's persuasive arguments, see pp. 11-16 in remarks
      filed 07/27/2015 from the record and no statement is deemed
      necessary (see MPEP 1302.14).
             None of the prior art of record taken by itself or in any
      combination, would have anticipated or made obvious the
      claimed invention of the present application at or before the time
      it was filed.
Ex. 1002, 323–324.
                            d) Extrinsic Evidence
      The parties do not direct us to any persuasive extrinsic evidence
concerning the meaning of the term “accessibility attribute.”




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                   e) Claim Construction Conclusion for
                          “Accessibility Attribute”
      We recognize that “[t]he very nature of words would make a clear and
unambiguous claim a rare occurrence.” Autogiro Co. of Am. v. United
States, 384 F.2d 391, 396 (Ct. Cl. 1967). The Federal Circuit, however, has
provided a beacon, which we have followed, to guide us in determining the
proper construction when we encounter ambiguities or differing
interpretations from the parties:
      Ultimately, the interpretation to be given a term can only be
      determined and confirmed with a full understanding of what the
      inventors actually invented and intended to envelop with the
      claim. The construction that stays true to the claim language and
      most naturally aligns with the patent’s description of the
      invention will be, in the end, the correct construction.
Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed.
Cir. 1998) (citations omitted).
      Based on the evidence and the analysis above, we determine that that
the term “accessibility attribute” means “an attribute that establishes whether
and under which conditions, if any, access to the controlled item should be
granted.” This is the construction that stays true to the claim language and
most naturally aligns with the patent’s description of the invention.
                           3. Biometric Signal
                     Characterised by Number and Duration
      All of the challenged claims include a clause that requires “receiving a
series of entries of the biometric signal, said series being characterised
according to at least one of the number of said entries and a duration of each
said entry.” See Ex. 1001, 15:61–64 (for independent claim 1), 17:9–12 (for
independent claim 9), 17:30–32 (for independent claim 10). In claims 1 and
9, this clause is expressed in a “means-plus-function” format. In claim 10,


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this clause is expressed as the method steps of “receiving” entries of
biometric signals and “determining” at least one of the number of entries and
a duration of each entry. We refer to these clauses collectively as the
“number and duration” clauses.
      These number and duration clauses all go to the embodiment of the
invention that allows the administrator to require a biometric input signal
that comprises “either or both (a) the number of finger presses and (b) the
relative duration of the finger presses.” Id. at 10:49–52 (This is the “dit, dit,
dit, dah” form of biometric signal discussed in the Specification
(id. at 10:57–63) and discussed above in this Decision.). The capability for
an administrator to use this disclosed embodiment exists in the claimed
system and method whether the administrator chooses to use it or not. As
stated in the Specification, the administrator may use a single thumb press
on a sensor for the required biometric signal. Id. at 5:56–59 (“for example,
if the biometric sensor 121 in the code entry module 103 is a fingerprint
sensor, then the request 102 typically takes the form of a thumb press on a
sensor panel”). Alternatively, the administrator “can provide control
information to the code entry module by providing a succession of finger
presses to the biometric sensor 121.” Ex. 1001, 10:5–7. Thus, whether
using a single thumb press or a succession of finger presses of variable
number and duration, the input vehicle is the same – biometric sensor 121.
      Patent Owner asserts that Petitioner, and the Board in its Decision to
Institute this proceeding, improperly “blur the lines” between “‘knowledge-
based’ security features (those based on knowledge, such as a passcode or
particular pattern, and not on any attribute of the user), and a biometric
signal based on the unlearnable attribute of the user.” PO Resp. 9. We



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disagree. Patent Owner fails to properly understand Petitioner’s, and our,
analysis of the number and duration clauses.
      Patent Owner asserts:
      Crucially, the antecedent for this series is ‘a series of entries of
      the biometric signal,’ i.e., the entries and corresponding series
      are ‘of the biometric signal,’ and the ‘number of said entries and
      a duration of each said entry’ refers to the entries of the biometric
      signal, and not an entry of some other information, such as
      knowledge-based information.
Id. at 9–10. As explained above, in our Decision to Institute, and in this
Decision, we construe the number and duration clauses to require a number
and duration of biometric signals because the input for these biometric
signals is a biometric sensor, as disclosed in the Specification. A fingerprint
sensor’s ability to recognize a fingerprint is not turned off when a succession
of finger presses is applied to the fingerprint sensor. Thus, contrary to
Patent Owner’s argument (see PO Resp. 11), our construction of the number
and duration clauses is not based on a “knowledge-based security feature.”
      In summary, our construction of the number and duration clauses is
that the number and/or duration of entries is based on entries of a biometric
signal, such as a finger press on a fingerprint sensor. Based on the claim
language and the Specification (see Ex. 1001, 10:50–52 (“the control
information is encoded by either or both (a) the number of finger presses and
(b) the relative duration of the finger presses”), this is the construction that
stays true to the claim language and most naturally aligns with the patent’s
description of the invention.
                          4. Populate the Database
      Patent Owner asserts that if and when the number and duration clause
(citing clause 1(d)(1) in Petitioner’s Claim Listing Appendix (Pet. 74)) is


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used by an administrator to establish an authorized user, that information is
“mapped into an instruction and the resulting instruction is used to populate
the database of biometric signatures.” PO Resp. 11 (citing representative
clauses 1(d)(2) and 1(d)(3) from Petitioner’s Claim Listing Appendix).
Patent Owner also acknowledges that “the ‘populate’ limitation in claim 1 is
part of that enrolling feature.” PO Resp.11. We understand that reference to
the “enrolling” feature is a reference to the administrator establishing a
database of authorized users that will be used to match a received biometric
signal against members of a database of biometric signatures and provide
access to the controlled item dependent upon the success or otherwise of the
matching operation. Ex. 1002, 297–298.
      Patent Owner asserts that “[t]o satisfy the requirements for antecedent
claiming, ‘said series’ in clause 1(d2) must refer to the ‘series of entries of
the biometric signal’ in clause 1(d1).” PO Resp. 11. Patent Owner provides
the following flow diagram for populating the database:




Id. at 12 (citing Ex. 2011 ¶ 82). The flow diagram provides Patent Owner’s
graphic interpretation of the three steps involved in populating the database
of approved users. These basic steps apply whether the biometric signal is a
single finger press or a series of finger presses.
      In its claim construction arguments, Patent Owner attempts to draw a
sharp distinction between a process using a single finger press, and a process
that uses the number and duration of finger presses, as two technologically
distinct processes. Patent Owner has not, however, cited any persuasive


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evidence to support this asserted distinction. In fact, the evidence is to the
contrary. As we have noted throughout this claim construction analysis, the
controlling case law is consistent in stating that the Specification is the
single best guide to the meaning of a disputed term, and is, thus, the primary
basis for construing the claims. E.g., Grace Instrument, 57 F.4th at 1008. In
the ’208 patent, the Specification also is consistent in stating that using a
number and duration of finger presses as a biometric input signal, and using
a single finger press, are done exactly the same way – both use the same
biometric fingerprint sensor. See, e.g., Ex. 1001, 10:5–7 (the administrator
“can provide control information to the code entry module by providing a
succession of finger presses to the biometric sensor 121”) (emphasis added).
         The Specification also is consistent in stating that the system
administrator establishes a database of authorized users, or authorized
biometric signatures, by using appropriate software to create, or populate,
the database. See, e.g., Id. at 14:10–20.18 There is no persuasive evidence to
which we have been directed that the biometric fingerprint sensor ceases to
function as a biometric fingerprint sensor when the administrator establishes
a database using the number and duration of finger presses. Patent Owner’s


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     The cited text from the Specification states:
        FIG. 10 is a schematic block diagram of the system in. FIG. 2.
        The disclosed secure access methods are preferably practiced
        using a computer system arrangement 100', such as that shown
        in FIG. 10 wherein the processes of FIGS. 3-4, and 6-9 may be
        implemented as software, such as application program modules
        executing within the computer system 100'. In particular, the
        method steps for providing secure access are effected by
        instructions in the software that are carried out under direction of
        the respective processor modules 107 and 109 in the transmitter
        and receiver sub-systems 116 and 117.


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argument is actually to the contrary in that Patent Owner asserts that the
number and duration of finger presses is a biometric signal. PO Resp. 9–10
(“the entries and corresponding series are ‘of the biometric signal,’ and the
‘number of said entries and a duration of each said entry’ refers to the entries
of the biometric signal, and not an entry of some other information, such as
knowledge-based information.”). This means the number and duration of
entries must include a biometric component.
      If the number and duration of presses did not include a biometric
component, it would be simply a “knowledge-based” security measure,
based on a pattern rather than based on a unique physical attribute of the
user. Patent Owner asserts that such a pattern can be learned, and thus is
inconsistent with the ’208 patent’s claims and disclosure. PO Resp. 8–10.
Whether the software used by the administrator to populate the database of
approved users relies on this biometric component is not disclosed in the
’208 Specification.
      We now turn to the merits of Petitioner’s asserted Grounds of
unpatentability.
                                D. Ground 1
                             Claims 1, 3–7, 9–11, 13
                   Based on Mathiassen, McKeeth, and Anderson
    Petitioner contends that claims 1, 3–7, 9–11, 13 would have been
obvious over the combination of Mathiassen, McKeeth, and Anderson.
Pet. 12–63.
                          1. Mathiassen (Ex. 1004)
      We make the following finding of facts concerning Mathiassen.
      Rather than using passwords or “tokens,” such as an entry card,
Mathiassen discloses a portable fob-type fingerprint sensor to access secured


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items, such as vehicles, computers, safes, medicine cabinets, and weapons
cabinets. Ex. 1004 ¶¶ 1–4, 16–18, 109–113.
      Figure 8 from Mathiassen is reproduced below.




      Figure 8 is a schematic illustration of a “user input device” providing
access to a vehicle door. As shown in Figure 8, portable device 20 contains
fingerprint sensor 5 coupled to a miniature printed circuit board 21 on which
is mounted integrated circuit (“IC”) 1. Ex. 1004 ¶ 147. Thus, remote
control 20 becomes a biometric sensor. Id. ¶ 5. Remote biometric control
20 includes battery 25 as a power supply. Ex. 1004 ¶ 147. Battery 25 is
connected to printed circuit board (“PCB”) 21 by wires. Id.
      Remote biometric control 20 also is equipped with wireless 2-way
transceiver 27. All the active components are connected to integrated circuit
1 by cables 23 through printed circuit board 21. Id.
      Ignition control device 15 (see Fig. 6) is mounted inside the car on
gear stick 71 or on steering wheel 72. Id. ¶ 148. Remote control 20 and
embedded ignition control 15 are both connected to a central computer (not


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shown) in the car. Id. ¶ 149. Remote control 20 is connected to the central
computer by 2-way wireless transceiver 27, while ignition control 15 is
hard-wired to the central computer. Id.
                            2. McKeeth (Ex. 1005)
        We make the following finding of facts concerning McKeeth.
        McKeeth discloses a method and system for authenticating a user to
access a computer system. Ex. 1005, Abstr.
        McKeeth summarizes the problems with current systems for accessing
computers, such as using a private identification code or password
(Ex. 1005, 1:14–30), 19 or a machine-readable card (id. at 1:31–36).
McKeeth also notes that “some computer makers considered using the user’s
fingerprint to authenticate and grant access to the computer system.”
Id. at 1:36–38. McKeeth recognized, however, that even using fingerprints
was not without problems because “a sophisticated computer hacker may be
able to copy the user’s fingerprint and provide a simulated signal to the
computer system to obtain access.” Id. at 1:51–54.
        The method and system disclosed in McKeeth provide for one or
more of various types of user inputs to be used, alone or in combination, for
authentication. These various inputs can be a password, a unique series of
clicks of a mouse, a unique geometric pattern created by the user (see Figs.
3A–3D (illustrating a simple triangle, rectangle, line, or circle drawn by the
user), an audio sensor (for voice recognition), or an optical scanner for
fingerprint, retina scans, or other biometric inputs. Ex. 1005, 2:2:53–3:12.
        Figure 1 from McKeeth is reproduced below.



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     Citations are to column:line of McKeeth.

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      Figure 1 from McKeeth is a block diagram showing one version of the
method and system for authenticating the identity of a user disclosed in
McKeeth. Ex. 1005, 2:36–37. As shown in Figure 1, computer system 100
includes user interface 110 that is operationally connected to process circuit
120. Id. at 2:55–57. User interface 110 may be any input device that is used
to enter or communicate information to computer system 100, such as a
keyboard, mouse, trackball, pointer, touch-screen, remote terminal, audio
sensor, optical scanner, telephone, or any similar user interface. Id. at 2:57–
61.
      Process circuit 120 is configured to receive input signals from user
interface 110. The process circuit is operationally connected with timer 130
that measures time duration between the various input signals. Ex. 1005,
3:36–38. If, for example, the user performs a fingerprint scan and/or pattern
within the designated time, process circuit 120 communicates the input
signals to compare circuit 150 for authentication. Id. at 3:52–55. Compare



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circuit 150 is operationally coupled to memory 140, which stores a list of
legitimate user identifications (ID’s) with respective passwords, fingerprint,
pattern, or any other type of security information for recognition by the
computer system. Id. at 3:55–60. If there is a match between the user
inputs, within the designated time, and stored security information, the
compare circuit 150 issues a “pass” signal to computer system 100.
Id. at 65–67.
                          3. Anderson Ex. (1006)
      We make the following finding of facts concerning Anderson.
      Anderson also discloses a system and method for authenticating an
authorized user to access a secured device. Anderson’s disclosed system
inputs an access code “via temporal variations in the amount of pressure
applied to a touch interface.” Ex. 1006, Abstr.
      Anderson’s method of inputting an access code uses digitizer pad 120
as a touch interface, which may include an optical scanner or thermal sensor
for collecting an image of the user’s fingerprint. Ex. 1006, 5:43–44, 7:4–7.
The user enters the access code as a series of pressure pulses having varying
durations. Id. at 6:45–47. This fingerprint access code is then compared
with a stored code template to determine whether they match. If they do,
access is permitted. Id. at 6:48–54.
      Anderson discloses a system where the touch interface may sense only
“temporal applications of pressure,” relying on timing of the pressure
applications for entry of the access code. Ex. 1006, 7:28–30; Fig. 4A.
Alternately, as shown in FIG. 4B, the touch interface may sense both
temporal applications of pressure and variations in pressure magnitude or
intensity. Id. at 7:34–37. Thus, the access code would be entered as a series



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of alternating short and long pressure applications that vary both in duration
and magnitude. Id. at 7:37–39.
      Annotated Figures 4A from Anderson is reproduced below.




      Figure 4A from Anderson is a diagram illustrating entry of an access
code via temporal pressure variation. Ex. 1006, 2:65–67. The annotations
are provided by Dr. Sears in his declaration testimony. Ex. 1003 ¶ 100. As
explained by Dr. Sears, in Figure 4A, “the height of each bar the same
because the magnitude or intensity of the finger pressure press is not
detected. However, at least some of the presses have a different duration
than other presses, as represented by the width of each bar.” Id.
      Annotated Figure 4B from Anderson is reproduced below.




      Figure 4B from Anderson is a diagram illustrating entry of an access
code via temporal pressure variation. Ex. 1006, 2:65–67. The annotations
are provided by Dr. Sears in his declaration testimony. Ex. 1003 ¶ 101. As
explained by Dr. Sears, Figure 4B “illustrates variations in both the amount



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of pressure applied using the height of each bar and the duration of the
applied pressure using the width of each bar.” Id.
                    a) Analysis of Independent Claim 1
      Petitioner provides a clause-by-clause analysis of independent claim
1, identifying where in each of the cited references, Mathiassen, McKeeth,
or Anderson, the claimed element is disclosed, and why it would have been
obvious to a person of ordinary skill to combine the various disclosed
elements with a reasonable expectation of success. See Pet. 50–56.
Throughout its analysis, Petitioner cites the Declaration testimony
(Ex. 1003) of Dr. Sears for evidentiary support.
      For ease of reference and consistency, we will refer to Petitioner’s
Claim Listing Appendix convention, as did Patent Owner.
      Patent Owner asserts that Petitioner has not met its burden to prove
unpatentability because:
      (1) Mathiassen, alone or in combination with other references, does
not disclose the “accessibility attribute” limitation, as properly construed,
and, moreover, there is no motivation to combine Mathiassen with the other
references (PO Resp. 12–23);
      (2) Anderson, alone or combined with Mathiassen, does not disclose
the “biometric signal duration limitation,” and, also, there is no motivation
to combine Anderson and Mathiassen (id. at 24–30);
      (3) the references, alone or in combination, do not “populate” the
database according to an “instruction” (id. at 30–33); and
      (4) there were simpler solutions available to a skilled person than the
Mathiassen/Anderson combination (Sur-reply 4–8).
      Patent Owner states these same arguments apply to independent
claims 9 and 10, as well as to the challenged dependent claims. Id. at 33.

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      Patent Owner’s defenses are based in large part on accepting Patent
Owner’s asserted claim constructions, which we have not done.
      We begin our claim analysis with claim 1.
                               b) Preamble
          “A system for providing secure access to a controlled item.”
      Petitioner asserts that “[t]o the extent the preamble is limiting,
Mathiassen teaches a system for providing secure access to a controlled
item.” Pet. 50 (citing Mathiassen, Abstr., ¶¶ 145–147).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to the preamble of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests the preamble of claim 1.
                              c) Limitation 1(a)
                       “a database of biometric signatures”
      Petitioner asserts that Mathiassen discloses a stored database of tables.
Pet. 14–16 (citing Ex. 1004, ¶¶ 50, 147, Fig. 2B; Ex. 1003 ¶¶ 117–121.
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to the limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(a).
                              d) Limitation 1(b)
                            “a transmitter sub-system”
      Petitioner asserts Mathiassen teaches a transmitter subsystem,
including transceiver 27, fingerprint sensor 5, processor 2 (of integrated
circuit 1) executing administrative code, and non-volatile memory 7, 7A,



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each housed in portable control 20. Pet. 16, 17 (citing Ex. 1004 ¶¶ 185–188;
Ex. 1003 ¶¶ 122–125).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to the limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b).
                             e) Claim 1(b1)
             “a biometric sensor for receiving a biometric signal”
      Petitioner asserts that Mathiassen’s “fingerprint sensor 5” is a
“biometric sensor for receiving a biometric signal” because it detects a
finger on the sensor and processes raw images of fingerprints. Pet. 18
(citing Ex. 1004 ¶ 49; Ex. 1003 ¶¶ 126–127).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to the limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b1).
                             f) Claim 1(b2)
          “means for matching the biometric signal against members
                   of the database of biometric signatures
                to thereby output an accessibility attribute”
      Based on the claim constructions discussed in Section II.C. of this
Decision, the disclosed structure for this means-plus-function clause is a
“database and computer program product having a computer readable
medium having a computer program recorded therein.” Pet. 6.
      Petitioner asserts “Mathiassen teaches fingerprint sensor 5 of portable
control 20 receiving a fingerprint reduced to access minutiae and comparing


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such access minutiae to master minutiae tables (i.e., database) to authenticate
a user.” Pet. 51 (citing Ex. 1004 ¶¶ 71–72, 175–180; Ex. 1003 ¶ 279).
      Petitioner’s application of the references is as follows:
             Mathiassen and McKeeth each teaches whether access is
      granted. In Mathiassen, access is granted (as opposed to denied)
      by opening (i.e., unlocking) the car doors. Mathiassen, [0181-
      0182]; Dec., 241. The issued “open door” command indicates
      “whether” access should be granted. Mathiassen teaches the
      open door command is issued in response to access minutiae
      matching a stored biometric signature of the car
      owner/administrator. Mathiassen, [0182]; Dec., 241. In
      contrast, if the processor 2 does not find a match, then no access
      will be granted because “the process will be aborted.”
      Mathiassen, [0181]. Thus, the “open door” command indicates
      that access should be granted.
Pet. 41–42.
      Here, consistent with the proposed construction, Petitioner relies
solely on Mathiassen to satisfy the proposed claim construction of an
attribute that establishes whether and under which conditions access to the
controlled item should be granted to a user. If the processor 2 in Mathiassen
does not find a match, then no access will be granted. Id. Petitioner also,
separately, asserts that McKeeth discloses a system in which “access is
granted where ‘there is a match between the input and security
information.’” Id. at 42 (citing Ex. 1005, 3:65–67, 3:11–28).
      McKeeth discloses different types of input security information,
including audio sensors to detect a voice recognition and an optical scanner
for fingerprint and/or retina scans. Ex. 1005, 3:1–10. Any one or more, or
all, of the described types of input signals may be used to authenticate a
user. Id. at 3:11–12. If the input and security information do not match the




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stored information, the compare circuit issues a “flag signal” indicating
denial of access by the user.” Id. at 4:2–4.
      Petitioner concludes that Mathiassen and McKeeth “each teaches
under what conditions access is granted.” Pet. 42. “Specifically, both
references teach outputting an accessibility attribute upon there being a
match of a live or access biometric signal to a stored biometric signal.” Id.
Petitioner notes that McKeeth “teaches both a duress instruction and an alert
instruction when there is no match,” but the duress instruction is distinct
from the conditions under which access is, or is not, granted. Id.
      Patent Owner asserts that Mathiassen either grants or denies access
but does not provide any other condition or alternative “beyond the
‘whether’ inquiry, and Apple’s reading of Mathiassen consequently merges
the ‘whether’ and ‘under which conditions’ components of its own
construction of the ‘accessibility attribute’ limitation.” PO Resp. 13.
Further, Patent Owner asserts that the Board ignored the “under which
conditions” aspect in adopting Petitioner’s construction of the “accessibility
attribute.” Id. at 14.
      Patent Owner reasons that “[u]nder the Board’s treatment of
Mathiassen, a binary decision limited to access/abort satisfies both the
‘whether’ and ‘under which conditions’ requirement for ‘accessibility
attribute.’” PO Resp. 15. Patent Owner misconstrues our analysis of
Mathiassen, as we have explained above based on our construction of the
term “accessibility attribute.”
      Our construction of the “accessibility attribute” allows for conditional
access, if any conditions are imposed, or unconditional access, if no
conditions are imposed. Patent Owner’s arguments fail to account for this
construction.

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       Patent Owner argues that there is no motivation to combine
Mathiassen and McKeeth because there were simpler alternative solutions
available, the existence of which undermines the motivation to combine. PO
Resp. 19–23; Sur-reply 4–8. This argument is inconsistent with controlling
caselaw that makes clear “[i]t’s not necessary to show that a combination is
the best option, only that it be a suitable option.” Intel Corp. v. PACT XPP
Schweiz AG, 61 F.4th 1373, 1380 (Fed. Cir. 2023) (citing Intel Corp. v.
Qualcomm Inc., 21 F.4th 784, 800 (Fed. Cir. 2021) (quoting PAR Pharm.,
Inc. v. TWI Pharms., Inc., 773 F.3d 1186, 1197–98 (Fed. Cir. 2014)
(emphasis in original)); see also Netflix, Inc. v. DivX, LLC, No. 2022-1083,
2023 WL 2298768, at *5 (Fed. Cir. Mar. 1, 2023) (citing In re Mouttet, 686
F.3d 1322, 1334 (Fed. Cir. 2012) and In re Kahn, 441 F.3d 977, 990 (Fed.
Cir. 2006)).
       The motivation-to-combine analysis is a flexible one. “[A]ny need or
problem known in the field of endeavor at the time of invention and
addressed by the patent can provide a reason for combining the elements in
the manner claimed.” KSR, 550 U.S. at 420 (emphasis added). And “[a]
person of ordinary skill is also a person of ordinary creativity, not an
automaton.” Id. at 421. Thus, “in many cases[,] a person of ordinary skill
will be able to fit the teachings of multiple patents together like pieces of a
puzzle.” Id. at 420. The motivation-to-combine analysis “need not seek out
precise teachings directed to the specific subject matter of the challenged
claim, for a court [or this Board] can take account of the inferences and
creative steps that a person of ordinary skill in the art would employ.” Id. at
418.
       Here, based on our claim construction and analysis of the references,
we determine that Petitioner establishes the claimed “accessibility attribute.”

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                             g) Claim 1(b3)
      “means for emitting a secure access signal conveying information”
      Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is a “computer program product
having a computer readable medium having a computer program recorded
therein” for performing the claimed function. Pet. 7 (citing Ex. 1073).
      Petitioner asserts Mathiassen discloses the “means for emitting,”
which is “administrative code,” (e.g., algorithm) stored in non-volatile
memory 7, 7A generating the encrypted “open door” command (i.e., secure
access signal) and directing the transceiver to transmit the signal to the
ignition control of the car. Pet. 52 (citing Ex. 1003 ¶¶ 281, 282).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b3).
                               h) Claim 1(c)
                             “a receiver sub-system”
      Petitioner asserts Mathiassen discloses a receiver sub-system, which
includes ignition control 15, central car computer, and “transceivers of the
door locks and the central car computer.” Pet. 25 (citing Ex. 1004 ¶¶ 186–
187). Petitioner also asserts the central car computer includes a transceiver
receiving the signal (e.g., “open door” command) from portable control 20.
Id. (citing Ex. 1003 ¶¶ 169–171; Ex. 1004 ¶¶ 149, 167, 186). According to




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Petitioner, a “transceiver,” as disclosed in Mathiassen, “is well understood
by a POSITA 20 to include a receiver.” Pet. 25 (citing Ex. 1003 ¶ 173).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(c).
                                i) Claim 1(c1)
             “means for receiving the transmitted secure access signal”
      Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is receiver 118. Pet. 7 (citing
Ex. 1079).
      Petitioner asserts Mathiassen discloses a receiver sub-system
comprising the ignition control 15, central car computer, and “transceivers
of the door locks and the central car computer.” Pet. 52, 25 (citing Ex. 1004
¶¶ 186–187). The central car computer includes a transceiver receiving the
signal (e.g., “open door” command) from portable control 20. Id. (citing
Ex. 1003 ¶¶ 169–171; Ex. 1004 ¶¶ 149, 167, 186). According to Petitioner,
both the door locks and central car computer in Mathiassen include a
transceiver. Id. (citing Ex. 1004 ¶ 186; Ex. 1003 ¶¶ 170–172). Petitioner



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  “POSITA” is a commonly used patent law acronym for a “person of
ordinary skill in the art.” See 35 U.S.C. § 103(a) stating a statutory standard
for obtaining a patent (“A patent may not be obtained though the invention is
not identically disclosed or described as set forth in section 102 , if the
differences between the subject matter sought to be patented and the prior art
are such that the subject matter as a whole would have been obvious at the
time the invention was made to a person having ordinary skill in the art to
which said subject matter pertains.”) (emphasis added).

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also asserts that “[a] ‘transceiver’ is well understood by a POSITA to
include a receiver.” Pet. 52, 25 (citing Ex. 1003 ¶ 13).
      Petitioner also asserts that the signal received by the car computer’s
transceiver is sent either to the ignition control processor or the car
computer’s processor for decryption. Pet. 52, 25–26 (citing Ex. 1004
¶¶ 187–188). After decrypting the command, a “similar encrypted command
will be relayed to the door locks by the car computer,” i.e., part of the
mapped “receiver sub-system.” Id. at 26; Ex. 1003 ¶ 170.
      Petitioner concludes that Mathiassen’s disclosed transceiver
“performs the function of ‘receiving the secure access signal,’ (e.g., ‘open
door’ command) transmitted from the transceiver 27 of portable control 20,
Pet. 52, 26 (citing Ex. 1003 ¶¶ 170–171, 174; Ex. 1004 ¶ 186).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(c1).
                                j) Claim 1(c2)
                     “means for providing conditional access
            to the controlled item dependent upon said information”
      Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is “controller 109 executing
software 304.” Pet. 7–8 (citing Ex. 1079).
      Similar to the analysis for clause 1(c1) discussed above, Petitioner
asserts “Mathiassen’s processor of the ignition control, central car computer,
or both, individually or collectively, comprise the “controller” structure.
Pet. 26 (citing Ex. 1003 ¶¶ 176–183). As explained by Petitioner,


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Mathiassen teaches two implementations: “a first in which the ignition
control decrypts and authenticates the received command,” and “a second in
which the central car computer decrypts and authenticates the command.”
Pet. 27 (citing Ex. 1003 ¶¶ 177–183). Dr. Sears’ testimony explains that a
person of ordinary skill “would have understood that for the central car
‘computer’ to perform such algorithms, it includes or otherwise renders
obvious a processor, as these same algorithms are disclosed as being
performed by a processor when implemented in the ignition n control.”
Ex. 1003 ¶ 183. Dr. Sears also testifies that Mathiassen’s “processor 2 of IC
1 in ignition control 15 performing decryption and authentication.” Id.
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(c2).
                             k) Claim 1(d)
            “wherein the transmitter sub-system further comprises
          means for populating the data base of biometric signatures”
      Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is “database and computer
program product having a computer readable medium having a computer
program recorded therein.” Pet. 8–9 (citing Ex. 1077).
      Petitioner asserts Mathiassen discloses administrative software that
will “require a minimum of say 3 minutiae fingerprint representations of
acceptable quality” that are stored in nonvolatile memory. Pet. 53 (citing
Ex. 1004 ¶ 130). It is Petitioner’s position that, in Mathiassen, the
“administrative code directs the processor to store the acceptable fingerprint


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representations in the form of master minutiae tables.” Pet. 53 (citing Ex.
1004 ¶¶ 130–131; Ex. 1003 ¶ 287). According to Petitioner, “[s]toring
master minutiae tables from a car owner or ‘other users’ is at least equivalent
to the ’208 Patent describing storing biometric signatures of an administrator
and ‘ordinary’ users in database 105.” Id. (citing Ex. 1004 ¶¶ 164–165,
190).
        Petitioner also asserts that Mathiassen and McKeeth “enroll[ ]
signatures indicating a user is under duress, which is at least equivalent to
the ’208 Patent describing storing a ‘duress signature.’” Pet. 53. Petitioner
concludes that “a POSITA would have understood or found it obvious that
Mathiassen’s administrative code in the non-volatile memory 7, 7A of IC 1
comprises the “means for populating.” Id. (citing Ex. 1003 ¶ 287).
        Patent Owner does not contest specifically Petitioner’s arguments
with respect to the limitation of claim 1. See generally PO Resp.
        Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(d).
                                 l) Claim 1(d1)
        “means for receiving a series of entries of the biometric signal, said
        series being characterized according to at least one of the number of
                   said entries and a duration of each said entry”
        Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is “computer program product
having a computer readable medium having a computer program recorded
therein.” Pet. 8 (citing Ex. 1079).
        Petitioner asserts that “Mathiassen’s sensor receives a series of entries
of the biometric signal by a movement analyzing program identifying the
fingerprint motions.” Pet. 54. According to Petitioner, the representations

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“are generated once a finger is detected on the sensor surface, which is at
least equivalent to the ’208 Patent checking a biometric is received on the
biometric sensor.” Id. (citing Ex. 1004 ¶ 49).
       Petitioner also asserts that “Anderson [Ex. 1006] teaches receiving a
series of fingerprint pressure pulses of varying duration.” Pet. 54 (citing
Ex. 1006, 7:28–34, Fig. 4A). As we explained above in our discussion of
Anderson, there can be no reasonable dispute that Anderson discloses input
biometric signals that vary in number and duration.
       As explained by Petitioner,
             In Mathiassen, the series of directional finger movements
       instruct a command on Mathiassen’s portable device (as
       modified by McKeeth). A POSITA would have been motivated
       and found it obvious to substitute or modify such directional
       finger movements with a series of presses of varying duration, as
       taught by Anderson, for instructing a command at portable device
       20.
Id. at 35 (citations omitted).
       Petitioner also provides argument and probative evidence as to why a
person of ordinary skill would have combined the disclosures of the
references, with a reasonable expectation that the combination would be
successful. Pet. 35–36. As explained by Petitioner,
       There would have been a reasonable expectation of success in
       modifying Mathiassen’s control 20, because it contains software
       and hardware for detecting directional movement and touch/no
       touch. Mathiassen’s sensor 5 already detects a finger press
       because it receives fingerprint representations. The modification
       therefore only requires simple programming techniques (e.g.,
       modifying the translation program to count the number and
       duration of “touch” or “no touch”) that were within a POSITA’s
       expertise.
Id. at 36.


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      Patent Owner asserts that the “pressure pulses” in Anderson do not
generate biometric signals because they are captured “as the pressure code is
entered,” and are therefore not part of the pressure code itself. See PO Resp.
25. Patent Owner also explains that “combining Mathiassen’s fingerprint
sensor with Anderson’s pressure code does not produce the claimed
invention, as any duration would apply to a nonbiometric signal.” Id. (citing
Ex. 2011 ¶¶ 69-71). Dr. Easttom testifies that Anderson does not capture a
biometric signal. Ex. 2011 ¶¶ 69–71. Petitioner, however, relies on
Mathiassen and McKeeth for the biometric sensing, but relies on Anderson,
which suggests the benefits and options of using a number and duration of
pulses as inputs. E.g., Pet.32–36 Because Mathiassen, like the ’208 patent,
uses a biometric sensor as the input device, it will detect the biometric part
of the input signal, while also sensing the number and duration of inputs.
      Patent Owner also asserts that a “simpler combination” was available.
PO Resp. 28. According to Patent Owner, “a simpler solution would have
been to add Anderson’s pushbutton to Mathiassen’s key fob.” Id. at 29
(citing Ex. 2011 ¶ 80). As explained above, “[i]t’s not necessary to show
that a combination is the best option, only that it be a suitable option.” Intel
Corp., 61 F.4th at 1380 (citations omitted).
      Based on the Petitioner’s arguments and evidence summarized above,
we determine Petitioner has sufficiently shown that the cited references, as
combined by Petitioner, disclose or suggest limitation 1(d1).
                            m) Claim 1(d2)
       “means for mapping said series[of entries of the biometric signal]
                            into an instruction”
      Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is “computer program product


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having a computer readable medium having a computer program recorded
therein.” Pet. 8 (citing Ex. 1077).
      Petitioner asserts Mathiassen discloses the “software translation
program” executed by the processor in integrated circuit 1 performs the
function of “mapping said series into an instruction” by translating the series
of finger movements to a command in a command table. Pet. 55 (citing
Ex. 1004 ¶ 192). The cited disclosure in Mathiassen states:
             As an additional safety feature the portable or embedded
      device could be equipped with means for the input of code or
      commands. This is achieved by defining a fingerprint storage
      segment in non-volatile memory (7, 7A or 7E) where the device
      may store a series of consecutive fingerprint representations
      generated by the fingerprint sensor signal capturing and pre-
      processing block (5C). Movement analyzing means, in the form
      of a hardware or a software movement analyzing program
      module analyzes the obtained series of fingerprint
      representations to obtain a measure of the omni-directional
      finger movements across the sensor in two dimensions.
      Translation means in the form of a hardware or a software
      translation program module analyzes and categorizes the omni-
      directional finger movements across the fingerprint sensor
      according to predefined sets of finger movement sequences
      including directional and touch/no-touch finger movement
      sequences. A command table is used to translate the categorized
      finger movements into control signals whereby the translating
      means generates control signal for controlling the device, e.g.
      the stand-alone appliance, in response to the finger movements
      on the sensor.
Ex. 1004 ¶ 192 (emphases added). Based on this cited disclosure from
Mathiassen, there can be no reasonable dispute that Mathiassen discloses a
computer implemented software translation program for converting finger
movements into control signals. See also Pet. 54 (explaining that




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                                      Appx59
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Mathiassen’s sensor receives a series of entries of the biometric signal by a
movement analyzing program identifying the fingerprint motions).
                             n) Claim 1(d3)
       “means for populating the data base according to the instruction”
      Based on the claim constructions discussed above, the disclosed
structure for this means-plus-function clause is “database and computer
program product having a computer readable medium having a computer
program recorded therein” with code for performing the claimed function
Pet. 8–9 (citing Ex. 1077).
      Petitioner asserts “Mathiassen-McKeeth teaches or renders obvious
administrative code directing processor 2 of portable door control to store
fingerprint representations (from sensor 5) in master minutiae tables (i.e.,
database of biometric signatures) stored in memory 7, 7A when enrolling a
new user, a car owner (i.e., administrator), or a duress signature.” Pet. 55–
56. Petitioner also argues that “Mathiassen discloses, for the medicine
cabinet embodiment, the administrator initiates enrollment of ‘the next user’
by ‘authenticating himself by his fingerprint.’” Id. at 37 (citing Ex. 1004
¶ 131). According to Petitioner, enrolling new users includes “creating
master minutiae tables subsequently stored in memory 7, 7A, i.e., the
‘populating the database.’” Id. (citing Ex. 1004 ¶ 71; Ex. 1003 ¶¶ 222–224).
      Patent Owner argues that “Mathiassen has no teaching that either the
‘predefined sets of finger movement sequences’ or the ‘command table’
constitute a series of received biometric signal entries that are mapped into
an instruction used to populate the database as part of the enrollment
process.” PO Resp. 31.
      Petitioner asserts that “Mathiassen teaches receiving entries of a series
of fingerprints” and that “Anderson teaches receiving a series of fingerprint


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pressure pulses of varying duration.” Pet. 54 (citing Ex, 1004 ¶ 192 and Ex.
1006, 7:28–34). As Petitioner correctly states, “Mathiassen’s fingerprint
sensor receives this series of entries of the biometric signal, similar to the
’208 Patent’s code entry module 103 containing a biometric sensor 121 that
receives a user’s fingerprint.” Pet. 55. Mathiassen’s processor translates the
series of fingerprints (received by its biometric sensor into a command, such
as “open door” command, for authenticating the user to access the car doors.
Ex. 1004 ¶ 192.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that the cited disclose or
suggest limitation 1(d3).
                               o) Claim 1(e)
           “wherein the controlled item is one of: a locking mechanism
              of a physical access structure or an electronic lock
                      on an electronic computing device”
      Petitioner asserts “Mathiassen teaches the controlled item is a ‘locking
mechanism of a physical access structure’ (i.e., the car door locks of the
central locking system).” Pet. 49 (citing Ex. 1004 ¶ 187; Ex. 1003 ¶ 266
(testifying that “Mathiassen teaches a controlled item that is ‘a locking
mechanism of a physical access structure,’” [i.e. a car door])). We also note
that Mathiassen clearly discloses use of its disclosed computer-based locking
and access system on a “laptop computer,” “hotel safe,” “medicine cabinet,”
and as a “door control” in “automotive applications.” Ex. 1004 ¶¶ 41–44,
109–113.
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.




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      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(e).
                  4. Conclusion for Independent Claim 1
      Based on the evidence and our analysis above, we determine that
Petitioner has established by a preponderance of the evidence that claim 1 of
the ’208 patent would have been obvious, and thus is not patentable.
                       5. Independent Claims 9 and 10
      Patent Owner concedes that patentability of independent claims 9 and
10 stands or falls with patentability of independent claim 1. PO Resp. 33.
Thus, applying the same analysis and evidence as discussed above in the
context of claim 1, we determine that Petitioner has established by a
preponderance of the evidence that independent claims 9 and 10 of the ’208
patent would have been obvious, and thus are not patentable.
                    6. Dependent Claims 3–7, 9–11, 13
      Petitioner provides an element-by-element analysis of where each
element in the challenged claims 3–7, 9–11, and 13 is disclosed in, or would
have been obvious in view of, the cited references. Pet. 12–63. For clauses
in claims 3–7, 9–11, and 13 that are similar to those in claim 1, Petitioner
refers to its arguments for claim 1, or other claims. See, e.g., Pet. 62–63
(referring to its analysis for claims 1 and 10). Petitioner also provides a
reason why it would have been obvious to modify and combine the
references with a reasonable expectation of success, as proposed by
Petitioner. Id. Petitioner relies throughout the analysis of these claims on
the testimony of Dr. Sears (Ex. 1003) for evidentiary support.
      Patent Owner concedes that patentability of dependent claims 3–7, 9–
11, and 13 depend on its arguments for patentability of independent claim 1.

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PO Resp. 33. Thus, applying the same analysis and evidence as discussed
above in the context of claim 1, we determine that Petitioner has established
by a preponderance of the evidence that dependent claims 3–7, 9–11, and 13
of the ’208 patent would have been obvious, and thus are not patentable.
                           III. CONCLUSION21
      Petitioner has established by a preponderance of the evidence that
claims 1, 3–7, 9–11, and 13 are unpatentable.
                                IV. ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that, that Petitioner has shown by a preponderance of the
evidence that claims 1, 3–7, 9–11, and 13 are unpatentable.




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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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                                  Appx63
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                      V. SUMMARY TABLE

                35                         Claim(s)    Claim(s)
  Claim(s)    U.S.C. Reference(s)/Basis     Shown     Not shown
                §                       Unpatentable Unpatentable
1, 3–7, 9–    103    Mathiassen,        1, 3–7, 9–11,
11, 13               McKeeth,           13
                     Anderson
Overall                                 1, 3–7, 9–11,
Outcome                                 13




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                              Appx64
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                              Appx65
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Trials@uspto.gov                                                  Paper 31
571-272-7822                                      Date: September 27, 2023


      UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD


                            APPLE INC.,
                             Petitioner,
                                 v.
             CPC PATENT TECHNOLOGIES PTY, LTD.,
                         Patent Owner.


                           IPR2022-00602
                         Patent 9,665,705 B2



Before SCOTT A. DANIELS, BARRY L. GROSSMAN, and
AMBER L. HAGY, Administrative Patent Judges.
GROSSMAN, Administrative Patent Judge.


                            JUDGMENT
                       Final Written Decision
           Determining All Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




                              Appx66
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                            I. INTRODUCTION
                       A. Background and Summary
      Apple Inc. (“Petitioner” or “Apple”) filed a Petition for inter partes
review of claims 1, 4, 6, 10–12, and 14–17 (collectively, the “challenged
claims”) of U.S. Patent No. 9,655,705 B2 (Ex. 1001, “the ’705 patent”).
Paper 1 (“Pet.”). CPC Patent Technologies PTY, Ltd. (“Patent Owner” or
“CPC”) timely filed a Preliminary Response to the Petition. Paper 7
(“Prelim. Resp.”). With our authorization, Petitioner filed a Preliminary
Reply (Paper 8 (“Prelim. Reply”)) addressing the issue of discretionary
denial raised in the Preliminary Response and Patent Owner filed a Prelim.
Sur-Reply (Paper 9 (“Prelim. Sur-Reply”)).
      We concluded that Petitioner satisfied the burden, under 35 U.S.C.
§ 314(a), to show that there was a reasonable likelihood that Petitioner
would prevail with respect to at least one of the challenged claims.
Accordingly, on behalf of the Director (37 C.F.R. § 42.4(a)), and in
accordance with SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348, 1353 (2018), we
instituted an inter partes review of all the challenged claims, on all the
asserted grounds. Paper 11 (“Dec. Inst.”).
      Patent Owner filed a Response. Paper 17 (“PO Resp.”). Petitioner
filed a Reply. Paper 20 (“Reply”). Patent Owner filed a Sur-reply.
Paper 26 (“Sur-reply”).
      Petitioner submitted eighty exhibits. See Exs. 1001–1091 1 (some
consecutive exhibit numbers were not used; e,g, there are no exhibits


1
 Exhibit 1091 is a demonstrative exhibit used at the final hearing. It is not
an evidentiary exhibit. See PTAB Consolidated Trial Practice Guide, 84
(Nov. 2019 (“TPG”) (“Demonstrative exhibits used at the final hearing are
aids to oral argument and not evidence”).

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                                   Appx67
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numbered 1056–1064); see also Paper 28 (Petitioner’s Updated Exhibit List
stating that Exhibit numbers 1056–1064 were “Intentionally left blank.”).
Petitioner relies on the Declaration testimony of Andrew Sears, Ph.D.
See Exs. 1003, 1090.
      Patent Owner submitted sixteen exhibits. See Exs. 2001–20162;
see also Paper 29 (Patent Owner’s Updated Exhibit List). Patent Owner
relies on the Declaration testimony of William C. Easttom III, D. Sc,, Ph.D.
See Exs. 2013, 2014.
      A hearing was held June 29, 2023. (Paper 30) (“Transcript or “Tr.”).
      We have jurisdiction under 35 U.S.C. § 6. We enter this Final Written
Decision pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73.
      Petitioner has the burden of proving unpatentability of a claim by a
preponderance of the evidence. 35 U.S.C. § 316(e).
      Based on the findings and conclusions below, we determine that
Petitioner has proven that claims 1, 4, 6, 10–12, and 14–17 are unpatentable.
                        B.    Real Parties-in-Interest
      Apple identifies itself as the sole real party-in-interest. Pet. 62.
      CPC also identifies itself as the sole real party-in-interest. Paper 4, 2.
                             C. Related Matters
      Petitioner and Patent Owner each identify the following two district
court proceedings as related matters: (1) CPC Patent Technologies Pty Ltd.
v. Apple Inc., Case No. 6:21-cv-00165-ADA (W.D. Tex.); and (2) CPC
Patent Technologies Pty Ltd. v. HMD Global Oy, Case No. 6:21-cv-00166-
ADA (W.D. Tex.) (the “HMD W.D. Texas case”). Pet. 62; Paper 4, 2.


2
 Exhibit 2016 is a demonstrative exhibit used at the final hearing. It is not
an evidentiary exhibit. See id.

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                                   Appx68
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         The first listed case, between the same parties involved in this inter
partes review proceeding, however, has been transferred to the Northern
District of California. See In re Apple Inc., 2022 WL 1196768 (Fed. Cir.
Apr. 22, 2022); see also Ex. 3002 (Text Order granting Motion to Change
Venue). The case is now styled CPC Patent Technologies Pty Ltd. v. Apple
Inc., No. 5:22-cv-02553 (N.D. Cal.) (the “Apple N.D. California case”).
See Ex. 3003 (PACER Docket for the transferred case); Prelim. Resp. 1, fn 1
(Patent Owner acknowledging the transfer from the Western District of
Texas to the Northern District of California).
         Petitioner and Patent Owner also each identify the following two
pending inter partes review proceedings as related matters: (1) IPR2022-
00600, challenging claims in Patent 8,620,039; and (2) IPR2022-00601,
challenging claims in Patent 9,269,208, which is the “parent” of the ’705
patent. See Ex. 1001, code (63). A final written decision in the 00600 IPR
is due October 17, 2023. A final written decision in the 00601 IPR is being
issued simultaneously with this Decision in the case before us.
                               D. The ’705 Patent
         We make the following findings concerning the disclosure of the ’705
patent.
         The ’705 patent discloses a system “for providing secure access to a
controlled item.” Ex. 1001, Abstr. The “controlled item” can be, for
example, the locking mechanism of a door or an electronic lock on a
personal computer. Id. at 1:43–46.3 The system uses a database of
“biometric signatures” (id. at2:32), such as a fingerprint (id. at 7:36) for
determining authorized access.


3
    Citations are to column:line[s] of the ’705 patent.

                                       4
                                     Appx69
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      Figure 2 from the ’705 patent is reproduced below.




      Figure 2 is a functional block diagram of an arrangement for
providing secure access according to the system disclosed in the ’705 patent.
Ex. 1001, 5:18–19.
      As described in the written description of the ’705 patent, and as
illustrated generally in Figure 2, user 101 makes a request to code entry
module 103. Id. at 5:56–57. Code entry module 103 includes biometric
sensor 121. Id. at 5:57–58. If biometric sensor 121 is a fingerprint sensor,
for example, then the request “typically takes the form of a thumb press” on
a sensor panel (not shown) on code entry module 103. Id. at 5:60–63.
“Other physical attributes that can be used to provide biometric signals
include voice, retinal or iris pattern, face pattern, [and] palm configuration.”
Id. at 1:30–32; see also id. at 16:45–49 (claim 4 stating “the biometric sensor



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                                   Appx70
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is responsive to one of voice, retinal pattern, iris pattern, face pattern, and
palm configuration”).
      Code entry module 103 then “interrogates” an authorized user identity
database 105, which contains “biometric signatures” for authorized users, to
determine if user 101 is an authorized user. Ex. 1001, 5:64–6:2. If user 101
is an authorized user, code entry module 103 sends a signal to
“controller/transmitter” 107. Id. at 6:2–4. Database 105 is prepared by an
“administrator.” Id. at 10:38–42 (“The first user of the code entry module
103 . . . is automatically categorised 4 as an administrator.”).
      The disclosed system and method compare biometric input “signal”
102 to database 105 of authorized biometric “signatures” to determine if
user 101 is an authorized user. Id. at 5:65–6:2 (“Thus for example if the
request 102 is the thumb press on the biometric sensor panel 121 [producing
a thumbprint] then the user database 105 contains biometric signatures
[i.e., thumbprints] for authorised users against which the request 102 can be
authenticated.”). If user 101 is an authorized user, code entry module 103
sends a signal to “controller/transmitter” 107 allowing access to the
controlled item. Id. at 6:2–10.
      When biometric sensor 121 is a fingerprint sensor,5 the biometric
signatures stored in database 105 are not limited to a single fingerprint. The
’705 patent also discloses that, if so programed by an administrator, code


4
  The Specification uses the British spelling, which we also use when
quoting the Specification.
5
  See Ex. 1001, 10:35 – 38 (“Although the present description refers to
‘Users’, in fact it is ‘fingers’ which are the operative entities in system
operation when the biometric sensor 121 (see FIG. 2) is a fingerprint
sensor.”) (emphasis added). Thus, it is clear that biometric sensor 121 is not
limited to a fingerprint sensor.

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                                    Appx71
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entry module 103 may be activated by providing a succession of finger
presses to biometric sensor 121 included in module 103. Id. at 10:56–58. If
these successive presses are of the appropriate duration, the appropriate
quantity, and are input within a predetermined time, controller 107 accepts
the presses “as potential control information,” or a biometric signal, and
checks the input information against a stored set of “legal [authorized]
control signals,” or the database of biometric signatures. Id. at 10:59–67.
“In one arrangement, the control information is encoded by either or both
(a) the number of finger presses and (b) the relative duration of the finger
presses.” Id. at 10:60–63 (emphasis added).
      An example of this type of “control information” or “legal control
signal” is “dit, dit, dit, dah,” where “dit” is a finger press of one second’s
duration . . . and “dah” is a finger press of two second’s duration.” 6
Id. at 11:1–7.



6
  We have not been directed to any persuasive evidence, and have found
none on our own review of the evidence, which establishes why the
Specification refers to the number and duration of finger presses as “control
information” and “legal control signals,” rather than a “biometric signal” and
a “database” of “biometric signatures,” respectively, which are the terms
used throughout the Specification for the input signal and the database of
authorized users.
The Specification is required to include “a written description of the
invention, and of the manner and process of making and using it, in such
full, clear, concise, and exact terms as to enable any person skilled in the art
. . . to make and use the same.” 35 U.S.C. § 112(a). Neither we nor the
parties, however, have jurisdiction in this inter partes review proceeding to
address this enablement issue. See id. at § 311(b) (“A petitioner in an inter
partes review may request to cancel as unpatentable 1 or more claims of a
patent only on a ground that could be raised under section 102 or 103 and
only on the basis of prior art consisting of patents or printed publications.”).

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                                    Appx72
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      If user 101 is an authorized user based on the inputs to code entry
module 103, controller/transmitter 107 then sends “an access signal,” based
on a “rolling code,” to controller 109. Ex. 1001, 6:2–9. According to the
written description, “[t]he rolling code protocol offers non-replay encrypted
communication.” Id. at 6:9–10. Other secure codes, such as “the
Bluetooth™ protocol, or the Wi Fi™ protocols” also can be used. Id. at
6:32–38.
      If controller 109 determines that the rolling code received is
“legitimate,” then controller 109 sends a command to “controlled item 111,”
which, for example “can be a door locking mechanism on a secure door, or
an electronic key +circuit in a personal computer” that is to be accessed by
user 101. Id. at 6:11–20.
      Code entry module 103 also incorporates at least one mechanism for
providing feedback to user 101. Id. at 6:24–25. This mechanism can, for
example, take the form of “one or more Light Emitting Diodes (LEDs) 122,”
and/or audio transducer 124, which provide visual or audio feedback to the
user. Id. at 6:25–31.
      In Figure 2, “sub-system 116,” shown on the left of vertical dashed
line 119, communicates with “sub-system 117,” shown on the right of
dashed line 119, “via the wireless communication channel” used by access
signal 108 between controller/transmitter 107 and controller/receiver 109.
Id. at 6:61–67. As disclosed in the ’705 patent, “[a]lthough typically the
communication channel uses a wireless transmission medium, there are
instances where the channel used by the access signal 108 can use a wired
medium.” Id. at 7:9–14.




                                    8
                                  Appx73
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                            E. Illustrative Claim
       Among the challenged claims, claims 1, 10, 11, 14, 15, 16, and 17 are
independent claims.
       Independent claims 1 and 15 are directed to a “system for providing
secure access to a controlled item.” Ex. 1001, 15:62–63; 18:39–40. These
claims are identical except for claim 1 using the phrase “configured to,”
whereas claim 15 uses the phrase “capable of.” For example, claim 1
includes “a biometric sensor configured to receive a biometric signal” (id. at
15:66–67 (emphasis added)), whereas claim 15 includes “a biometric sensor
capable of receiving a biometric signal.” (id. at 18:43–44 (emphasis added)).
This same distinction also applies to the claimed elements of “a transmitter
sub-system controller,” “a transmitter,” and “a receiver sub-system
controller.” Compare id. at 16:1–23 (claim 1) with id. at 18:45–67 (claim
15).
       We discuss below in Section II.C (Claim Construction) whether use of
the phrase “capable of” rather than the phrase “configured to” is a distinction
without a substantive difference.
       Independent claims 10 and 16 are directed to a “transmitter sub-
system for operating in a system for providing secure access to a controlled
item.” Id. at 17:19–20; 19:1–2. The only distinction between claims 10 and
16 is the same “capable of”/”configured to” distinction discussed above for
claims 1 and 15. Compare id. at 17:19–39 (claim 10) with id. at 19:1–20
(claim 16).
       Independent claims 11 and 17 are directed to a “method for providing
secure access to a controlled item.” Id. at 17:40–41. The only distinction
between claims 11 and 17 is the same “capable of”/”configured to”
distinction discussed above for claims 1 and 15. Again, the only distinction

                                      9
                                    Appx74
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between claims 11 and 17 is the same “capable of”/”configured to”
distinction discussed above for claims 1 and 15. Compare id. at 17:40–67
(claim 11) with id. at 19:21–20:23 (claim 17).
      Independent claim 14 is directed to a “non-transitory computer
readable storage medium storing a computer program.” Id. at 18:18–19.
      Independent claim 1 is illustrative and is reproduced below.
             1. A system for providing secure access to a controlled
      item, the system comprising:
             a memory comprising a database of biometric signatures;
             a transmitter sub-system comprising:
             a biometric sensor configured to receive a biometric
      signal;
             a transmitter sub-system controller configured to match
      the biometric signal against members of the database of
      biometric signatures to thereby output an accessibility attribute;
      and
             a transmitter configured to emit a secure access signal
      conveying information dependent upon said accessibility
      attribute; and
             a receiver sub-system comprising:
             a receiver sub-system controller configured to:
             receive the transmitted secure access signal; and
             provide conditional access to the controlled item
      dependent upon said information;
             wherein the transmitter sub-system controller is further
      configured to:
             receive a series of entries of the biometric signal, said
      series being characterised according to at least one of the number
      of said entries and a duration of each said entry;
             map said series into an instruction; and
             populate the data base according to the instruction,
      wherein the controlled item is one of: a locking mechanism of a
      physical access structure or an electronic lock on an electronic
      computing device.




                                    10
                                  Appx75
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Ex. 1001, 15:62–16:23.7
                      F. Prior Art and Asserted Grounds
        Petitioner asserts that the challenged claims are unpatentable on the
following ground:
    Claim(s) Challenged     35 U.S.C. § 8          Reference(s)/Basis
                                              Mathiassen,9 McKeeth,10
    1, 4, 6, 10–12, 14–17 103(a)
                                              Anderson 11
        Petitioner also relies on the declaration testimony of Andrew Sears,
Ph.D. See Ex. 1003.12



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  Petitioner provides a Claim Listing Appendix as part of the Petition.
Pet. 64–69. This Appendix includes all the challenged claims identified by
individual clause, such as, for claim 1, labeling the clauses 1(a), 1(b),
1(b)(1), etc. Petitioner refers to these clause labels in its analysis.
8
  The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
Stat. 284, 296–07 (2011), took effect on September 16, 2011. The changes
to 35 U.S.C. §§ 102 and 103 in the AIA do not apply to any patent
application filed before March 16, 2013. Because the application for the
patent at issue in this proceeding has an effective filing date before
March 16, 2013, we refer to the pre-AIA version of the statute.
9
  Mathiassen et al, US 2004/0123113 A1, published June 24, 2004
(Ex. 1004, “Mathiassen”).
10
   McKeeth, US 6,766,456 B1, issued July 20, 2004 (Ex. 1005, “McKeeth”).
11
   Anderson,US 6,509,847 B1, issued Jan. 21, 2003 (Ex. 1006, “Anderson”).
12
   Exhibit 1003 is a 238-page declaration from Dr. Sears, including its
Appendix A, which is a detailed mapping of the disclosures of the three
applied references to the challenged claims. Dr. Sears currently is a
Professor and Dean of the College of Information Sciences and Technology
at The Pennsylvania State University. Ex. 1003 ¶ 5. Dr. Sears earned a
Bachelor of Science degree in Computer Science, and a Ph.D. degree, also in
Computer Science. Id. ¶ 6. He has held various positions in academia,
including serving as the Interim Chief Information Security Officer at Penn
State. Id. ¶¶ 7, 8. He has authored or edited a number of computer-related
publications and held leadership positions in several computer industry
organizations. Id. ¶¶ 10–12.

                                      11
                                    Appx76
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                               II. ANALYSIS
                               A. Obviousness
      Section 103 forbids issuance of a patent when “the differences
between the subject matter sought to be patented and the prior art are such
that the subject matter as a whole would have been obvious at the time the
invention was made to a person having ordinary skill in the art to which said
subject matter pertains.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 406
(2007). The question of obviousness is resolved on the basis of underlying
factual determinations, including: (1) the scope and content of the prior art;
(2) any differences between the claimed subject matter and the prior art;
(3) the level of ordinary skill in the art; and (4) when available, evidence
such as commercial success, long felt but unsolved needs, and failure of
others.13 Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966); see KSR,
550 U.S. at 407 (“While the sequence of these questions might be reordered
in any particular case, the [Graham] factors continue to define the inquiry
that controls.”). The Court in Graham explained that these factual inquiries
promote “uniformity and definiteness,” for “[w]hat is obvious is not a
question upon which there is likely to be uniformity of thought in every
given factual context.” Graham, 383 U.S. at 18.
      The Supreme Court made clear that we apply “an expansive and
flexible approach” to the question of obviousness. KSR, 550 U.S. at 415.
Whether a patent claiming the combination of prior art elements would have
been obvious is determined by whether the improvement is more than the
predictable use of prior art elements according to their established functions.


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  Patent Owner does not direct us to any objective evidence of non-
obviousness in its Preliminary Response.

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Id. at 417. To support this conclusion, however, it is not enough to show
merely that the prior art includes separate references covering each separate
limitation in a challenged claim. Unigene Labs., Inc. v. Apotex, Inc., 655
F.3d 1352, 1360 (Fed. Cir. 2011). Rather, obviousness additionally requires
that a person of ordinary skill at the time of the invention “would have
selected and combined those prior art elements in the normal course of
research and development to yield the claimed invention.” Id.
      In determining whether there would have been a motivation to
combine prior art references to arrive at the claimed invention, it is
insufficient to simply conclude the combination would have been obvious
without identifying any reason why a person of skill in the art would have
made the combination. Metalcraft of Mayville, Inc. v. Toro Co., 848 F.3d
1358, 1366 (Fed. Cir. 2017).
      Moreover, in determining the differences between the prior art and the
claims, the question under 35 U.S.C. § 103 is not whether the differences
themselves would have been obvious, but whether the claimed invention as a
whole would have been obvious. Litton Indus. Prods., Inc. v. Solid State
Sys. Corp., 755 F.2d 158, 164 (Fed. Cir. 1985) (“It is elementary that the
claimed invention must be considered as a whole in deciding the question of
obviousness.”); see also Stratoflex, Inc. v. Aeroquip Corp., 713 F.2d 1530,
1537 (Fed. Cir. 1983) (“[T]he question under 35 U.S.C. § 103 is not whether
the differences themselves would have been obvious. Consideration of
differences, like each of the findings set forth in Graham, is but an aid in
reaching the ultimate determination of whether the claimed invention as a
whole would have been obvious.”).




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      As a factfinder, we also must be aware “of the distortion caused by
hindsight bias and must be cautious of arguments reliant upon ex post
reasoning.” KSR, 550 U.S. at 421.
      Applying these general principles, we consider the evidence and
arguments of the parties.
                    B. Level of Ordinary Skill in the Art
      The level of skill in the art is “a prism or lens” through which we view
the prior art and the claimed invention. Okajima v. Bourdeau, 261 F.3d
1350, 1355 (Fed. Cir. 2001). “This reference point prevents . . . factfinders
from using their own insight or, worse yet, hindsight, to gauge obviousness.”
Id.
      Factors pertinent to a determination of the level of ordinary skill in the
art include: (1) educational level of the inventor; (2) type of problems
encountered in the art; (3) prior art solutions to those problems; (4) rapidity
with which innovations are made; (5) sophistication of the technology; and
(6) educational level of workers active in the field. Env’t Designs, Ltd. v.
Union Oil Co., 713 F.2d 693, 696–697 (Fed. Cir. 1983) (citing Orthopedic
Equip. Co. v. All Orthopedic Appliances, Inc., 707 F.2d 1376, 1381–82 (Fed.
Cir. 1983)). Not all such factors may be present in every case, and one or
more of these or other factors may predominate in a particular case. Id.
Moreover, these factors are not exhaustive but are merely a guide to
determining the level of ordinary skill in the art. Daiichi Sankyo Co. v.
Apotex, Inc., 501 F.3d 1254, 1256 (Fed. Cir. 2007). In determining a level
of ordinary skill, we also may look to the prior art, which may reflect an
appropriate skill level. Okajima, 261 F.3d at 1355.
      “The Graham analysis includes a factual determination of the level of
ordinary skill in the art. Without that information, a district court cannot

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properly assess obviousness because the critical question is whether a
claimed invention would have been obvious at the time it was made to one
with ordinary skill in the art.” Custom Accessories, Inc. v. Jeffrey-Allan
Indus., Inc., 807 F.2d 955, 962 (Fed. Cir. 1986); see also Ruiz v. A.B.
Chance, 234 F.3d 654, 666 (Fed. Cir. 2000) (“The determination of the level
of skill in the art is an integral part of the Graham analysis.”).
      Neither party provides any persuasive evidence or argument
concerning the factors identified above or any other factors relevant to
determining the level of ordinary skill.
      Petitioner asserts that a person of ordinary skill in the art would have
had “at least a bachelor’s degree in computer engineering, computer science,
electrical engineering, or a related field, with at least one year experience in
the field of human-machine interfaces and device access security.” Pet. 4
(citing Ex. 1003 ¶¶ 31–35). 14 Petitioner also states that “[a]dditional
education or experience may substitute for the above requirements.” Id.
      In forming an opinion on the level of ordinary skill applicable to this
proceeding, Dr. Sears testifies that he considered various factors, including
the type of problems encountered in the art, the solutions to those problems,
the rapidity with which innovations are made in the field, the sophistication
of the technology, and the education level of active workers in the field. Ex.
1003 ¶ 31. Dr. Sears also testifies that he “placed myself back in the time
frame of the claimed invention and considered the colleagues with whom I
had worked at that time.” Id. Dr. Sears opines that a person of ordinary skill



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  Petitioner cites this testimony as “Dec.” Pet. 4, fn 1. We will cite it, as
we do all other evidence, by reference to its Exhibit number, which is
Exhibit 1003.

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would have had the education and experience adopted by Petitioner.
Id. at ¶ 32.
       Patent Owner states it “does not dispute [Petitioner’s]
characterization” of the level of ordinary skill in the art See PO Resp. 5–6.
       Based on the prior art, the sophistication of the technology at issue,
and Dr. Sears’ Declaration testimony, we adopt, with minor modification,
Petitioner’s undisputed definition of the level of ordinary skill. We
determine that in this proceeding a person of ordinary skill would have had a
bachelor’s degree in computer engineering, computer science, electrical
engineering, or a related field, with one year of experience in the field of
human-machine interfaces and device access security, or an equivalent
balance of education and work experience. We have eliminated the open-
ended phrase of “at least” in describing the education and experience of a
person of ordinary skill. This open-ended description fails to provide the
specificity necessary to define the level of ordinary skill.
                            C. Claim Construction
       We construe each claim “using the same claim construction standard
that would be used to construe the claim in a civil action under 35 U.S.C.
[§] 282(b).” 37 C.F.R. § 42.100(b) (2021). Under this standard, claim terms
are generally given their ordinary and customary meaning as would have
been understood by a person of ordinary skill in the art at the time of the
invention and in the context of the entire patent disclosure. Phillips v. AWH
Corp., 415 F.3d 1303, 1312–14 (Fed. Cir. 2005) (en banc) (“We have
frequently stated that the words of a claim ‘are generally given their ordinary
and customary meaning.’” (citations omitted)).
       Petitioner states that in the related district court litigation between the
parties, the Western District of Texas court entered a Claim Construction

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Order on February 10, 2022. (Ex. 1077). Pet. 5. Petitioner also states “the
Parties agreed to certain constructions in a Joint Claim Construction
Statement” in the Western District of Texas litigation (Ex. 1074). Id.
Petitioner then proposes that “[f]or purposes of this IPR, Apple applies the
District Court’s constructions from the Apple litigation [Ex. 1077] and
constructions agreed to by the Parties (Ex. 1074)[ 15] that are not otherwise
plain and ordinary meaning.” Id.
      Petitioner also highlights specific constructions for the claim terms
“database,” “conditional access,” “biometric signal,” and “accessibility
attribute” from Exhibits 1074 and 1077. Pet. 6.
      Patent Owner proposes “constructions” (1) for the term “accessibility
attribute” (PO Resp. 6–7); (2) the phrase requiring a series of entries of the
biometric signal “characterised according to at least one of the number of
said entries and a duration of each said entry” (id. at 7–11); and (3) the
“populate” the database limitation concerning enrolling or authorizing new
users (id. at 11–12).
      Patent Owner also provided its views on the differences in claim
scope between the term “configured to” and the term “capable of” as used in
the challenged claims. Id. at 12–14. Petitioner also addresses this topic.
Reply 26.
      “[W]e need only construe terms ‘that are in controversy, and only to
the extent necessary to resolve the controversy.’” Nidec Motor Corp. v.
Zhongshan Broad Ocean Motor Co. Ltd., 868 F.3d 1013, 1017 (Fed. Cir.
2017) (quoting Vivid Techs., Inc. v. Am. Sci. & Eng’g, Inc., 200 F.3d 795,


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  The cited Exhibits 1074 and 1077 are from the case prior to its transfer
from the Western District of Texas to the Northern District of California.

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803 (Fed. Cir. 1999)). Here, we determine the claim terms that need specific
construction are the three terms proposed by Patent Owner for specific
construction. Accordingly, we construe these terms below.
                 1. General Claim Construction Principles
      “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent
define the invention to which the patentee is entitled the right to exclude.’”
Phillips, 415 F.3d at 1312 (citations omitted). “[T]here is no magic formula
or catechism for conducting claim construction.” Intel Corp. v. Qualcomm
Inc., 21 F.4th 801, 809 (Fed. Cir. 2021) (quoting Phillips, 415 F.3d at 1324).
Fortunately, however, there is substantial judicial guidance.
      Claim construction requires determining how a skilled artisan would
understand a claim term “in the context of the entire patent, including the
specification.” Grace Instrument Indus., LLC v. Chandler Instruments Co.,
LLC, 57 F.4th 1001, 1008 (Fed. Cir. 2023) (quoting Phillips, 415 F.3d
at 1313. Id. (citation omitted). “[C]laims must be read in view of the
specification, of which they are a part.” Id. (quoting Markman v. Westview
Instruments, Inc., 52 F.3d 967, 978 (Fed. Cir. 1995) (en banc)). The
Specification, or more precisely, the written description, is the “single best
guide to the meaning of a disputed term.” Id. (quoting Vitronics Corp. v.
Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996)), and “is, thus, the
primary basis for construing the claims.” Id. (citation omitted). Although
claim terms are interpreted in the context of the entire patent, it is improper
to import limitations from the Specification into the claims. Phillips, 415
F.3d at 1323. Thus, we are careful not to cross that “fine line” that exists
between properly construing a claim in light of the specification and
improperly importing into the claim a limitation from the specification.”
Comark Commc’ns., Inc. v. Harris Corp., 156 F.3d 1182, 1186 (Fed. Cir.

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1998) (“We recognize that there is sometimes a fine line between reading a
claim in light of the specification, and reading a limitation into the claim
from the specification.”).
      While certain terms may be at the center of the claim construction
debate, the context of the surrounding words of the claim also must be
considered in determining the ordinary and customary meaning of those
terms. ACTV, Inc. v. Walt Disney Co., 346 F.3d 1082, 1088 (Fed. Cir.
2003).
      We also consider the patent’s prosecution history. Phillips, 415 F.3d
at 1317.
      In construing the claims, we may also look to available “extrinsic
evidence concerning relevant scientific principles, the meaning of technical
terms, and the state of the art.” Phillips, 415 F.3d at 1314 (quoting
Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111,
1116 (Fed. Cir. 2004)).
                          2. “Accessibility Attribute”
      In our Decision to Institute this proceeding, we adopted, for purposes
of that Decision, Petitioner’s unopposed asserted claim construction for
“accessibility attribute,” which was an “attribute that establishes whether
and under which conditions access to the controlled item should be granted.”
Dec. Inst. 13 (citing Pet. 6 (citing the Texas District Court’s claim
construction, Exs. 1074, 1077)). We note here that the District Court
included the phrase “to a user” at the end of the construed term, which
Petitioner did not include. The complete construction by the District Court
is an “attribute that establishes whether and under which conditions access to
the controlled item should be granted to a user.” Ex. 1077, 2 (emphasis



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added). The District Court did not cite any intrinsic or extrinsic evidence to
support its construction.
      In Patent Owner’s Response, Patent Owner acknowledges Petitioner’s
proposed construction but asserts that “a mere binary decision to grant
access to a device does not constitute an ‘accessibility attribute.’” PO Resp.
6–7; see also Ex. 2013 ¶ 45 (Patent Owner’s expert, Dr. Easttom,16
testimony that the construction of the term “accessibility attribute” in our
Decision to Institute this proceeding “requires more than the binary
determination of whether to grant access to a controlled item by virtue of the
‘under which conditions’ language.”). Patent Owner also asserts that
Petitioner’s “position on the ‘accessibility attribute’ limitation is muddied at
best.” PO Resp. 14. According to Patent Owner, Petitioner “and its expert
appear to argue that ‘accessibility attribute’ can be a binary access
decision.” Id. at 15 (citing Paper 1 [Pet.] at 18–20).
      Thus, Patent Owner asserts what an “accessibility attribute” is not (it
is not a “binary decision”), but fails to assert a construction of what an
“accessibility attribute” is.
      We do not understand Petitioner to be asserting a construction of the
term “accessibility attribute” to mean simply a “binary decision” to grant or


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  Exhibit 2013 is a 36-page declaration from Dr. Easttom. Dr. Easttom
earned a D.Sc. degree in Cyber Security, a Ph.D. degree in Technology, and
three master’s degrees (one in Applied Computer Science, one in Education,
and one in Systems Engineering). Ex. 2013 ¶ 7. Dr. Easttom testifies that
he has 30 years of experience in the computer science industry including
extensive experience with computer security, computer software, and
computer networking; that he has authored 37 computer science books; that
he has authored over 70 research papers; and that he is an inventor with
25 patents, including patents related to computer networking. His CV
(Ex. 2014) provides details of his extensive experience and education.

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not grant access to a locked structure or device. Nor did our Decision to
Institute adopt such a “binary decision.” The construction asserted by
Petitioner in this proceeding, and the construction adopted in our Decision to
Institute this proceeding, requires “an attribute that establishes whether and
under which conditions access to the controlled item should be granted.”
Dec. Inst. 13 (citing Pet. 6 (citing the Texas District Court’s claim
construction, Exs. 1074, 1077) (emphasis added)).
      As we explain in our analysis below, to avoid any confusion of the
meaning of “accessibility attribute,” we clarify the construction to add the
phrase “if any” to modify the “conditions” that may, or may not, be imposed
to allow access. Thus, we determine that an “accessibility attribute” is “an
attribute that establishes whether and under which conditions, if any, access
to the controlled item should be granted.” Based on the language of the
claims and Specification, the “accessibility attribute” may include only an
“access attribute,” which is “unconditional.” See Ex. 1001, 8:29–38 (stating
“the accessibility attribute may comprise one or more of an access attribute
(granting unconditional access),” a “duress attribute,” an “alert attribute,”
and a “telemetry attribute”); see also id. at 16:34–44 (unchallenged claim 3
requiring an access attribute, a duress attribute, and an alert attribute). 17
      Notwithstanding Patent Owner’s Response that an “accessibility
attribute” is not a “binary decision,” Petitioner asserts that “[t]he Parties
agree to apply the District Court’s construction for the claimed ‘accessibility
attribute.’” Reply 1. Petitioner also states, however, that Petitioner is
relying on McKeeth for teaching two accessibility attributes (duress and


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  To avoid any confusion, we note that an “access attribute” is one specific
example of the generic term “accessibility attribute.” Ex. 1001, 8:29–38.

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alert) even though “the ’705 Patent’s independent claims only require
outputting a single accessibility attribute.” Id. at 2.
         Petitioner clarifies its position on the construction of “accessibility
attribute” by further explaining Petitioner’s view that “the ’705 Patent
describes “outputting an accessibility attribute that includes ‘access’ without
any conditions, which satisfies the ‘under which conditions’ construction
component.” Reply. 4.
         We begin our claim construction analysis with the language used in
the claims.
                                    a) Claims
         The term “accessibility attribute” appears directly or through
dependency in all the challenged claims.
         Independent claim 1 includes the following two clauses that refer to
an “accessibility attribute”:
         (1) “a transmitter sub-system controller configured to match the
biometric signal against members of the database of biometric signatures to
thereby output an accessibility attribute;” (Ex. 1001, 16:1–4) 18; and
         (2) “a transmitter configured to emit a secure access signal conveying
information dependent upon said accessibility attribute” (id. at 16:5–7).
         These two references merely establish that an “accessibility attribute’
is an output access signal based on matching the biometric signal against the
authorized user database of biometric signatures. See id. at 5:65–6:2 (“Thus
for example if the request 102 is the thumb press on the biometric sensor
panel 121 then the user database 105 contains biometric signatures for
authorised [sic] users against which the request 102 can be authenticated.”).


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     All italicized emphasis of claim language has been added.

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         These clauses provide no further structure or function of the claimed
“accessibility attribute.”
         Claim 1 also includes a clause stating that “conditional access” to a
user is “dependent upon” information in the “accessibility attribute.”
Id. at 16:11–12. This clause does not require or state that there is, or is not,
conditional access. It merely states that “conditional access,” if any,
depends on what information is in the “accessibility attribute.”
See id. at 16:5–7 (stating that the “information” in the “access signal” in
claim 1 is “dependent upon” the “accessibility attribute”). Thus, based on
the claim language in claim 1, the scope of the “accessibility attribute” is
undefined. The only requirement is that it provide access for authorized
users.
         Claim 3 (not challenged, but still relevant to claim construction),
dependent on claim 1, states that “the [authorized user] database of
biometric signatures comprises signatures in at least one of a system
administrator class, a system user class, and a duress class.” Ex. 1001,
16:34–37 (emphasis added). Thus, consistent with Petitioner’s argument
summarized above (see Reply 4–5), the system administrator may be the
only authorized user in the database. Claim 3 also further defines the
“accessibility attribute” as “comprising:
         an access attribute if the biometric signal matches a member of
         the database of biometric signatures;
         a duress attribute if the biometric signal matches a member of
         the database of biometric signatures and said member belongs to
         the duress class; and
         an alert attribute if the biometric signal does not match a
         member of the database of biometric signatures.
Id. at 16:18–24 (emphases added).


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      In claim 3, the conditional “duress attribute” applies only if the user is
a member of the “duress class” in the database of biometric signatures.
There is, however, no requirement that any member of the “duress class” be
in the database.
      We recognize that the Federal Circuit has held that the plain and
ordinary meaning of “at least one of” is “one or more,” but that when the
phrase is used in a claim, the issue is what “at least one of” is used to
modify. See SuperGuide Corp. v. DirecTV Enters., Inc., 358 F.3d 870, 886
(Fed. Cir. 2004). In SuperGuide, the court held that, when “[t]he phrase ‘at
least one of’ precedes a series of categories of criteria, and the patentee used
the term ‘and’ to separate the categories of criteria,” the phrase connotes a
conjunctive list and requires selecting at least one value for each category.
Id. For example, in SuperGuide, the claim phrase “storing at least one of a
desired program start time, a desired program end time, a desired program
service, and a desired program type” was interpreted as requiring storing at
least one desired program start time, at least one desired program end time,
and so forth. Id. at 884.
      Courts have not, however, interpreted SuperGuide as setting forth a
per se rule that the use of “at least one of” followed by “and” necessarily
connotes a conjunctive list. See Fujifilm Corp. v. Motorola Mobility LLC,
Case No. 12–CV–03587–WHO, 2015 WL 1265009, at *8 (N.D. Cal. Mar.
19, 2015) (summarizing cases and noting that “SuperGuide did not erect a
universal rule of construction for all uses of ‘at least one of’ in all patents”).
In particular, courts have found SuperGuide inapplicable when the listed
items following “at least one of” are not categories containing many possible
values. See id.; see also TQ Delta, LLC v. Comcast Cable Commc’ns, LLC,
No. 1:15–CV–00611–RGA, 2016 WL 7013481, at *8 (D. Del. Nov. 30,

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2016) (list following “at least one of” was of parameters to be selected from,
not categories). The Board has also distinguished SuperGuide on this basis.
See Hewlett–Packard Co. v. MPHJ Tech. Invs., LLC, Case IPR2013–00309,
Paper 9, slip op. at 8 (PTAB Nov. 21, 2013); Daifuku Co., Ltd. v. Murata
Machinery, Ltd., Case IPR2015–00083, Paper 63, slip op. at 4–5 (PTAB
May 3, 2016); Apple, Inc. v. Evolved Wireless LLC, No. IPR2016-01177,
2017 WL 6543970, at *4 (P.T.A.B. Dec. 20, 2017).
      Relevant to our inquiry, therefore, is whether the items that follow “at
least one of” in the challenged claims of the ’705 patent are categories that
may have multiple values (such as in SuperGuide ) or individual parameters
having only one value. Here, we think it is clear that the accessibility
attributes and the classes of users are individual parameters that apply to
individual people.
      As noted above, the first user of the disclosed and claimed invention
“is automatically categorised as an administrator.” Ex. 1001, 10:38–42.
This first user may be the only authorized user. Thus, the only database
entry for this first user is a “system administrator class” entry that will
generate only an “access attribute (granting unconditional access).”
Id. at 8:29–30 (emphasis added). This is not unlikely because the claims are
specifically limited to a “controlled item” that is either “a locking
mechanism of a physical access structure,” or “an electronic lock on an
electronic computing device.” See, e.g., id. at 16:21–23 (claim 1 stating
“wherein the controlled item is one of: a locking mechanism of a physical
access structure or an electronic lock on an electronic computing device”).
A similar limitation is in each independent claim. The owner of an
individual computing device may be the only authorized user of that device,
thus having unconditional access as the “administrator.”

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      Claim 3 allows a database of only a first and only user, who is
automatically the system administrator. Ex. 1001, 16:34–37 (“the database
of biometric signatures comprises signatures in at least one of a system
administrator class, a system user class, and a duress class” (emphasis
added)). There may be no other individuals in the “system user class” or the
“duress class.”
      Claim 3 further limits claim 1 by stating the “accessibility attribute” in
claim 1 comprises 19 the three specific attributes stated in claim 3 – “an
“access attribute;” “a duress attribute;” and “an alert attribute.” This listing
in claim 3 establishes a presumption that these three requirements are not
included in the claimed “accessibility attribute” in claim 1. Phillips,
415 F.3d at 1314–15 (“Differences among claims can also be a useful guide
in understanding the meaning of particular claim terms. For example, the
presence of a dependent claim that adds a particular limitation gives rise to a
presumption that the limitation in question is not present in the independent
claim.” (citations omitted)).20


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   “[I]n general, a patent claim reciting an apparatus ’comprising‘ various
components merely means that the apparatus ‘includ[es] but is not limited
to‘ those components.” Rothschild Connected Devices Innovations, LLC v.
Coca-Cola Co., 813 F. App’x 557, 562 (Fed. Cir. 2020) (nonprecedential)
(citations omitted).
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   We recognize that the Board “must base its decision on arguments that
were advanced by a party, and to which the opposing party was given a
chance to respond.” Masimo Corp. v. Apple Inc., Nos. 2022-1631 et al, slip
op. at 8 (Fed. Cir. Sep. 12, 2023 (nonprecedential)) (citing In re Magnum Oil
Tools Int’l, Ltd., 829 F.3d 1364, 1381 (Fed. Cir. 2016). The parties argued
claim construction, but did not discuss specifically claim differentiation as
part of their claim construction analysis. Petitioner argued, however, that
the claims allowed for “administrator access as an exemplary access without
conditions.” Reply 4–5. Patent Owner addressed this in its Sur-reply. Sur-

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      Based on the claim language, the doctrine of claim differentiation, and
the analysis above, we determine that an “accessibility attribute,” as used in
the challenged independent claims means that a user with a biometric
signature in the database is given access to the controlled item. As used in
the independent claims, there are no other conditions imposed.
      Thus, based on the claim language, an “accessibility attribute” is an
attribute that establishes whether and under which conditions, if any, access
to the controlled item should be granted.
                              b) Specification
      Claims “must be read in view of the specification, of which they are a
part.” Phillips, 415 F.3d at 1315 (citation omitted). “The specification “is
always highly relevant to the claim construction analysis. Usually, it is
dispositive; it is the single best guide to the meaning of a disputed term.” Id.
(citation omitted). Thus, we turn to the Specification for additional guidance
on the meaning of the claim term “accessibility attribute.”
      The Specification states that the “accessibility attribute establishes
whether and under which conditions access to the controlled item 111 should
be granted to a user.” Ex. 1001, 8:26–28. This is the construction adopted
in our Decision to Institute this proceeding.



reply 22. Our claim construction analysis, as stated in the text, follows
controlling procedures from Phillips. The parties also were advised that:
       claim construction, in general, is an issue to be addressed at trial.
       Claim construction will be determined at the close of all the
       evidence and after any hearing. The parties are expected to assert
       all their claim construction arguments and evidence in the
       Petition, Patent Owner’s Response, or otherwise during trial, as
       permitted by our rules.
Dec. Inst. 14.

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      The Specification further states:
      the accessibility attribute may comprise one or more of an access
      attribute (granting unconditional access), a duress attribute
      (granting access but with activation of an alert tone to advise
      authorities of the duress situation), an alert attribute (sounding a
      chime indicating that an unauthorised, but not necessarily
      hostile, person is seeking access, and a telemetry attribute, which
      represents a communication channel for communicating state
      information for the transmitter sub-system to the receiver sub-
      system such as a “low battery” condition.
Id. at 8:29–38 (emphases added). Thus, while four different accessibility
attributes are disclosed (access attribute, duress attribute, alert attribute, and
telemetry attribute), the Specification, consistent with the claims discussed
above, states that the disclosed invention “may comprise one or more of”
these four attributes. Ex. 1001, 8:29–30. The Specification also states that
an “access attribute” grants “unconditional access.” Id. at 8:30.
      The term “accessibility attribute” does not appear in the Specification
after column 8 until it appears again in the claims.
      Thus, based on the Specification, an “accessibility attribute” is an
attribute that establishes whether and under which conditions, if any, access
to the controlled item should be granted. The term “if any” is required
because an “access attribute” grants “unconditional access” (id.) and it may
be the only attribute included as an “accessibility attribute.” See id. at 8:29–
38 (stating the accessibility attribute “may comprise one or more of” the
four disclosed specific attributes).
                            c) Prosecution History
      The parties have not directed us to any persuasive evidence from the
proceedings leading to issuance of the ’705 patent to inform our construction
of the term “accessibility attribute.”


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                           d) Extrinsic Evidence
      The parties do not direct us to any persuasive extrinsic evidence
concerning the meaning of the term “accessibility attribute.”
                   e) Claim Construction Conclusion for
                          “Accessibility Attribute”
      We recognize that “[t]he very nature of words would make a clear and
unambiguous claim a rare occurrence.” Autogiro Co. of Am. v. United States,
384 F.2d 391, 396 (Ct. Cl. 1967). The Federal Circuit, however, has
provided a beacon, which we have followed, to guide us in determining the
proper construction when we encounter ambiguities or differing
interpretations from the parties:
      Ultimately, the interpretation to be given a term can only be
      determined and confirmed with a full understanding of what the
      inventors actually invented and intended to envelop with the
      claim. The construction that stays true to the claim language and
      most naturally aligns with the patent’s description of the
      invention will be, in the end, the correct construction.
Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d 1243, 1250 (Fed.
Cir. 1998) (citations omitted).
      Based on the evidence and the analysis above, we determine that that
the term “accessibility attribute” means “an attribute that establishes whether
and under which conditions, if any, access to the controlled item should be
granted.” This is the construction that stays true to the claim language and
most naturally aligns with the patent’s description of the invention.
                          3. Biometric Signal
                    Characterised by Number and Duration
      All of the challenged claims include a clause that requires receiving,
being configured to receive, or being capable of receiving “a series of entries
of the biometric signal,” where the series is “characterised” or determined by


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“at least one of the number of said entries and a duration of each said entry.”
See, Ex. 1001, 16:13–18 (for independent claim 1). We refer to these
clauses collectively as the “number and duration” clauses.
      These number and duration clauses all go to the embodiment of the
invention that allows the administrator to require a biometric input signal
that comprises “either or both (a) the number of finger presses and (b) the
relative duration of the finger presses.” Ex. 1001, 10:60–63 This is the “dit,
dit, dit, dah” form of biometric signal discussed in the Specification
(id. at 11:1–7) and discussed above in this Decision. The capability for an
administrator to use this disclosed embodiment exists in the claimed system
and method whether the administrator chooses to use it or not.
      As stated in the Specification, the administrator may use a single
thumb press on a sensor for the required biometric signal. Ex. 1001, 5:60–
63 (“for example, if the biometric sensor 121 in the code entry module 103
is a fingerprint sensor, then the request 102 typically takes the form of a
thumb press on a sensor panel”). Alternatively, the administrator “can
provide control information to the code entry module by providing a
succession of finger presses to the biometric sensor 121.” Id. at 10:56–58.
Thus, as disclosed in the ’705 patent, whether using a single thumb press or
a succession of finger presses of variable number and duration, the input
vehicle is the same – biometric sensor 121.
      Patent Owner asserts that Petitioner, and the Board in its Decision to
Institute this proceeding, improperly “blur the lines” between “‘knowledge-
based’ security features (those based on knowledge, such as a passcode or
particular pattern, and not on any attribute of the user), and a biometric
signal based on the unlearnable attribute of the user.” PO Resp. 9. We



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disagree. Patent Owner fails to properly understand Petitioner’s, and our,
analysis of the number and duration clauses.
      Patent Owner asserts:
      Crucially, the antecedent for this series is ‘a series of entries of
      the biometric signal,’ i.e., the entries and corresponding series
      are ‘of the biometric signal,’ and the ‘number of said entries and
      a duration of each said entry’ refers to the entries of the biometric
      signal, and not an entry of some other information, such as
      knowledge-based information.
Id. at 9. As explained above, in our Decision to Institute, and in this
Decision, we construe the number and duration clauses to require a number
and duration of biometric signals because the input for these biometric
signals is a biometric sensor, as disclosed in the Specification. A fingerprint
sensor’s ability to recognize a fingerprint is not turned off when a succession
of finger presses is applied to the fingerprint sensor. Thus, contrary to
Patent Owner’s argument (see PO Resp. 10), our construction of the number
and duration clauses is not based on a “knowledge-based security feature.”
      In summary, our construction of the number and duration clauses is
that the number and/or duration of entries is based on entries of a biometric
signal, such as a finger press on a fingerprint sensor. Based on the claim
language and the Specification (see Ex. 1001, 10:61–63 (“the control
information is encoded by either or both (a) the number of finger presses
and (b) the relative duration of the finger presses”) (emphasis added)), this is
the construction that stays true to the claim language and most naturally
aligns with the patent’s description of the invention.
                         4. Populate the Database
      Patent Owner asserts that if and when the number and duration clause
(citing clause 1(d)(1) in Petitioner’s Claim Listing Appendix (Pet. 64)) is


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used by an administrator to establish an authorized user, that information is
“mapped into an instruction and the resulting instruction is used to populate
the database of biometric signatures.” PO Resp. 11 (citing representative
clauses 1(d)(2) and 1(d)(3) from Petitioner’s Claim Listing Appendix).
Patent Owner also acknowledges that “the ‘populate’ limitation in claim 1 is
part of that enrolling feature.” PO Resp.11. We understand that reference to
the “enrolling” feature is a reference to the administrator establishing a
database of authorized users (“biometric signatures”) that will be used to
match against a received biometric signal to provide access to the controlled
item dependent upon the success or otherwise of the matching operation.
See, e.g. claim 12.
      Patent Owner asserts that “[t]o satisfy the requirements for antecedent
claiming, ‘said series’ in clause 1(d2) must refer to the ‘series of entries of
the biometric signal’ in clause 1(d1).” PO Resp. 11. Patent Owner provides
the following flow diagram for populating the database:




Id. at 12 (citing Ex. 2011 ¶ 82). The flow diagram provides Patent Owner’s
graphic interpretation of the three steps involved in populating the database
of approved users. These basic steps apply whether the biometric signal is a
single finger press or a series of finger presses.
      In its claim construction arguments, Patent Owner attempts to draw a
sharp distinction between a process using a single finger press, and a process
that uses the number and duration of finger presses, as two technologically
distinct processes. Patent Owner has not, however, cited any persuasive


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evidence to support this asserted distinction. In fact, the evidence is to the
contrary.
         As we have noted throughout this claim construction analysis, the
controlling case law is consistent in stating that the Specification is the
single best guide to the meaning of a disputed term, and is, thus, the primary
basis for construing the claims. E.g., Grace Instrument, 57 F.4th at 1008. In
the ’705 patent, the Specification also is consistent in stating that the using a
number and duration of finger presses as a biometric input signal, and using
a single finger press, are done exactly the same way – both use the same
biometric fingerprint sensor. See, e.g., Ex. 1001, 10:56–58 (the
administrator “can provide control information to the code entry module by
providing a succession of finger presses to the biometric sensor 121”)
(emphasis added).
         The Specification also is consistent in stating that the system
administrator establishes a database of authorized users, or authorized
biometric signatures, by using appropriate software to create, or populate,
the database. See, e.g., id. at 14:27–37.21 There is no persuasive evidence to
which we have been directed that the biometric fingerprint sensor ceases to


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     The cited text from the Specification states:
        FIG. 10 is a schematic block diagram of the system in. FIG. 2.
        The disclosed secure access methods are preferably practiced
        using a computer system arrangement 100', such as that shown
        in FIG. 10 wherein the processes of FIGS. 3–4, and 6–9 may be
        implemented as software, such as application program modules
        executing within the computer system 100'. In particular, the
        method steps for providing secure access are effected by
        instructions in the software that are carried out under direction of
        the respective processor modules 107 and 109 in the transmitter
        and receiver sub-systems 116 and 117.


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function as a biometric fingerprint sensor when the administrator establishes
a database using the number and duration of finger presses. Patent Owner’s
argument is actually to the contrary in that Patent Owner asserts that the
number and duration of finger presses is a biometric signal. PO Resp. 9
(“[T]he entries and corresponding series are ‘of the biometric signal,’ and
the ‘number of said entries and a duration of each said entry’ refers to the
entries of the biometric signal, and not an entry of some other information,
such as knowledge-based information.”). This means the number and
duration of entries must include a biometric component.
      If the number and duration of presses did not include a biometric
component, it would be simply a “knowledge-based” security measure,
based on a pattern rather than based on a unique physical attribute of the
user. Patent Owner asserts that such a pattern can be learned, and thus is
inconsistent with the ’705 patent’s claims and disclosure. PO Resp. 7–11.
Whether the software used by the administrator to populate the database of
approved users relies on this biometric component is not disclosed in the
’705 Specification.
      We now turn to the merits of Petitioner’s asserted Grounds of
unpatentability.
                                D. Ground 1
                           Claims 1, 4, 6, 10–12, 14–17
                   Based on Mathiassen, McKeeth, and Anderson
    Petitioner contends that claims 1, 4, 6, 10–12, and 14–17 would have
been obvious over the combination of Mathiassen, McKeeth, and Anderson.
Pet. 9–54.
                          1. Mathiassen (Ex. 1004)
      We make the following finding of facts concerning Mathiassen.


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      Rather than using passwords or “tokens,” such as an entry card,
Mathiassen discloses a portable fob-type fingerprint sensor to access secured
items, such as vehicles, computers, safes, medicine cabinets, and weapons
cabinets. Ex. 1004 ¶¶ 1–4, 16–18, 109–113.
      Figure 8 from Mathiassen is reproduced below.




      Figure 8 is a schematic illustration of a “user input device” providing
access to a vehicle door. As shown in Figure 8, portable device 20 contains
fingerprint sensor 5 coupled to a miniature printed circuit board 21 on which
is mounted integrated circuit (“IC”) 1. Ex. 1004 ¶ 147. Thus, remote
control 20 becomes a biometric sensor. Id. ¶ 5. Remote biometric control
20 includes battery 25 as a power supply. Id. ¶ 147. Battery 25 is connected
to printed circuit board (“PCB”) 21 by wires. Id.
      Remote biometric control 20 also is equipped with wireless 2-way
transceiver 27. All the active components are connected to integrated circuit
1 by cables 23 through printed circuit board 21. Id.




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        Ignition control device 15 (see Fig. 6) is mounted inside the car on
gear stick 71 or on steering wheel 72. Id. ¶ 148. Remote control 20 and
embedded ignition control 15 are both connected to a central computer (not
shown) in the car. Id. ¶ 149. Remote control 20 is connected to the central
computer by 2-way wireless transceiver 27, while ignition control 15 is
hard-wired to the central computer. Id.
                            2. McKeeth (Ex. 1005)
        We make the following finding of facts concerning McKeeth.
        McKeeth discloses a method and system for authenticating a user to
access a computer system. Ex. 1005, Abstr.
        McKeeth summarizes the problems with current systems for accessing
computers, such as using a private identification code or password
(Ex. 1005, 1:14–30), 22 or a machine readable card (id. at 1:31–36).
McKeeth also notes that “some computer makers considered using the user’s
fingerprint to authenticate and grant access to the computer system.”
Id. at 1:36–38. McKeeth recognized, however, that even using fingerprints
was not without problems because “a sophisticated computer hacker may be
able to copy the user’s fingerprint and provide a simulated signal to the
computer system to obtain access.” Id. at 1:51–54.
        The method and system disclosed in McKeeth provide for one or
more of various types of user inputs to be used, alone or in combination, for
authentication. These various inputs can be a password, a unique series of
clicks of a mouse, a unique geometric pattern created by the user (see Figs.
3A–3D (illustrating a simple triangle, rectangle, line, or circle drawn by the



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     Citations are to column:line of McKeeth.

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user), an audio sensor (for voice recognition), or an optical scanner for
fingerprint, retina scans, or other biometric inputs. Ex. 1005, 2:2:53–3:12.
      Figure 1 from McKeeth is reproduced below.




      Figure 1 from McKeeth is a block diagram showing one version of a
the method and system for authenticating the identity of a user disclosed in
McKeeth. Ex. 1005, 2:36–37. As shown in Figure 1, computer system 100
includes user interface 110 that is operationally connected to process circuit
120. Id. at 2:55–57. User interface 110 may be any input device that is used
to enter or communicate information to computer system 100, such as a
keyboard, mouse, trackball, pointer, touch-screen, remote terminal, audio
sensor, optical scanner, telephone, or any similar user interface. Id. at 2:57–
61.
      Process circuit 120 is configured to receive input signals from user
interface 110. The process circuit is operationally connected with timer 130
that measures time duration between the various input signals. Ex. 1005,



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3:36–38. If, for example, the user performs a fingerprint scan and/or pattern
within the designated time, process circuit 120 communicates the input
signals to compare circuit 150 for authentication. Id. at 3:52–55. Compare
circuit 150 is operationally coupled to memory 140, which stores a list of
legitimate user identifications (ID’s) with respective passwords, fingerprint,
pattern, or any other type of security information for recognition by the
computer system. Id. at 3:55–60. If there is a match between the user
inputs, within the designated time, and stored security information, the
compare circuit 150 issues a “pass” signal to computer system 100.
Id. at 65–67.
                          3. Anderson Ex. (1006)
      We make the following finding of facts concerning Anderson.
      Anderson also discloses a system and method for authenticating an
authorized user to access a secured device. Anderson’s disclosed system
inputs an access code “via temporal variations in the amount of pressure
applied to a touch interface.” Ex. 1006, Abstr.
      Anderson’s method of inputting an access code uses digitizer pad 120
as a touch interface, which may include an optical scanner or thermal sensor
for collecting an image of the user’s fingerprint. Ex. 1006, 5:43–44, 7:4–7.
The user enters the access code as a series of pressure pulses having varying
durations. Id. at 6:45–47. This fingerprint access code is then compared
with a stored code template to determine whether they match. If they do,
access is permitted. Id. at 6:48–54.
      Anderson discloses a system where the touch interface may sense only
“temporal applications of pressure,” relying on timing of the pressure
applications for entry of the access code. Ex. 1006, 7:28–30; Fig. 4A.
Alternately, as shown in FIG. 4B, the touch interface may sense both

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temporal applications of pressure and variations in pressure magnitude or
intensity. Id. at 7:34–37. Thus, the access code would be entered as a series
of alternating short and long pressure applications that vary both in duration
and magnitude. Id. at 7:37–39.
      Annotated Figure 4A from Anderson is reproduced below.




      Figure 4A from Anderson is a diagram illustrating entry of an access
code via temporal pressure variation. Ex. 1006, 2:65–67. The annotations
are provided by Dr. Sears in his declaration testimony. Ex. 1003 ¶ 100. As
explained by Dr. Sears, in Figure 4A, “the height of each bar the same
because the magnitude or intensity of the finger pressure press is not
detected. However, at least some of the presses have a different duration
than other presses, as represented by the width of each bar.” Id.
      Annotated Figure 4B from Anderson is reproduced below.




      Figure 4B from Anderson is a diagram illustrating entry of an access
code via temporal pressure variation. Ex. 1006, 2:65–67. The annotations
are provided by Dr. Sears in his declaration testimony. Ex. 1003 ¶ 101. As


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explained by Dr. Sears, Figure 4B “illustrates variations in both the amount
of pressure applied using the height of each bar and the duration of the
applied pressure using the width of each bar.” Id.
      We begin our claim analysis with claim 1.
                    4. Analysis of Independent Claim 1
      Petitioner provides a clause-by-clause analysis of independent claim
1, identifying where in each of the cited references, Mathiassen, McKeeth,
or Anderson, the claimed element is disclosed, and why it would have been
obvious to a person of ordinary skill to combine the various disclosed
elements with a reasonable expectation of success. See Pet. 9–42.
Throughout its analysis, Petitioner cites the Declaration testimony
(Ex. 1003) of Dr. Sears for evidentiary support. 23 In general, Petitioner
explains the proposed combination of references as:
      First, Mathiassen’s biometric security system is modified to
      output a duress and/or alert condition, per McKeeth, responsive
      to a user’s biometric signature. Mathiassen already contemplates
      outputting various commands based on different user-inputted
      biometric signals, indicating a duress and/or alert condition
      based on a particular inputted biometric requires only simple
      programming. Second, Mathiassen is modified to recognize a
      touch duration, per Anderson, of the fingerprint representation
      on the fingerprint sensor.
Reply 1.
      For ease of reference and consistency, we will refer to Petitioner’s
Claim Listing Appendix convention (Pet. 64–69), as did Patent Owner
(see, e.g., PO Resp. 11 referring to “transmitter subsystem (representative


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  Petitioner cites this testimony as “Dec.” Pet. 3, fn 1. We will cite it, as
we do all other evidence, by reference to its Exhibit number, which is
Exhibit 1003.

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clause 1(d1)), that series is mapped into an instruction (representative clause
1(d2)), and the resulting instruction is used to populate the database of
biometric signatures (representative clause 1(d)(3))”).
      Patent Owner asserts that Petitioner has not met its burden to prove
unpatentability because:
      (1) Mathiassen, alone or in combination with other references, does
not disclose the “accessibility attribute” limitation, as properly construed,
and, moreover, there is no motivation to combine Mathiassen with the other
references (PO Resp. 14–25);
      (2) Anderson, alone or combined with Mathiassen, does not disclose
the “biometric signal duration limitation,” and, also, there is no motivation
to combine Anderson and Mathiassen (id. at 26–32);
      (3) the references, alone or in combination, do not “populate” the
database according to an “instruction” (id. at 32–35); and
      (4) there were simpler solutions available to a skilled person than the
Mathiassen/Anderson combination (e.g., PO Resp. 3–4, 24–25, 30–31; Sur-
reply 6–17).
      Patent Owner states these same arguments apply to independent
claims 10, 11 and 14–17, as well as the challenged dependent claims.
PO Resp. 35 (asserting that these claims “contain the ‘populating,’
‘duration,’ and ‘accessibility attribute’ limitations, and, as the prior art cited
by Apple does not teach these limitations, the cited prior art does not render
these [ ] claims obvious as a result thereof”).
      Patent Owner’s defenses are based in large part on accepting Patent
Owner’s asserted claim constructions, which we have not done.




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                              a) Preamble
          “A system for providing secure access to a controlled item”
      Petitioner asserts that “[t]o the extent the preamble is limiting,
Mathiassen teaches a system for providing secure access to a controlled
item.” Pet. 9 (citing Mathiassen, Abstr., ¶¶ 16, 122–123, 145–147; Ex. 1003
¶¶ 112–113).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to the preamble of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests the preamble of claim 1.
                           b) Clause 1(a)
          “a memory comprising a database of biometric signatures”
      Petitioner asserts that Mathiassen discloses a stored database of tables
stored in memory 7, 7A. Pet. 11–13 (citing Ex. 1004, ¶¶ 50, 147, Fig. 2B;
Ex. 1003 ¶¶ 119–121).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to the preamble of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests the claimed memory of a database of biometric signatures.
                               c) Clause 1(b)
                           “a transmitter sub-system”
      Petitioner asserts Mathiassen teaches a transmitter subsystem,
including transceiver 27, fingerprint sensor 5, processor 2 (of integrated
circuit 1), and non-volatile memory 7, 7A, each housed in portable control
20. Pet. 13–14 (citing Ex. 1004 ¶¶ 185–188; Ex. 1003 ¶¶ 123–126).



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      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b).
                             d) Clause 1(b1)
         “a biometric sensor configured to receive a biometric signal”
      Petitioner asserts that Mathiassen’s “fingerprint sensor 5” is a
“biometric sensor for receiving a biometric signal” because it detects a
finger on the sensor and processes raw images of fingerprints. Pet. 14
(citing Ex. 1004 ¶ 49; Ex. 1003 ¶¶ 127–128).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b1).
                              e) Clause 1(b2)
               “a transmitter sub-system controller configured to
                  match the biometric signal against members
                     of the database of biometric signatures
                  to thereby output an accessibility attribute”
      As discussed in detail in Section II.C.2 (Claim Construction), the term
“accessibility attribute” is an “attribute that establishes whether and under
which conditions, if any, access to the controlled item should be granted to a
user.” Thus, the attribute may, or may not, impose any conditions on
permitting access.
      Petitioner asserts “Mathiassen’s processor 2 of the IC 1 in the portable
door control 20 discloses a “transmitter sub-system controller,” as recited in


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claim 1. Pet 15. According to Petitioner, Mathiassen’s portable control
processor is configured to match the user’s biometric signal against the
database of biometric signatures. Pet. 16 (citing Ex. 1003 ¶¶ 131, 133–135).
If there is a match, the processor will proceed to open (or lock) the car doors.
Id. at 17 (citing Ex. 1004, ¶¶ 180–182); Ex. 1003 ¶ 136).
      Petitioner also asserts Mathiassen’s “open door” command as
modified by McKeeth’s “teaching of duress and alert conditions” discloses
“or renders obvious” outputting an accessibility attribute, as claimed.
Pet. 17 (citing Ex. 1003 ¶¶ 137–171).
      Petitioner also asserts that McKeeth discloses a system in which
“access is granted where ‘there is a match between the input and security
information.’” Pet. 18 (citing Ex. 1005, 3:65–67, 3:11–28). McKeeth
discloses different types of input security information, including audio
sensors to detect a voice recognition and an optical scanner for fingerprint
and/or retina scans. Ex. 1005, 3:1–10. Any, a combination, or all of the
described types of input signals may be used to authenticate a user.
Ex. 1005, 3:11–12. If the input and security information do not match the
stored information, the compare circuit issues a “flag signal” indicating
denial of access by the user. Id. at 4:2–4.
      Petitioner concludes that the “collective teachings” of Mathiassen and
McKeeth:
      teach outputting an accessibility attribute, where the accessibility
      attribute may be one of an access attribute (Mathiassen and
      granting access to a car owner/administrator), a duress attribute
      (McKeeth and granting limited access along with a security
      alert), and an alert attribute (McKeeth and denying access along
      with a security alert).




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                                  Appx109
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Pet. 21–22 (italic font for reference names deleted throughout herein). Thus,
Mathiassen combined with McKeeth suggests a more comprehensive
“accessibility attribute” than Mathiassen alone.
      As discussed above, Petitioner’s position is that an “accessibility
attribute” without any conditions satisfies the ‘under which conditions’
construction component.” Reply 4. Based on our claim construction of
“accessibility attribute, we agree with Petitioner’s position.
      Petitioner concludes that Mathiassen and McKeeth “each teaches
under what conditions access is granted.” Pet. 18. “Specifically, both
references teach outputting an accessibility attribute upon there being a
match of a live or access biometric signal to a stored biometric signal.” Id.
Petitioner notes that McKeeth “teaches both a duress instruction and an alert
instruction when there is no match.” Id.
      Petitioner also provides reasoning why it would have been obvious to
combine Mathiassen and McKeeth with a reasonable expectation of success.
Pet. 22–24. According to Petitioner, it would have been obvious to a person
of ordinary skill, that is a person with a degree in computer engineering,
computer science, electrical engineering, or a related field, and with one year
of relevant experience, to increase user safety of Mathiassen by providing
accessibility attributes indicating duress access or alert access, as proposed
in McKeeth, to thereby increase user security. Id. (citing Ex. 1003 ¶¶ 149,
151–161).
      Patent Owner asserts that Mathiassen and McKeeth disclose only a
“binary” system, without specifying the conditions under which access is
permitted. PO Resp. 14–17. We disagree based on our analyses above. Our
construction of the “accessibility attribute” allows for conditional access, if



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                                   Appx110
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any conditions are imposed, or unconditional access, if no conditions are
imposed. Patent Owner’s arguments fail to account for this construction.
       Patent Owner also argues that there is no motivation to combine
Mathiassen and McKeeth because there were simpler alternative solutions
available, the existence of which undermines the motivation to combine.
PO Resp. 19–23; Sur-reply 4–8. This argument is inconsistent with
controlling caselaw that makes clear “[i]t’s not necessary to show that a
combination is the best option, only that it be a suitable option.” Intel Corp.
v. PACT XPP Schweiz AG, 61 F.4th 1373, 1380 (Fed. Cir. 2023) (citing Intel
Corp. v. Qualcomm Inc., 21 F.4th 784, 800 (Fed. Cir. 2021) (quoting PAR
Pharm., Inc. v. TWI Pharms., Inc., 773 F.3d 1186, 1197–98 (Fed. Cir. 2014)
(emphasis in original)); see also Netflix, Inc. v. DivX, LLC, No. 2022-1083,
2023 WL 2298768, at *5 (Fed. Cir. Mar. 1, 2023) (citing In re Mouttet, 686
F.3d 1322, 1334 (Fed. Cir. 2012) and In re Kahn, 441 F.3d 977, 990 (Fed.
Cir. 2006)).
       The motivation-to-combine analysis is a flexible one. “[A]ny need or
problem known in the field of endeavor at the time of invention and
addressed by the patent can provide a reason for combining the elements in
the manner claimed.” KSR, 550 U.S. at 420 (emphasis added). And “[a]
person of ordinary skill is also a person of ordinary creativity, not an
automaton.” Id. at 421. Thus, “in many cases[,] a person of ordinary skill
will be able to fit the teachings of multiple patents together like pieces of a
puzzle.” Id. at 420. The motivation-to-combine analysis “need not seek out
precise teachings directed to the specific subject matter of the challenged
claim, for a court [or this Board] can take account of the inferences and
creative steps that a person of ordinary skill in the art would employ.” Id. at
418.

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                                   Appx111
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      Here, based on our claim construction and analysis of the references,
we determine that Petitioner establishes the claimed “accessibility attribute.”
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b2).
                            f) Clause 1(b3)
           “a transmitter configured to emit a secure access signal
      conveying information dependent upon said accessibility attribute”
      Petitioner asserts Mathiassen teaches a “transmitter,” namely
transceiver 27 of portable control 20, that is “configured to emit a secure
access signal conveying information dependent upon said accessibility
attribute.” Pet. 24 (citing Ex. 1004 ¶¶ 147, 186; Ex. 1003 ¶¶ 172–173).
      Petitioner also asserts the IC processor in Mathiassen encrypts a
command, such as “open door,” with a temporary password or key. Pet. 25
(citing Ex. 1004 ¶¶ 50, 185). Transceiver 27 wirelessly transmits the
encrypted command to a transceiver at the central car computer. See
Ex. 1004 ¶¶ 186–188); Ex. 1003 ¶ 178. Petitioner concludes that “[b]ecause
Mathiassen teaches the key used to encrypt the command sent from the
portable control to the ignition control/car computer changes for each
transaction, the encrypted command is non-repeatable and non-replayable.
Therefore, Mathiassen teaches a ‘secure access signal.’” Pet. 26 (citing
Ex. 1003 ¶¶ 182–183).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(b3).


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                                  Appx112
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                         g) Clauses 1(c and 1(c1))
      “a receiver sub-system comprising: a receiver sub-system controller
          configured to: receive the transmitted secure access signal”
      Petitioner discusses clauses 1(c) and 1(c1) together, and we follow
this format.
      Petitioner asserts Mathiassen teaches a receiver sub-system
comprising “the central car computer and door lock transceivers, the central
car computer, and ignition control 15.” Pet. 28 (citing Ex. 1004 ¶¶ 186–
188). As asserted by Petitioner, the central car computer includes a
transceiver receiving the secure access signal (the “open door” command)
from the portable control. Id. As Petitioner states correctly “the door locks
include a transceiver receiving the relayed and authenticated open door
command.” Pet. 28. (citing Ex. 1003 ¶¶ 187–189; Ex. 1004 ¶¶ 149, 167,
186–187). According to Petitioner, a “transceiver” is well understood to
include a receiver. Id. (citing Ex. 1003 ¶ 190). Petitioner concludes that
Mathiassen discloses a receiver sub-system, as claimed. Id. (citing Ex. 1003
¶ 191).
      Petitioner also asserts that Mathiassen discloses a receiver sub-system,
including the transceivers, the central car computer, and ignition control.
Pet. 28–30. According to Petitioner, “a POSITA would have understood a
processor performing the claimed function of receiving the signal and
providing conditional access,” which is “at least equivalent to the claimed
“controller.” Id. at 28 (citing Ex. 1003 ¶¶ 192–197).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.




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                                  Appx113
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      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests clauses 1(c) and 1(c1).
                             h) Clause 1(c2)
     “a receiver sub-system control . . . configured to: provide conditional
       access to the controlled item dependent upon said information”
      Petitioner’s proposed construction in this proceeding for the phrase
“conditional access” is “access based on accessibility attributes.” Pet. 6, 30;
see also Ex. 1074, 3 (the Joint Claim Construction Statement in the related
parallel litigation). We have defined the term “accessibility attribute” above
and discussed its application in previous clauses. We need not repeat this
analysis.
      Petitioner asserts Mathiassen discloses access to a closed item, such as
a door, dependent upon the information in the secure access signal. Pet. 30.
According to Petitioner, because Mathiassen’s commands specifically
instruct a function (i.e., open door locks vs. lock door locks), the command
(i.e., the “secure access signal”) includes information specific to the
instructed function. Id. (citing Ex. 1004 ¶ 167; Ex. 1003 ¶ 200).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests clauses 1(c2).
                               i) Clause 1(d)
                 “wherein the transmitter sub-system controller
                           is further configured to:”
      Similar to the analysis for clause 1(b2) discussed above, Petitioner
asserts that “processor 2 of IC 1 in [the] portable door control” in


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                                   Appx114
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Mathiassen discloses this element. Pet. 31 (citing Ex. 1004 ¶¶ 50, 147;
Ex. 1003 ¶ 202).
      Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
      Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests clauses 1(d).
                               j) Clause 1(d1)
       “[configured to] receive a series of entries of the biometric signal,
             said series being characterised according to at least one
        of the number of said entries and a duration of each said entry;”
      Petitioner acknowledges that [a]lthough Mathiassen teaches inputting
a command via a series of fingerprint representations, Mathiassen does not
teach determining a duration of each entry. Anderson teaches inputting an
access code including fingerprint presses of varying duration.” Pet. 3.
      Petitioner asserts Mathiassen discloses storing “a series of consecutive
fingerprint representations generated by the fingerprint sensor signal capture
and preprocessing block (5C))” that represent various “finger movements
across the sensor in two dimensions.” Pet. 32 (citing Ex. 1004 ¶ 192;
Ex. 1003 ¶¶ 205–210).
      Petitioner relies on Anderson for the disclosure of a “series of
fingerprint pressure pulses of varying duration. Pet. 33–34 (citing Ex. 1006,
6:45–48 (“For example, wherein the access code is entered by the user as a
series of pressure pulses having varying durations, a predetermined tolerance
may be provided for variations in the lengths of the pulses.”), 7:40–47);
see also id. at 7:34–39 (disclosing that, “as shown in FIG. 4B, the touch
interface may sense both temporal applications of pressure and variations in
pressure magnitude or intensity. Thus, the access code would be entered as

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                                  Appx115
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a series of alternating short and long pressure applications that vary both in
duration and magnitude”)).
      As we explained above in our discussion of Anderson, there can be no
reasonable dispute that Anderson discloses input biometric signals that vary
in number and duration.
      As explained by Petitioner,
            In Mathiassen, the series of directional finger movements
      instruct a particular command. A POSITA would have found it
      obvious to substitute or modify such directional finger
      movements with a series of presses of varying duration, as taught
      by Anderson, for instructing a command at portable device 20.
Pet. 36 (citations omitted).
      Petitioner also provides argument and probative evidence as to why a
person of ordinary skill would have combined the disclosures of the
references, with a reasonable expectation that the combination would be
successful. Pet. 35–36. As explained by Petitioner,
      There would have been a reasonable expectation of success in
      modifying Mathiassen’s processor 2 in control 20, because it
      executes software and directs hardware for detecting and
      categorizing directional movement and touch/no touch.
      Mathiassen’s processor is already operable to detect a finger
      press because it receives the fingerprint representations, in the
      form of captured raw images, from the fingerprint sensor. Id.
      The modification therefore only requires simple programming
      techniques (e.g., modification of the disclosed translation
      program to count the number and duration of a “touch” or “no
      touch”) that were within a POSITA’s expertise.
Id. at 37 (citing Ex. 1004 ¶ 192; Ex. 1003 ¶¶ 224–225).
      Patent Owner asserts that the “pressure pulses” in Anderson do not
generate biometric signals because they are captured “as the pressure code is
entered,” and are therefore not part of the pressure code itself. See PO


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                                  Appx116
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Resp. 27. Patent Owner also explains that “combining Mathiassen’s
fingerprint sensor with Anderson’s pressure code does not produce the
claimed invention, as any duration would apply to a nonbiometric signal.”
Id. at 28 (citing Ex. 2013 ¶¶ 69–71). Dr. Easttom testifies that Anderson
does not capture a biometric signal. Ex. 2013 ¶¶ 69–71.
      Petitioner, however, relies on Mathiassen and McKeeth for the
biometric sensing, but also relies on Anderson, which suggests the benefits
and options of using a number and duration of pulses as inputs. Reply 1. As
explained by Petitioner,
      First, Mathiassen’s biometric security system is modified to
      output a duress and/or alert condition, per McKeeth, responsive
      to a user’s biometric signature. Mathiassen already contemplates
      outputting various commands based on different user-inputted
      biometric signals, indicating a duress and/or alert condition
      based on a particular inputted biometric requires only simple
      programming. Second, Mathiassen is modified to recognize a
      touch duration, per Anderson, of the fingerprint representation
      on the fingerprint sensor.
Id.
      Because Mathiassen, like the ’705 patent, uses a biometric sensor as
the input device, it will detect the biometric part of the input signal, while
also sensing the number and duration of inputs.
      Dr. Sears’ annotated figures 4A and 4B from Anderson (see Ex. 1003
¶¶ 97, 98; also discussed in Section II.D.3 of this Decision) are reproduced
again below for convenient reference.




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      Dr. Sears testifies that Anderson’s method of inputting an access code
uses digitizer pad 120 as a touch interface, which may “include an optical
scanner or thermal sensor for collecting an image of the user’s fingerprint.
Ex. 1003 ¶ 96 (citing Ex. 1006, 5:43–44, 7:4–7). The user then enters the
access code “as a series of pressure pulses having varying durations.” Id.
(quoting Ex. 1006, 6:45–47). This fingerprint access code is then compared
with the “stored code template” in Anderson to determine a “match” to
enable the desired function. Id. (citing Ex. 1006, 6:48–54). Dr. Sears
testifies that “Anderson teaches two different access code applications: one
where both the pressure of each press and the duration of each press is
detected (Fig. 4A), and another where only the duration of each press is
detected (Fig. 4B).” Id. (citing Ex. 1006, 7:28–39).
      Dr. Sears also states, “Anderson discloses that in the second option,
the ‘access code would be entered as a series of alternating pressure
applications of varying duration’ where the touch interface ‘may only sense
temporal applications of pressure’ and “not detect variations in pressure


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magnitude or intensity.” Ex. 1003 ¶ 96 (citing Ex. 1006, 7:28–34,
discussing Figure 4A in Anderson). It is Dr. Sears’ opinion that “in the first
[option] the touch interface may sense both temporal applications of
pressure and variations in pressure magnitude or intensity.” Id. (citing
Ex. 1006, 7:34–37, discussing Fig. 4B in Anderson).
      Patent Owner asserts that a “simpler combination” was available.
PO Resp. 30; Sur-reply 4–8. According to Patent Owner, “a simpler
solution would have been to add Anderson’s pushbutton to Mathiassen’s key
fob.” PO Resp. 30 (citing Ex. 2013 ¶ 77). However, as explained above,
“[i]t’s not necessary to show that a combination is the best option, only that
it be a suitable option.” Intel Corp., 61 F.4th at 1380 (citations omitted).
      Based on the Petitioner’s arguments and evidence summarized above,
we determine Petitioner has sufficiently shown that the cited references, as
combined by Petitioner, disclose or suggest limitation 1(d1).
                              k) Clause 1(d2)
        “[the transmitter sub-system controller is further configured to:]
               map said series [of entries of the biometric signal]
                              into an instruction”
      Petitioner asserts Mathiassen discloses the processor in integrated
circuit 1 maps the series of biometric signal entries into an instruction by
translating the series of finger movements to a command in a command
table. Pet. 37–38 (citing Ex. 1004 ¶ 192). The cited disclosure in
Mathiassen states:
            As an additional safety feature the portable or embedded
      device could be equipped with means for the input of code or
      commands. This is achieved by defining a fingerprint storage
      segment in non-volatile memory (7, 7A or 7E) where the device
      may store a series of consecutive fingerprint representations
      generated by the fingerprint sensor signal capturing and pre-
      processing block (5C). Movement analyzing means, in the form

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      of a hardware or a software movement analyzing program
      module analyzes the obtained series of fingerprint
      representations to obtain a measure of the omni-directional
      finger movements across the sensor in two dimensions.
      Translation means in the form of a hardware or a software
      translation program module analyzes and categorizes the omni-
      directional finger movements across the fingerprint sensor
      according to predefined sets of finger movement sequences
      including directional and touch/no-touch finger movement
      sequences. A command table is used to translate the categorized
      finger movements into control signals whereby the translating
      means generates control signal for controlling the device, e.g.
      the stand-alone appliance, in response to the finger movements
      on the sensor.
Ex. 1004 ¶ 192 (emphases added). There can be no reasonable dispute that
Mathiassen discloses a computer implemented software translation program
for converting finger movements into control signals.
                              l) Clause 1(d3)
        [the transmitter sub-system controller is further configured to:]
               populate the data base according to the instruction
      Petitioner asserts the cited references “teache[ ] or render[ ] obvious a
system enrolling or populating a database of new users.” Pet. 38–42 (citing
Ex. 1004 ¶¶ 71, 131, 162–167, 192; Ex. 1003 ¶¶ 231, 236–238, 241–245).
Petitioner explains the mapping or the previous clause, and the “populating”
of this clause as follows:
      Mathiassen teaches mapping “said series” into an instruction by
      translating the series of movements obtained from the series of
      fingerprint representations into a command using the command
      table. (Paper 1, 37-38; Ex. 1003, ¶¶ 226-230). Mathiassen also
      teaches enrolling new users by generating master minutiae tables
      and storing the tables in memory 7,7A. (Paper 1, 38; Ex. 1003,
      ¶¶ 231, 233-238). Mathiassen-Anderson renders obvious
      populating the database according to the instruction mapped
      from the “said series,” as a POSITA would have found it obvious
      to include an enrollment command in the command table.

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       (Ex. 1004, [0192]; Ex. 1003, ¶¶ 233-246, pinpoint at ¶ 241).
       Thus, the administrator’s input series of finger movements is
       mapped into an instruction, i.e., an instruction to enroll a user.
       (Ex. 1001, 10:56–11:3 (describing an administrator’s finger
       press series mapping to a control signal to “[e]nroll an ordinary
       user”). The database is then populated “according to the
       instruction,” as claimed, by storing the new user’s master
       minutiae tables in memory. (Paper 1, 38-42; Ex. 1003, ¶¶ 231-
       245, pinpoint at ¶¶ 233-237).
Reply 23. Petitioner provides the following table which “summarizes how
the prior art teaches Claims 1(d1)–1(d3)” (id.):




Id. at 24.
       Patent Owner argues that “Mathiassen has no teaching that either the
‘predefined sets of finger movement sequences’ or the ‘command table’
constitute a series of received biometric signal entries that are mapped into
an instruction used to populate the database as part of the enrollment
process.” PO Resp. 33.


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       It is clear that Mathiassen’s fingerprint sensor receives this series of
entries of the biometric signal, similar to the ’705 patent’s code entry
module 103 containing a biometric sensor 121 that receives a user’s
fingerprint. Ex. 1004 ¶ 192. Mathiassen’s processor then translates the
series of fingerprints received by its biometric sensor into a command, such
as “open door” command, for authenticating the user to access the car doors.
Id.
       Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that the prior art discloses or
suggests limitation 1(d3).
                             m) Clause 1(e)
          “wherein the controlled item is one of: a locking mechanism
             of a physical access structure or an electronic lock
                     on an electronic computing device”
       Petitioner asserts “Mathiassen teaches the controlled item is a ‘locking
mechanism of a physical access structure’ (i.e., the car door locks of the
central locking system).” Pet. 42 (citing Ex. 1004 ¶ 187; Ex. 1003 ¶ 247
(testifying that Mathiassen discloses a controlled item that is a locking
mechanism of a physical access structure, i.e. a car door). We also note that
Mathiassen clearly discloses use of its disclosed computer-based locking and
access system on a “laptop computer,” “hotel safe,” “medicine cabinet,” and
as a “door control” in “automotive applications.” Ex. 1004 ¶¶ 41–44, 109–
113.
       Patent Owner does not contest specifically Petitioner’s arguments
with respect to this limitation of claim 1. See generally PO Resp.
       Based on Petitioner’s arguments and evidence as summarized above,
we determine Petitioner has sufficiently shown that Mathiassen discloses or
suggests limitation 1(e).

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                                    Appx122
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      After having analyzed the entirety of the trial record and assigning
appropriate weight to the cited supporting evidence, we determine Petitioner
has shown by a preponderance of the evidence that, at the time of the filing
of the ’705 patent, one of ordinary skill would have been motivated to
combine the teachings of Mathiassen, McKeeth, and Anderson in the
manner recited in claim 1.
               5. Analysis of Claims 4, 6, 10–12, and 14–17
      Petitioner also provides an element-by-element analysis of where each
element in the challenged claims 4, 6, 10–12, and 14–17 is disclosed in, or
would have been obvious in view of, the cited references. Pet. 42–54. For
clauses in claims 4, 6, 10–12, and 14–17 that are similar to those in claim 1,
Petitioner refers to its arguments for claim 1, or other claims. See, e.g., Pet.
49–50 (referring to its analysis for claim 14). Petitioner also provides a
reason why it would have been obvious to modify and combine the
references with a reasonable expectation of success, as proposed by
Petitioner. Id. Petitioner also relies throughout the analysis of these claims
on the testimony of Dr. Sears (Ex. 1003, 1090) for evidentiary support.
      Patent Owner concedes that patentability of claims 4, 6, 10–12, and
14–17 stands or falls with patentability of independent claim 1. PO Resp.
35. Thus, applying the same analysis and evidence as discussed above in the
context of claim 1, we determine that Petitioner has established by a
preponderance of the evidence that dependent claims 4, 6, 10–12, and 14–17
of the ’705 patent would have been obvious, and thus are not patentable.




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                                   Appx123
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                           III. CONCLUSION24
      Petitioner has established by a preponderance of the evidence that
claims 1, 4, 6, 10–12, and 14–17 are unpatentable.
                                IV. ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that, that Petitioner has shown by a preponderance of the
evidence that claims 1, 4, 6, 10–12, and 14–17 are unpatentable.
                         V. SUMMARY TABLE

                                                 Claim(s)      Claim(s)
            35
 Claim(s)          Reference(s)/Basis             Shown       Not shown
          U.S.C. §
                                              Unpatentable Unpatentable
 1, 4, 6, 103          Mathiassen,            1, 4, 6, 10–12,
 10–12,                McKeeth,               14–17
 14–17                 Anderson
 Overall                                      1, 4, 6, 10–12,
 Outcome                                      14–17




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  Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. § 42.8(a)(3), (b)(2).

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                                  Appx124
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                              Appx125
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c12)   United States Patent                                                            (IO) Patent No.:                        US 9,269,208 B2
       Burke                                                                           (45) Date of Patent:                             *Feb.23,2016

(54)   REMOTE ENTRY SYSTEM                                                                  USPC .......................................................... 713/186
                                                                                            See application file for complete search history.
(75)   Inventor:    Christopher John Burke, Ramsgate
                    (AU)                                                        (56)                            References Cited

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                                                                                           5,933,515 A     *     8/1999 Pu .                     G06K 9/00006
                                                                                                                                                          340/5.53
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by 78 days.                                                                      (Continued)

                    This patent is subject to a terminal dis-                                     FOREIGN PATENT DOCUMENTS
                    claimer.
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(65)                   Prior Publication Data                                  Patent Office Application No.2009201293 (3 pp.).
       US 2012/0311343 Al                  Dec. 6,2012                                                             (Continued)

                 Related U.S. Application Data
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(63)   Continuation of application No. 10/568,207, filed as                    (74) Attorney, Agent, or Firm - Brinks Gilson & Liane
       application No. PCT/AU2004/001083 on Aug. 13,
       2004, now Pat. No. 8,266,442.                                            (57)                              ABSTRACT

(30)              Foreign Application Priority Data                            A system is disclosed for providing secure access to a con-
                                                                               trolled item, the system comprising a database of biometric
  Aug. 13, 2003       (AU) ................................ 2003904317         signatures, a transmitter subsystem comprising a biometric
                                                                               sensor for receiving a biometric signal, means for matching
(51)   Int. Cl.                                                                the biometric signal against members of the database of bio-
       H04L29/06                (2006.01)                                      metric signatures to thereby output an accessibility attribute,
       G07C9/00                 (2006.01)                                      and means for emitting a secure access signal conveying
                          (Continued)                                          information dependent upon said accessibility attribute,
                                                                               wherein the secure access signal comprises one of at least a
(52)   U.S. Cl.                                                                rolling code, an encrypted Bluetooth™ protocol, and a
       CPC ............ G07C 9/00158 (2013.01); G06F 21132                     WiFi™ protocol, and a receiver sub-system comprising
                      (2013.01); G06F 21135 (2013.01); H04L                    means for receiving the transmitted secure access signal and
                 63/0861 (2013.01); H04W 12108 (2013.01);                      means for providing conditional access to the controlled item
             H04W 84/12 (2013.01); H04W 84/18 (2013.01)                        dependent upon said information.
(58)   Field of Classification Search
       CPC ............................ H04L 63/0861; G06F 21/32                                      13 Claims, 10 Drawing Sheets



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                                                                             116            117
                                                                        transmitter         receiver
                                                                        sub-system          sub-system



                                                                       Appx126                                                          IPR2022-00601
                                                                                                                                  Apple EX1001 Page 1
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        H04W 84/12                 (2009.01)                                                                                                    382/115
        H04W 84/18                 (2009.01)
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                                                                     Appx127                                                    IPR2022-00601
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                                    Appx128                                   IPR2022-00601
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                                                          indicators                                             I                                                        ('D

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                                                                                                                 I                                                        ('D
                                                         Controller/                                                                                                      .....




         Appx129
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                                                                                                        116      I       117                                              \0
                                                                                                 transmitter         receiver                               Fig. 2        'N
                                                                                                 sub-system          sub-system
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                                                               200

                                                           ~

                 NO



                          YES
                                      202

                         Compare to
                         signatures



                 NO


                          YES
                                      204

                        Select control
                           option
         206
                                    205

                        Send access
                          signal




                                                           Fig. 3


                                 Appx130                              IPR2022-00601
                                                                Apple EX1001 Page 5
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                                                             300

                                                        ,)



                NO



                        YES
                                    302

                       Compare to
                         code




                        YES
                                    304

        305            Send control
                         signal




                                                       Fig. 4


                               Appx131                               IPR2022-00601
                                                               Apple EX1001 Page 6
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                                           Appx132                             IPR2022-00601
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                                                                       700

                                                                    ✓
                                From Fig. 7 or Fig. 8




                                                     701




     or
     Fig. 9
                                          NO



                        YES




                                          NO




                                                                  Fig. 6


                                 Appx133                                 IPR2022-00601
                                                                   Apple EX1001 Page 8
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                                                                         600
                                From Fig. 6 707
                                                                      ,J

                                         Compare to
                                         signatures


                                                         603
      604     Insert duress    YES
                  bit(s)


      606
            Insert telemetry   YES
                 bit(s)



      608
              Insert access    YES
                  bit(s)

                                                 NO

                               609
                                          Insert alert
                                             bit(s)

                                                      610

                                         Send control
                                           signal

                                   811




                                                                     Fig. 7


                                     Appx134                                 IPR2022-00601
                                                                       Apple EX1001 Page 9
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                                                                                800
                              802
                                                                          ✓
   __   ____,
           Store administrator---..-....--c
                signature

                                                      NO




                                                      NO                  811
                             805

             Store duress
                                    YES
              signature

                                                      NO
                             807

             Store simple           YES
              signature

                                                      NO
                             809

                 Erase
                                    YES
              signature(s)




                                                                          Fig. 8

                                          Appx135                           IPR2022-00601
                                                                     Apple EX1001 Page 10
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                                                                                   900

                                                                                ✓
             903     Emit "enrolment"
                     tone & flash Red ~-<
                      LED (ongoing)



                                             Emit "enrolment"
                                904
                                            tone & flash Green      902
                                               LED (once)



                                              Read biometric
                                            signal (directed by      905
                                               AmberLED)


 To Fig. 6

                     Emit "rejection"
                          tone
             908



             911 r----------,
                       Store signature




                             913
                                               Erase relevant
                                                signature(s)
                                                                     912




                                                                               Fig. 9

                                         Appx136                                  IPR2022-00601
                                                                           Apple EX1001 Page 11
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 I                                                        1013               1006                          I
 1                       bio sensor                                                                        I
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 I                121                                                                                      I
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                                                                                                Fig. 10


                                                Appx137                                                IPR2022-00601
                                                                                                Apple EX1001 Page 12
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               REMOTE ENTRY SYSTEM                                  The Wiegand protocol is a simple one-way data protocol that
                                                                    can be modified by increasing or decreasing the bit count to
           CROSS-REFERENCE TO RELATED                               ensure uniqueness of the protocol among different security
                  APPLICATIONS                                      companies. The Wiegand protocol does not secure the infor-
                                                                 5 mation being sent between the code entry module 403 and the
   This application is a continuation patent application of         controller 405.
U.S. Non-Provisional application Ser. No. 10/568,207 for               More advanced protocols such as RS 485 have been used in
REMOTE ENTRY SYSTEM, filed Jun. 4, 2008 now U.S.                    order to overcome the vulnerability of the Wiegand protocol
Pat. No. 8,266,442, the disclosure of which is incorporated by      over the long distance route 404. RS 485 is a duplex protocol
reference in its entirety.                                       10 offering encryption capabilities at both the transmitting and
                                                                    receiving ends, i.e. the code entry module 403 and the con-
               FIELD OF THE INVENTION                               troller 405 respectively in the present case. The length of the
                                                                    path 404 nonetheless provides an attack point for the unau-
   The present invention relates to secure access systems and,      thorised person.
in particular, to systems using wireless transmission of secu-   15    Due to the cost and complexity of re-wiring buildings and
rity code information.                                              facilities, security companies often make use of existing com-
                                                                    munication cabling when installing and/or upgraded security
                      BACKGROUND                                    systems, thereby maintaining the vulnerability described
                                                                    above.
   FIG. 1 shows a prior art arrangement for providing secure 20
access. A user 401 makes a request, as depicted by an arrow                                  SUMMARY
402, directed to a code entry module 403. The module 403 is
typically mounted on the external jamb of a secure door. The          It is an object of the present invention to substantially
request 402 is typically a secure code of some type which is       overcome, or at least ameliorate, one or more disadvantages
compatible with the code entry module 403. Thus, for 25 of existing arrangements.
example, the request 402 can be a sequence of secret numbers          According to a first aspect of the present invention, there is
directed to a keypad 403. Alternately, the request 402 can be      provided a system for providing secure access to a controlled
a biometric signal from the user 401 directed to a correspond-     item, the system comprising:
ing biometric sensor 403. One example of a biometric signal           a database of biometric signatures;
is a fingerprint. Other physical attributes that can be used to 30    a transmitter subsystem comprising:
provide biometric signals include voice, retinal or iris pattern,     a biometric sensor for receiving a biometric signal;
face pattern, palm configuration and so on.                           means for matching the biometric signal against members
   The code entry module 403 conveys the request 402 by            of the database of biometric signatures to thereby output an
sending a corresponding signal, as depicted by an arrow 404,       accessibility attribute; and
to a controller 405 which is typically situated in a remote or 35     means for emitting a secure access signal conveying infor-
inaccessible place. The controller 405 authenticates the secu-     mation dependent upon said accessibility attribute, wherein
rity information provided by the user 401 by interrogating a       the secure access signal comprises one of at least a rolling
database 407 as depicted by an arrow 406. If the user 401 is       code, an encrypted Bluetooth™ protocol, and a WiFi™ pro-
authenticated, and has the appropriate access privileges, then     tocol; and a receiver sub-system comprising;
the controller 405 sends an access signal, as depicted by an 40       means for receiving the transmitted secure access signal;
arrow 408, to a device 409 in order to provide the desired         and
access. The device 409 can, for example, be the locking               means for providing conditional access to the controlled
mechanism of a secure door, or can be an electronic lock on a      item dependent upon said information.
personal computer (PC) which the user 401 desires to access.          According to another aspect of the present invention, there
   A proximity card can also be used to emit the request 402, 45 is provided a transmitter sub-system for operating in a system
in which case the code entry module 403 has appropriate            for providing secure access to a controlled item, the system
functionality.                                                     comprising a database of biometric signatures, a receiver
   Although the request 402 can be made secure, either by          sub-system comprising means for receiving a secure access
increasing the number of secret digits or by using a biometric     signal transmitted by the transmitter sub-system, and means
system, the communication infrastructure in FIG. 1 is typi- 50 for providing conditional access to the controlled item depen-
cally less secure. The infrastructure 400 is generally hard-       dent upon information conveyed in the secure access signal;
wired, with the code entry module 403 generally being              wherein the transmitter subsystem comprises:
mounted on the outside jamb of a secured door. In such a              a biometric sensor for receiving a biometric signal;
situation, the signal path 404 can be over a significant distance     means for matching the biometric signal against members
in order to reach the controller 405. The path 404 represents 55 of the database of biometric signatures to thereby output an
one weak point in the security system 400, providing an            accessibility attribute; and
unauthorised person with relatively easy access to the infor-         means for emitting the secure access signal conveying said
mation being transmitted between the code entry module 403         information dependent upon said accessibility attribute,
and the controller 405. Such an unauthorised person can,           wherein the secure access signal comprises one of at least a
given this physical access, decipher the communicated infor- 60 rolling code, an encrypted Bluetooth™ protocol, and a
mation between the code entry module 403 and the controller        WiFi™ protocol.
405. This captured information can be deciphered, replayed            According to another aspect of the present invention, there
in order to gain the access which rightfully belongs to the user   is provided receiver sub-system for operating in a system for
401, or to enable modification for other subversive purposes.      providing secure access to a controlled item, the system com-
   Current systems as depicted in FIG. 1 utilise a communi- 65 prising a database of biometric signatures, a transmitter sub-
cation protocol called "Wiegand" for communication                 system comprising a biometric sensor for receiving a biomet-
between the code entry module 403 and the controller 405.          ric signal, means for matching the biometric signal against

                                                           Appx138                                            IPR2022-00601
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members of the database of biometric signatures to thereby         dependent upon said accessibility attribute, wherein the
output an accessibility attribute, and means for emitting a        secure access signal comprises one of at least a rolling code,
secure access signal conveying information dependent upon          an encrypted Bluetooth™ protocol, and a WiFi™ protocol,
said accessibility attribute, wherein the secure access signal     said method comprising the steps of:
comprises one of at least a rolling code, an encrypted Blue- 5        receiving the transmitted secure access signal; and
tooth™protocol, and a WiFi™protocol; wherein the receiver             providing conditional access to the controlled item depen-
sub-system comprises;                                              dent upon said information.
   means for receiving the transmitted secure access signal;          According to another aspect of the present invention, there
and                                                                is provided a computer program product having a computer
   means for providing conditional access to the controlled 10
                                                                   readable medium having a computer program recorded
item dependent upon said information.
                                                                   therein for directing a processor to provide secure access to a
   According to another aspect of the present invention, there
                                                                   controlled item, said computer program product comprising:
is provided a method for providing secure access to a con-
trolled item, the method comprising the steps of:                     code for receiving a biometric signal;
   receiving a biometric signal;                                15
                                                                      code for matching the biometric signal against members of
   matching the biometric signal against members of a data-        a database ofbiometric signatures to thereby output an acces-
base of biometric signatures to thereby output an accessibility    sibility attribute;
attribute;                                                            code for emitting a secure access signal conveying infor-
   emitting a secure access signal conveying information           mation dependent upon said accessibility attribute, wherein
dependent upon said accessibility attribute, wherein the 20 the secure access signal comprises one of at least a rolling
secure access signal comprises one of at least a rolling code,     code, an encrypted Bluetooth™ protocol, and a WiFi™ pro-
an encrypted Bluetooth™ protocol, and a WiFi™ protocol;            tocol; and
and                                                                   code for providing conditional access to the controlled
   providing conditional access to the controlled item depen-      item dependent upon said information.
dent upon said information.                                     25    According to another aspect of the present invention, there
   According to another aspect of the present invention, there     is provided a computer program product having a computer
is provided a method for populating a database of biometric        readable medium having a computer program recorded
signatures in a system for providing secure access to a con-       therein for directing a processor to populate a database of
trolled item, the system comprising said database of biomet-       biometric signatures in a system for providing secure access
ric signatures, a transmitter subsystem comprising a biomet- 30 to a controlled item, said computer program product compris-
ric sensor for receiving a biometric signal, and means for
                                                                   ing:
emitting a secure access signal, and a receiver sub-system
                                                                      code for receiving a series of entries of the biometric sig-
comprising means for receiving the transmitted secure access
                                                                   nal;
signal, and means for providing conditional access to the
controlled item dependent upon information in said secure 35          code for determining at least one of the number of said
access signal, said method comprising the steps of:                entries and a duration of each said entry;
   receiving a series of entries of the biometric signal;             code for mapping said series into an instruction; and
   determining at least one of the number of said entries and a       code for populating the database according to the instruc-
duration of each said entry;                                       tion.
   mapping said series into an instruction; and                 40    According to another aspect of the present invention, there
   populating the database according to the instruction.           is provided a computer program product having a computer
   According to another aspect of the present invention, there     readable medium having a computer program recorded
is provided a method for transmitting a secure access signal in    therein for directing a processor to transmit a secure access
a system for providing secure access to a controlled item, the     signal in a system for providing secure access to a controlled
system comprising a database of biometric signatures, a 45 item, said computer program product comprising:
receiver sub-system comprising means for receiving the                code for receiving a biometric sensor by biometric signal;
secure access signal transmitted by a transmitter sub-system,         code for matching the biometric signal against members of
and means for providing conditional access to the controlled       the database of biometric signatures to thereby output an
item dependent upon information conveyed in the secure             accessibility attribute; and
access signal, said method comprising the steps of:             50    code for emitting the secure access signal conveying said
   receiving a biometric sensor by biometric signal;               information dependent upon said accessibility attribute,
   matching the biometric signal against members of the data-      wherein the secure access signal comprises one of at least a
base of biometric signatures to thereby output an accessibility    rolling code, an encrypted Bluetooth™ protocol, and a
attribute; and                                                     WiFi™ protocol.
   emitting the secure access signal conveying said informa- 55       According to another aspect of the present invention, there
tion dependent upon said accessibility attribute, wherein the      is provided a computer program product having a computer
secure access signal comprises one of at least a rolling code,     readable medium having a computer program recorded
an encrypted Bluetooth™ protocol, and a WiFi™ protocol.            therein for directing a processor to receive a secure access
   According to another aspect of the present invention, there     signal in a system for providing secure access to a controlled
is provided a method for receiving a secure access signal in a 60 item, said computer program product comprising:
system for providing secure access to a controlled item, the          code for receiving the transmitted secure access signal; and
system comprising a database of biometric signatures, a               code for providing conditional access to the controlled
transmitter subsystem comprising a biometric sensor for            item dependent upon said information.
receiving a biometric signal, means for matching the biomet-          According to another aspect of the present invention, there
ric signal against members of the database of biometric sig- 65 is provided a system for providing secure access, the system
natures to thereby output an accessibility attribute, and means    comprising:
for emitting a secure access signal conveying information             a biometric sensor for authenticating the identity of a user;

                                                          Appx139                                            IPR2022-00601
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                               5                                                                    6
   a transmitter for transmitting information using a secure         transmitter 107 checks, as depicted by an arrow 112, the
wireless signal dependent upon a request from the user and           current rolling code in a database 113. The controller 107 then
the authentication of the user identity; and                         updates the code and sends the updated code, this being
   a control panel for receiving the information and for pro-        referred to as an access signal, as depicted by an arrow 108 to
viding the secure access requested.                                5 a controller 109. The rolling code protocol offers non-replay
   Other aspects of the invention are also disclosed.                encrypted communication.
                                                                        The controller 109 tests the rolling code received in the
         BRIEF DESCRIPTION OF THE DRAWINGS                           access signal 108 against the most recent rolling code which
                                                                     has been stored in a database 115, this testing being depicted
   Some aspects of the prior art and one or more embodiments 10 by an arrow 114. If the incoming rolling code forming the
of the present invention are described with reference to the         access signal 108 is found to be legitimate, then the controller
drawings, in which:                                                  109 sends a command, as depicted by an arrow 110, to a
   FIG. 1 shows a prior art arrangement for providing secure         controlled item 111. The controlled item 111 can be a door
access;                                                              locking mechanism on a secure door, or an electronic key
   FIG. 2 is a functional block diagram of an arrangement for 15 circuit in a personal computer (PC) that is to be accessed by
providing secure access according to the present disclosure;         the user 101. It is noted that the controller 109 contains a
   FIG. 3 shows an example of a method of operation of the           receiver 118 that receives the transmitted access signal 108
remote control module of FIG. 2;                                     and converts it into a form that is provided, as depicted by an
   FIG. 4 shows an example of a method of operation of the           arrow 120, into a form that the controller 109 can use.
(fixed) control device of FIG. 2;                                 20    The code entry module 103 also incorporates at least one
   FIG. 5 shows incorporation of a protocol converter into the       mechanism for providing feedback to the user 101. This
arrangement of FIG. 2; and                                           mechanism can, for example, take the form or one or more
   FIG. 6 shows another example of how the remote access             Light Emitting Diodes (LEDs) 122 which can provide visual
system operates;                                                     feedback, depicted by an arrow 123 to the user 101. Alter-
   FIG. 7 shows an access process relating to the example of 25 nately or in addition the mechanism can take the form of an
FIG. 6;                                                              audio signal provided by an audio transducer 124 providing
   FIG. 8 shows one enrolment process relating to the                audio feedback 125.
example of FIG. 6;                                                      The arrangement in FIG. 2 has been described for the case
   FIG. 9 shows another enrolment process relating to the            in which the secure code in the access signal 108 used
example of FIG. 6; and                                            30 between the sub-systems 116 and 117 is based upon the
   FIG.10 is a schematic block diagram of the system in FIG.         rolling code. It is noted that this is merely one arrangement,
2.                                                                   and other secure codes can equally be used. Thus, for
                                                                     example, either of the Bluetooth™ protocol, or the Wi Fi™
       DETAILED DESCRIPTION INCLUDING BEST                           protocols can be used.
                               MODE                               35    Rolling codes provide a substantially non-replayable non-
                                                                     repeatable and encrypted radio frequency data communica-
   It is to be noted that the discussions contained in the "Back-    tions scheme for secure messaging. These codes use inher-
ground" section relating to prior art arrangements relate to         ently secure protocols and serial number ciphering
discussions of documents or devices which form public                techniques which in the present disclosure hide the clear text
knowledge through their respective publication and/or use. 40 values required for authentication between the key fob (trans-
Such should not be interpreted as a representation by the            mitter) sub-system 116 and the receiver/controller 118/109.
present inventor( s) or patent applicant that such documents or         Rolling codes use a different code variant each time the
devices in any way form part of the common general knowl-            transmission of the access signal 108 occurs. This is achieved
edge in the art.                                                     by encrypting the data from the controller 107 with a math-
   Where reference is made in any one or more of the accom- 45 ematical algorithm, and ensuring that successive transmis-
panying drawings to steps and/or features, which have the            sions of the access signal 108 are modified using a code
same reference numerals, those steps and/or features have for        and/or a look-up table known to both the transmitter sub-
the purposes of this description the same function(s) or opera-      system 116 and the receiver sub-system 117. Using this
tion(s), unless the contrary intention appears.                      approach successive transmissions are modified, resulting in
   FIG. 2 is a functional block diagram of an arrangement for 50 a non-repeatable data transfer, even if the information from
providing secure access according to the present disclosure. A       the controller 107 remains the same. The modification of the
user 101 makes a request, as depicted by an arrow 102, to a          code in the access signal 108 for each transmission signifi-
code entry module 103. The code entry module 103 includes            cantly reduces the likelihood that an intruder can access the
a biometric sensor 121 and the request 102 takes a form which        information replay the information to thereby gain entry at
corresponds to the nature of the sensor 121 in the module 103. 55 some later time.
Thus, for example, if the biometric sensor 121 in the code              The sub-system in FIG. 2 falling to the left hand side, as
entry module 103 is a fingerprint sensor, then the request 102       depicted by an arrow 116, of a dashed line 119 can be imple-
typically takes the form of a thumb press on a sensor panel          mented in a number of different forms. The sub-system 116
(not shown) on the code entry module 103.                            can for example be incorporated into a remote fob (which is a
   The code entry module 103 interrogates, as depicted by an 60 small portable device carried by the user 101), or alternately
arrow 104, a user identity database 105. Thus for example if         can be mounted in a protected enclosure on the outside jamb
the request 102 is the thumb press on the biometric sensor           of a secured door. The sub-system 116 communicates with
panel 121 then the user database 105 contains biometric sig-         the sub-system 117 on the right hand side of the dashed line
natures for authorised users against which the request 102 can       119 via the wireless communication chamiel used by the
be authenticated. If the identity of the user 101 is authenti- 65 access signal 108. The sub-system 117 is typically located in
cated successfully, then the code entry module 103 sends a           an inaccessible area such as a hidden roof space or alternately
signal 106 to a controller/transmitter 107. The controller/          in a suitable protected area such as an armoured cupboard.

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The location of the sub-system 117 must of course be consis-        sensor 121 in the code entry module 103 checks whether a
tent with reliable reception of the wireless access signal 108.     biometric signal 102 is being received. If this is not the case,
   Although typically the communication channel uses a              then the method 200 is directed in accordance with an NO
wireless transmission medium, there are instances where the         arrow back to the step 201 in a loop. If, on the other hand, the
channel used by the access signal 108 can use a wired 5 biometric signal 102 has been received, then the method 200
medium. This is particularly the case when the transmitter          is directed in accordance with a YES arrow to a step 202. The
sub-system 116 is mounted in an enclosure on the door jamb          step 202 compares the received biometric signal 102 with
rather than in a portable key fob.                                  information in the biometric signature database 105 in order
   The biometric signature database 105 is shown in FIG. 2 to       to ensure that the biometric signal received 102 is that of the
be part of the transmitter sub-system 116. However, in an 10 rightful user 101 of the sub-system 116.
alternate arrangement, the biometric signature database 105            A subsequent testing step 203 checks whether the compari-
can be located in the receiver sub-system 117, in which case        son in the step 202 yields the desired authentication. If the
the communication 104 between the code entry module 103             biometric signature matching is authenticated, then the pro-
and the signature database 105 can also be performed over a         cess 200 is directed in accordance with a YES arrow to a step
secure wireless communication channel such as the one used 15 204. The authentication of the biometric signature matching
by the access signal 108. In the event that the secure access       produces an accessibility attribute for the biometric signal
system is being applied to providing secure access to a PC,         102 in question. The accessibility attribute establishes
then the secured PC can store the biometric signature of the        whether and under which conditions access to the controlled
authorised user in internal memory, and the PC can be inte-         item 111 should be granted to a user. Thus, for example, the
grated into the receiver sub-system 117 of FIG. 1.               20 accessibility attribute may comprise one or more of an access
   In the event that the sub-system 116 is implemented as a         attribute (granting unconditional access), a duress attribute
remote fob, the combination of the biometric verification and       (granting access but with activation of an alert tone to advise
the strongly encrypted wireless communication provides a            authorities of the duress situation), an alert attribute (sound-
particularly significant advantage over current systems. The        ing a chime indicating that an unauthorised, but not necessar-
remote key fob arrangement allows easy installation, since 25 ily hostile, person is seeking access, and a telemetry attribute,
the wired communication path 404 (see FIG. 1) is avoided.           which represents a communication channel for communicat-
Other existing wiring elements of the present systems 400 can       ing state information for the transmitter sub-system to the
be used where appropriate. When the sub-system 116 is               receiver sub-system such as a "low battery" condition. The
implemented as a remote fob, the fob incorporates the bio-          step 204 enables the user 101 to select a control option by
metric (eg fingerprint) authentication arrangement, in which 30 providing one or more additional signals (not shown) to the
case only one biometric signature is stored in the fob. This        controller 107. Thus for example the control option could
arrangement reduces the requirements on the central database        enable the user 101 to access one of a number of secure doors
115. Once the key fob authenticates the user through biomet-        after his or her identity has been authenticated in the step 203.
ric signature (eg fingerprint) verification, the rolling code in    In the subsequent step 205 the controller 107 sends the appro-
the access signal 108 is transmitted to the controller 109 for 35 priate access signal 108 to the controller 109. The process 200
authorisation of the user for that location at that time.           is then directed in accordance with an arrow 206 back to the
   In addition to authenticating the user 101 the biometric         step 201.
sensor 121 in the code entry module 103 in conjunction with            Thus for example the sub-system 116 can be provided with
the controller 107 can also check other access privileges of        a single biometric sensor 121 in the code entry module 103
the user 101. These access privileges can be contained in the 40 which enables the user 101 to select one of four door entry
database 105 which can be located either locally in the remote      control signals by means of separate buttons on the controller
key fob, or in the receiver sub-system 117 as previously            107 (not shown). This would enable the user 101, after
described. In one example, Tom Smith can firstly be authen-         authentication by the biometric sensor 121 in the code entry
ticated as Tom Smith using the thumb press by Tom on the            module 103 and the controller 107 to obtain access to any one
biometric sensor panel (not shown). After Tom's personal 45 of the aforementioned for secure doors.
biometric identity is authenticated, the transmitter sub-sys-          Returning to the testing step 203, if the signature compari-
tem 116 can check if Tom Smith is in fact allowed to use the        son indicates that the biometric signal 102 is not authentic,
particular door secured by the device 111 on weekends. Thus         and has thus not been received from the proper user, then the
the security screening offered by the described arrangement         process 200 is directed in accordance with a NO arrow back
can range from simple authentication of the user's identity, to 50 to the step 201. In an alternate arrangement, the NO arrow
more comprehensive access privilege screening.                      from the step 203 could lead to a disabling step which would
   The incorporationofthe biometric sensor 121 into the code        disable further operation of the sub-system 116, either imme-
entry module 103 in the form ofa remote key fob also means          diately upon receipt of the incorrect biometric signal 102, or
that if the user 101 loses the remote key fob, the user need not    after a number of attempts to provide the correct biometric
be concerned that someone else can use it. Since the finder of 55 signal 102.
the lost key fob will not be able to have his or her biometric         FIG. 4 shows the method of operation of the control sub-
signal authenticated by the biometric sensor 121 in the code        system 117 of FIG. 2. The method 300 commences with a
entry module 103, the lost key fob is useless to anyone apart       testing step 301 which continuously checks whether the
from the rightful user 101.                                         access signal 108 has been received from 107. The step 301 is
   The transmitter sub-system 116 is preferably fabricated in 60 performed by the controller 109. As long as the access signal
the form of a single integrated circuit (IC) to reduce the          108 is not received the process 300 is directed in accordance
possibility of an authorised person bypassing the biometric         with a NO arrow in a looping manner back to the step 301.
sensor 121 in the code entry module 103 and directly forcing        When the access signal 108 is received, the process 300 is
the controller 107 to emit the rolling code access signal 108.      directed from the step 301 by means of a YES arrow to a step
   FIG. 3 shows the method of operation of the remote control 65 302. In the step 302, the controller 109 compares the rolling
module (i.e. the sub-system 116) of FIG. 2. The method 200          code received by means of the access signal 108 with a
commences with a testing step 201 in which the biometric            reference code in the database 115. A subsequent testing step

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303 is performed by the controller 109. In the step 303 if the          From a practical perspective, incorporating the protocol
code received on the access signal 108 is successfully              converter 501 into an existing controller 109' would require
matched against the reference code in the database 115 then         direct wiring of the converter 501 into the housing of the
the process 300 is directed in accordance with a YES arrow to       secure controller 109'.
a step 304.                                                             FIG. 6 shows another process 700 of operation of the
    In the step 304 the controller 109 sends the control signal     remote access system. The process 700 commences with a
110 to the controlled item 111 (for example opening the             step 701 that determines if a biometric signal has been
secured door). The process 300 is then directed from the step       received by the biometric sensor 121 in the code entry module
304 as depicted by an arrow 305 back to the step 301. Return-       in FIG. 2. If not, then the process 700 follows a NO arrow
                                                                 10 back to the step 701. If however a biometric signal has been
ing to the testing step 303 if the code received on the access
                                                                    received, then the process 700 follows a YES arrow to a step
signal 108 is not successfully matched against the reference
                                                                    702 that determines if the user ID database 105 in FIG. 2 is
code in the database 115 by the controller 109 then the pro-
                                                                    empty. This would be the case, for example, if the code entry
cess 300 is directed from the step 303 in accordance with a         module is new and has never been used, or if the user 101 has
NO arrow back to the step 301.                                   15 erased all the information in the database 105.
    As was described in regard to FIG. 3, in an alternate               If the database 105 is empty, then the process 700 is
arrangement, the process 300 could be directed, if the code         directed by an arrow 703 to 706 in FIG. 8 which depicts a
match is negative, from the step 303 to a disabling step which      process 800 dealing with the enrolment or the administration
would disable the sub-system 117 if the incorrect code where        function for loading relevant signatures into the database 105.
received once or a number of times.                              20 If on the other hand the database 105 is not empty, then the
    FIG. 5 shows incorporation of a protocol converter into the     process 700 is directed to a step 704 that determines if the
arrangement of FIG. 2. In the arrangement of FIG. 2 the             biometric signal that has been received is an administrator's
receiver 118 in the controller 109 is able to directly receive      biometric signal.
and process the rolling code in the access signal 108 in a              The disclosed remote entry system can accommodate at
manner as to provide, as depicted by the arrow 120, the 25 least three classes of user, namely administrators, (ordinary)
necessary information to the controller 109. FIG. 5 shows           users, and duress users. The administrators have the ability to
how an existing controller depicted by a reference numeral          amend data stored, for example, in the database 105, while the
109' that uses Wiegand input signalling can be used in the          ordinary users do not have this capability. The first user of the
disclosed arrangement when alarm systems are upgraded.              code entry module 103, whether this is the user who pur-
FIG. 5 shows how the incoming access signal 108 is received 30 chases the module, or the user who programs the module 103
                                                                    after all data has been erased from the database 105, is auto-
by a receiver 118' as is the case in FIG. 2. In FIG. 5 however
                                                                    matically categorised as an administrator. This first adminis-
the receiver 118' provides, as depicted by an arrow 503, the
                                                                    trator can direct the system 100 to either accept further admin-
received rolling code from the access signal 108 to a rolling
                                                                    istrators, or alternately to only accept further ordinary users.
code/Wiegand protocol converter 501. The converter 501 35               Although the present description refers to "Users", in fact
converts, as depicted by an arrow 504, the incoming rolling         it is "fingers" which are the operative entities in system opera-
code 503 to a form that can be used by the controller 109' that     tion when the biometric sensor 121 (see FIG. 2) is a finger-
is designed to handle Wiegand protocol incoming signals.            print sensor. In this event, a single user can enrol two or more
Therefore, the converted incoming signal 504 is in the Wie-         of his or her own fingers as separate administrators or (ordi-
gand format.                                                     40 nary) users of the system, by storing corresponding finger-
    The converter 501 uses a microprocessor-based arrange-          prints for corresponding fingers in the database 105 via the
ment running software code to process the incoming rolling          enrolment process 800 (see FIG. 8).
code information 503 and decode this information 503 to                 Some class overlap is possible. Thus a stored signature can
clear text form. The converter 501 converts this clear text to a    belong to an administrator in the duress class.
Wiegand variable bit-length data stream. In FIG. 2, the 45              The first administrator can provide control information to
receiver 118 performs the conversion of the incoming rolling        the code entry module by providing a succession of finger
code access signal 108 to clear text which enables the con-         presses to the biometric sensor 121, providing that these
troller 109 to identify the serial number of the originating key    successive presses are of the appropriate duration, the appro-
fob sub-system 116 to enable the access rights of the user to       priate quantity, and are input within a predetermined time. In
be verified.                                                     50 one arrangement, the control information is encoded by either
    Further to the Wiegand conversion arrangement, the pro-         or both (a) the number of finger presses and (b) the relative
tocol converter 501 approach can be adapted to convert              duration of the finger presses. If the successive finger presses
between the incoming rolling code 503 (or any other appro-          are provided within this predetermined time, then the control-
priate secure code) to any other convenient protocol used by        ler 107 accepts the presses as potential control information
the controller 169'                                              55 and checks the input information against a stored set oflegal
    The advantage of the rolling code/Wiegand converter 501         control signals.
is that security system upgrades can be made without replac-            One example of a legal control signal can be expressed as
ing Wiegand compatible controller 109'. Accordingly, exist-         follows:
ing systems as are described in FIG. 1 can be upgraded by               "Enrol an ordinary user"-dit, dit, dit, dah
replacing the code entry module 403 and the transmission 60 where "dit" is a finger press of one second's duration (pro-
path 404, leaving the other components of the system 400            vided by the user 101 in response to the feedback provided by
(i.e., the controller 405, the code database 407, and the con-      the Amber LED as described below), and "dah" is a finger
trolled item 409, together with existing wiring 408 and 406),       press of two second's duration.
largely intact. Minor modifications might however be neces-             In the event that a legitimate sequence of finger presses are
sary. When upgrading systems in this manner, the sub-system 65 not delivered within the predetermined time, then the presses
116 can either be used in a remote fob configuration, or can be     are considered not to be control information and merely to be
placed in a secure housing on an external door jamb.                presses intended to provide access to the controlled item 111.

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Legitimate control sequences are defined in Read Only                arrow to the step 607. The step 607 checks the biometric
Memory (ROM) in the controller 107.                                  signal against the signatures in the database 105. If the
   The code entry module 103 has feedback signalling                 received biometric signal matches a legitimate signature in
mechanisms 122, implemented for example by a number of               the database 105, then the process is directed to a step 608 that
LEDs, and 124, implemented by an audio transducer. The 5 prepares an "access" bit for insertion into the access signal
LEDs 122 and the audio transducer 124 are used by the                108. This access bit directs the controller 109 in the receiver
controller to signal the state of the code entry module 103 to       sub-system 117 to provide access to the controlled item 111.
the user 101, and to direct the administration process. Thus, in     The aforementioned access bit is an access attribute of the
one example, three LEDs, being Red, Amber and Green are              biometric signal 102. The process 600 then proceeds to a step
provided.                                                         10 610.
   When the Amber LED is flashing, it means "Press the                  If the step 607 determines that the biometric input signal
sensor". When the Amber LED is steady ON, it means "Main-            does not match any legitimate signatures in the database 105,
tain finger pressure". When the Amber LED is OFF, it means           then the process 600 proceeds according to a NO arrow to a
"Remove finger pressure". When the system enters the enrol-          step 609 that prepares an "alert" bit for insertion into the
ment state (depicted by the process 800 in FIG. 8), then the 15 access signal 108. The aforementioned alert bit is an access
audio transducer 124 emits the "begin enrolment" signal (dit         attribute of the biometric signal 102. This alert bit directs the
dit dit dit) and the Red LED flashes. Enrolment of a normal          controller 109 (a) not to provide access to the controlled item
user (according to the step 807 in FIG. 8) is signalled by the       111, and (b) to provide an alert tone, like ringing a chime or a
OK audio signal (dit dit) and a single blink of the Green LED.       bell (not shown), to alert personnel in the vicinity of the
   Returning to the step 704, if the step determines that the 20 receiver sub-system 117 that an unauthorised user is attempt-
biometric signal received is an administrator's signal, then         ing to gain access to the controlled item 111. The alert bit can
the process 700 is directed by a YES arrow to 706 in FIG. 8 as       also cause a camera mounted near the controlled item 111 to
depicted by the arrow 703. If on the other hand, the step 704        photograph the unauthorised user for later identification of
indicates that the received biometric signal does not belong to      that person. The camera can be activated if the person
an administrator then the process 700 is directed by a NO 25 attempting to gain access is unauthorised, and also if the
arrow to 707 in FIG. 7.                                              person attempting to gain access is authorised but uses a
   FIG. 7 shows the access process 600 by which a biometric          duress signature.
signal 102 (see FIG. 2) is processed in order to provide access         An optional additional step (not shown) can prepare an
to the controlled item 111, orto take other action. Entering the     identification field for insertion into the access signal 108.
process at 707 from FIG. 6, the process 600 proceeds to a step 30 This sends, to the receiver sub-system 117, ID information
602 that compares the received biometric signature to signa-         that the receiver sub-system can use to construct an audit trail
tures stored in the database 105. A following step 603 deter-        listing which users, having signatures in the database 105,
mines if the received signal falls into the "duress" category.       have been provided with access to the controlled item 111.
Signatures in this category indicate that the user 101 is in a          The process 600 is then directed to the step 610 which
coercive situation where, for example, an armed criminal is 35 inserts the various user defined bits into the access signal 108
forcing the user 101 to access the secure facility (such as a        and sends the signal 108 to the receiver sub-system 117.
bank door). If the step 603 determines that the signature is in      Thereafter, the process 600 is directed by an arrow 611 to 705
the duress class, then a following step 604 prepares a "duress"      in FIG. 6.
bit for incorporation into the code access signal 108. The              FIG. 8 shows a process 800 for implementing various
aforementioned duress bit is an access attribute of the bio- 40 enrolment procedures. The process 800 commences at 706
metric signal 102. Thereafter the process 600 proceeds to a          from FIG. 6 after which a step 801 determines if the biometric
step 605.                                                            signal is a first administrators input (which is the case if the
   Modules used in the code entry module for producing the           database 105 is empty). If this is the case, then the process 800
rolling code enable a number of user defined bits to be              is directed to a step 802 that stores the administrator's signa-
inserted into the access signal 108, and these bits can be used 45 ture in the database 105. From a terminology perspective, this
to effect desired control functions in the receiver sub-system       first administrator, or rather the first administrator's first fin-
117. The disclosed system 100 utilises four such user bits,          ger (in the event that the biometric sensor 121 in FIG. 2 is a
namely (a) to indicate that the user belongs to the duress           fingerprint sensor), is referred to as the "superfinger". Further
category, (b) to indicate a "battery low" condition, or other        administrator's fingers are referred to as admin-fingers, and
desired system state or "telemetry" variable, for the code 50 ordinary users fingers are referred to merely as "fingers". The
entry module 103, (c) to indicate that the biometric signal          reason that someone would enrol more than one of their own
represents a legitimate user in which case the secure access to      fingers into the system is to ensure that even in the event that
the controlled item 111 is to be granted, or (d) to indicate that    one of their enrolled fingers is injured, the person can still
the biometric signal is unknown, in which case the controller        operate the system using another enrolled finger.
109 in the receiver sub-system 117 sounds an alert tone using 55        It is noted that the step 802, as well as the steps 805, 807 and
a bell (not shown) or the like.                                      809 involve sequences of finger presses on the biometric
   Returning to FIG. 7, if the step 603 determines that the          sensor 121 in conjunction with feedback signals from the
biometric signal is not in the duress class, then the process        LEDs 122 and/or the audio speaker 124. The process 800 then
600 proceeds according to a NO arrow to the step 605. The            proceeds to a step 810 that determines if further enrolment
step 605 determines if the code entry module 103 has a low 60 procedures are required. If this is the case, then the process
battery condition, in which event the process 600 proceeds           800 proceeds by a YES arrow back to the step 801. If no
according to a YES arrow to a step 606 that prepares a telem-        further enrolment procedures are required, then the process
etry bit for insertion into the access signal 108. The afore-        800 proceeds by a NO arrow to 705 in FIG. 6.
mentioned telemetry bit is an access attribute of the biometric         Returning to the step 801, if the biometric signal is not a
signal 102. Thereafter, the process proceeds to a step 607.       65 first administrator's signal, then the process 800 proceeds by
   If the step 605 determines that telemetry signalling is not       a NO arrow to a step 803. The step 803 determines if a further
required, then the process 600 proceeds according to a NO            administrator signature is to be stored. It is noted that all

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signatures stored in the database are tagged as belonging to          the incoming biometric signal belongs to the first administra-
one or more of the classes of administrator, ordinary user, and       tor, then all the signatures in the database 105 are erased.
duress users. If a further administrator signature is to be           Administrators who are not the first administrator can be
stored, then the process 800 proceeds by a YES arrow to the           granted either the same powers as the first administrator in
step 802 that stores the biometric signal as a further admin- 5 regard to erasure of signatures, or can be granted the same
istrator' s signature.                                                powers as ordinary user in this respect.
    If a further administrator's signature is not required, then         Once the step 912 has completed erasure of the relevant
the process 800 proceeds according to a NO arrow to a step            signatures, then the process 900 follows an arrow 913 to 705
804 that determines if a duress signature is to be stored. If this    in FIG. 6.
is the case then the process 800 follows a YES arrow to a step 10
                                                                         FIG. 10 is a schematic block diagram of the system in. FIG.
805 that stores a duress signature. The process 800 then
                                                                      2. The disclosed secure access methods are preferably prac-
proceeds to the step 810. If however the step 804 determines
                                                                      ticed using a computer system arrangement 100', such as that
that a duress signature is not required, then the process 800
proceeds by a NO arrow to s step 806.                                 shown in FIG. 10 wherein the processes of FIGS. 3-4, and 6-9
    The step 806 determines if a further simple signature (i.e. 15 may be implemented as software, such as application pro-
belonging to an ordinary user) is to be stored. If a further          gram modules executing within the computer system 100'. In
simple signature is to be stored, then the process 800 proceeds       particular, the method steps for providing secure access are
by a YES arrow to the step 807 that stores the biometric signal       effected by instructions in the software that are carried out
as a further ordinary signature.                                      under direction of the respective processor modules 107 and
    If a further simple signature is not required, then the pro- 20 109 in the transmitter and receiver sub-systems 116 and 117.
cess 800 proceeds according to a NO arrow to a step 808 that          The instructions may be formed as one or more code modules,
determines if any or all signatures are to be erased from the         each for performing one or more particular tasks. The soft-
database 105. If this is the case then the process 800 follows        ware may also be divided into two separate parts, in which a
a YES arrow to a step 809 that erases the desired signatures.         first part performs the provision of secure access methods and
The process 800 then proceeds to the step 810. Ifhoweverthe 25 a second part manages a user interface between the first part
step 804 determines that no signatures are to be erased, then         and the user. The software may be stored in a computer
the process 800 proceeds by a NO arrow to the step 810.               readable medium, including the storage devices described
    FIG. 9 shows another enrolment process relating to the            below, for example. The software is loaded into the transmit-
example of FIG. 6. The process 900 commences at 706 from              ter and receiver sub-systems 116 and 117 from the computer
FIG. 6 after which a step 901 determines if the received 30 readable medium, and then executed under direction of the
biometric signal comes from the first administrator. If this is       respective processor modules 107 and 109. A computer read-
the case, then the process 900 proceeds according to a YES            able medium having such software or computer program
arrow to a step 902. The step 902 emits an "Enrolment" tone           recorded on it is a computer program product. The use of the
and flashes the green LED once only. Thereafter, a step 905           computer program product in the computer preferably effects
reads the incoming biometric signal which is provided by the 35 an advantageous apparatus for provision of secure access.
user as directed by the Amber LED. When the Amber LED                    The following description is directed primarily to the trans-
flashes continuously, this directs the user to "Apply Finger".        mitter sub-system 116, however the description applies in
When the Amber LED is in a steady illuminated state, this             general to the operation of the receiver sub-system 117. The
directs the user to "Maintain Finger Pressure". Finally, when         computer system 100' is formed, having regard to the trans-
the amber LED is off, this directs the user to "Remove Fin- 40 mitter sub-system 116, by the controller module 107, input
ger".                                                                 devices such as the bio sensor 121, output devices including
    Returning to the step 901, if the incoming biometric signal       the LED display 122 and the audio device 124. A communi-
does not belong to the first administrator, then the process 900      cation interface/transceiver 1008 is used by the controller
proceeds according to a NO arrow to a step 903. The step 903          module 107 for communicating to and from a communica-
emits an "Enrolment" tone, and flashes the Red LED in an 45 tions network 1020. Although FIG. 2 shows the transmitter
on-going fashion. Thereafter, the process 900 proceeds                sub-system 116 communicating with the receiver sub-system
according to an arrow 904 to the step 905.                            117 using a direct wireless link for the access signal 108, this
    Following the step 905, a step 906 determines whether the         link used by the access signal 108 can be effected over the
incoming biometric signal is legible. If this is not the case,        network 1020 forming a tandem link comprising 108-1020-
then the process 900 proceeds according to a NO arrow to a 50 108'. The aforementioned communications capability can be
step 907. The step 907 emits a "Rejection" tone, after which          used to effect communications between the transmitter sub-
the process 900 is directed, according to an arrow 908 to 705         system 116 and the receiver sub-system 117 either directly or
in FIG. 6. Returning to the step 906, if the incoming biometric       via the Internet, and other network systems, such as a Local
signal is legible, then the process 900 follows a YES arrow to        Area Network (LAN) or a Wide Area Network (WAN).
a step 909. The step 909 determines whether the finger press 55          The controller module 107 typically includes at least one
exceeds a predetermined time. If this is not the case, then the       processor unit 1005, and a memory unit 1006, for example
process 900 follows a NO arrow to a step 910 which stores the         formed from semiconductor random access memory (RAM)
biometric signal, which in the present case is a fingerprint          and read only memory (ROM). The controller module 107
signature. Thereafter the process 900 follows an arrow 911 to         also includes an number of input/output (I/O) interfaces
705 in FIG. 6.                                                     60 including an audio-video interface 1007 that couples to the
    Returning to the step 909 if the finger press does exceed the     LED display 122 and audio speaker 124, an I/O interface
predetermined period, then the process follows a YES arrow            1013 for the bio-sensor 121, and the interface 1008 for com-
to a step 912. The step 912 erases relevant signatures depend-        munications. The components 1007, 1008, 1005, 1013 and
ing upon the attributes of the incoming biometric signal.             1006 the controller module 107 typically communicate via an
Thus, for example, if the incoming biometric signal belongs 65 interconnected bus 1004 and in a manner which results in a
to an ordinary user, then the ordinary user's signature in the        conventional mode of operation of the controller 107 known
database 105 is erased by the step 912. If, on the other hand,        to those in the relevant art.

                                                            Appx144                                             IPR2022-00601
                                                                                                         Apple EX1001 Page 19
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                                                      US 9,269,208 B2
                              15                                                                    16
   Typically, the application program modules for the trans-               wherein the controlled item is one of: a locking mecha-
mitter sub-system 116 are resident in the memory 1006                         nism of a physical access structure or an electronic
iROM, and are read and controlled in their execution by the                   lock on an electronic computing device.
processor 1005. Intermediate storage of the program and any             2. The system according to claim 1, further comprising:
data fetched from the bio sensor 121 and the network 1020 5             means for providing a signal for directing input of the
may be accomplished using the RAM in the semiconductor                     series of entries of the biometric signal;
memory 1006. In some instances, the application program                 means for incorporating into the secure access signal an
modules may be supplied to the user encoded into the ROM in                identification field identifying the biometric signal if the
the memory 1006. Still further, the software modules can also              signal matches a member of the database; and
be loaded into the transmitter sub-system 116 from other 10
                                                                        means for constructing an audit trail of biometric signals
computer readable media, say over the network 1020. The
                                                                           provided to the biometric sensor for the purpose of
term "computer readable medium" as used herein refers to
                                                                           accessing the controlled item.
any storage or transmission medium that participates in pro-
                                                                        3. The system according to claim 1, wherein the database of
viding instructions and/or data to the transmitter sub-system
116 for execution and/or processing. Examples of storage 15 biometric signatures comprises signatures in at least one of a
media include floppy disks, magnetic tape, CD-ROM, a hard            system administrator class, a system user class, and a duress
disk drive, a ROM or integrated circuit, a magneto-optical           class, the accessibility attribute preferably comprising:
disk, or a computer readable card such as a PCM CIA card and            an access attribute if the biometric signal matches a mem-
the like, whether or not such devices are internal or external of          ber of the database of biometric signatures;
the transmitter sub-system 116. Examples of transmission 20             a duress attribute if the biometric signal matches a member
media include radio or infra-red transmission channels as                  of the database of biometric signatures and said member
well as a network connection to another computer or net-                   belongs to the duress class; and
worked device, and the Internet or Intranets including e-mail           an alert attribute if the biometric signal does not match a
transmissions and information recorded on Websites and the                 member of the database of biometric signatures.
like.                                                             25    4. The system according to claim 1, wherein the biometric
                                                                     sensor is responsive to one of voice, retinal pattern, iris pat-
               INDUSTRIAL APPLICABILITY                              tern, face pattern, and palm configuration, and/ or the database
                                                                     of biometric signatures is located in at least one of the trans-
   It is apparent from the above that the arrangements
                                                                     mitter sub-system and the receiver sub-system.
described are applicable to the security industry.                30
                                                                        5. The system according to claim 1, wherein said condi-
   The foregoing describes only some embodiments of the
                                                                     tional access comprises one of:
present invention, and modifications and/or changes can be
made thereto without departing from the scope and spirit of             provision of access to the controlled item if the accessibil-
the invention, the embodiments being illustrative and not                  ity attribute comprises an access attribute:
restrictive.                                                      35
                                                                        provision   of access to the controlled item and sounding of
   The system 100 can also be used to provide authorised                   an alert if the accessibility attribute comprises a duress
access to lighting systems, building control devices, exterior             attribute; and
or remote devices such as air compressors and so on. The                denial of access to the controlled item and sounding of an
concept of "secure access" is thus extendible beyond mere                  alert if the accessibility attribute comprises an alert
access to restricted physical areas.                              40       attribute.
   What is claimed is:                                                  6. The system as claimed in claim 1, wherein:
   1. A system for providing secure access to a controlled              the biometric sensor is for authenticating the identity of a
item, the system comprising:                                               user;
   a database of biometric signatures;                                  the means for emitting comprises a transmitter for trans-
   a transmitter sub-system comprising:                           45       mitting information capable of granting more than two
      a biometric sensor for receiving a biometric signal;                 types of access to the controlled item using a secure
      means for matching the biometric signal against mem-                 wireless signal dependent upon a request from the user
         bers of the database of biometric signatures to thereby           and the authentication of the user identity; and
         output an accessibility attribute; and                         the system further comprising a control panel for receiving
      means for emitting a secure access signal conveying 50               the information and for providing the secure access
         information dependent upon said accessibility                     requested.
         attribute; and                                                 7. The system according to claim 6, wherein the control
   a receiver sub-system comprising:                                 panel includes a converter for receiving the secure wireless
   means for receiving the transmitted secure access signal;         signal and for outputting the information, and/or the biomet-
      and                                                         55 ric sensor authenticates the identity of the user by comparing
   means for providing conditional access to the controlled          a biometric input from the user with a biometric signature for
      item dependent upon said information,                          the user in a biometric database, and/or the biometric sensor,
   wherein the transmitter sub-system further comprises              the biometric database, and the transmitter are located in a
      means for populating the data base of biometric signa-         remote fob.
      tures, the population means comprising:                     60    8. The system according to claim 7, wherein the secure
      means for receiving a series of entries of the biometric       wireless signal comprises an RF carrier and a rolling code,
         signal, said series being characterised according to at     and the converter preferably converts the rolling code to the
         least one of the number of said entries and a duration      Wiegand protocol.
         of each said entry;                                            9. A transmitter sub-system for operating in a system for
      means for mapping said series into an instruction; and 65 providing secure access to a controlled item, wherein the
      means for populating the data base according to the            transmitter sub-system comprises:
         instruction,                                                   a biometric sensor for receiving a biometric signal;

                                                            Appx145                                              IPR2022-00601
                                                                                                          Apple EX1001 Page 20
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                                                     US 9,269,208 B2
                              17                                                                  18
   means for matching the biometric signal against members                mapping said series into an instruction; and
      of a database of biometric signatures to thereby output             populating the database according to the instruction;
      an accessibility attribute; and                                  receiving a biometric signal;
   means for emitting a secure access signal conveying said            matching the biometric signal against members of the data-
      information dependent upon said accessibility attribute; 5          base of biometric signatures to thereby output an acces-
   wherein the transmitter sub-system further comprises                   sibility attribute;
      means for populating the database of biometric signa-            emitting a secure access signal conveying information
      tures, the populating means comprising:                             dependent upon said accessibility attribute; and
      means for receiving a series of entries of the biometric         providing conditional access to the controlled item depen-
         signal, said series being characterised according to at 10       dent upon said information,
         least one of the number of said entries and a duration        wherein the controlled item is one of: a locking mechanism
         of each said entry;                                              of a physical access structure or an electronic lock on an
      means for mapping said series into an instruction; and              electronic computing device.
      means for populating the database according to the               11.  The method according to claim 10, wherein the step of
         instruction,                                            15 populating the database of biometric signatures further com-
wherein the controlled item is one of: a locking mechanism of       prises the step of enrolling a biometric signature into the
a physical access structure or an electronic lock on an elec-       database of biometric signatures comprising the steps of:
tronic computing device.                                               receiving a biometric signal; and
   10. A method for providing secure access to a controlled            enrolling the biometric signal as an administrator signature
item in a system comprising a database of biometric signa-       20       if the database of biometric signatures is empty.
tures, a transmitter sub-system comprising a biometric sensor          12. The method according to claim 11, wherein the step of
for receiving a biometric signal, and means for emitting a          enrolling the biometric signature further comprises receiving
secure access signal capable of granting more than two types        another biometric signal to confirm the enrolling of the bio-
of access to the controlled item, and a receiver sub-system         metric   signal as an administrator signature, and is preferably
comprising means for receiving the transmitted secure access 25 performed dependent upon generation of a feedback signal
signal, and means for providing conditional access to the           adapted to direct provision of at least one of the biometric
controlled item dependent upon information in said secure           signal and the other biometric signal.
access signal, the method comprising the steps of:                     13. A non-transitory computer readable storage medium
   populating the database of biometric signatures by:              for storing a computer program comprising instructions
                                                                 30 which when executed by processors causes the processors t~
      receiving a series of entries of the biometric signal;
      determining at least one of the number of said entries and    perform the steps of the method of claim 10.
         a duration of each said entry;                                                       * * * * *




                                                           Appx146                                            IPR2022-00601
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c12)   United States Patent                                                                   (IO) Patent No.:                       US 9,665,705 B2
       Burke                                                                                  (45) Date of Patent:                            *May 30, 2017

(54)   REMOTE ENTRY SYSTEM                                                                                 63/0861 (2013.01); H04W 12108 (2013.01);
                                                                                                                       H04W 84/12 (2013.01); H04W 84/18
(71)   Applicant: Securicom (NSW) Pty. Ltd., Ramsgate,                                                                                                           (2013.01)
                  NSW (AU)                                                                (58)     Field of Classification Search
                                                                                                   CPC ....................................................... G06F 21/32
(72)   Inventor:     Christopher John Burke, Ramsgate                                              See application file for complete search history.
                     (AU)
                                                                                          (56)                           References Cited
(73)   Assignee: SECURICOM (NSW) PTY LTD,
                 Ramsgate (AU)                                                                                 U.S. PATENT DOCUMENTS

( *)   Notice:       Subject to any disclaimer, the term ofthis                                   5,109,428 A        *    4/1992 Igaki .                  A61B 5/1172
                     patent is extended or adjusted under 35                                                                                                   356/71
                     U.S.C. 154(b) by O days.                                                     5,933,515 A        *    8/1999 Pu.                    G06K 9/00006
                                                                                                                                                             340/5.53
                     This patent is subject to a terminal dis-                                    7,152,045 B2 *         12/2006 Hoffman ................. G06F 21/32
                     claimer.                                                                                                                                 235/379

(21)   Appl. No.: 15/000,818                                                                                     OTHER PUBLICATIONS

(22)   Filed:        Jan. 19, 2016                                                        Klosterman, Andrew J., and Gregory R. Ganger. "Secure continuous
                                                                                          biometric-enhanced authentication." (2000). *
(65)                   Prior Publication Data
                                                                                          * cited by examiner
       US 2016/0132672 Al             May 12, 2016
                                                                                          Primary Examiner - Shawnchoy Rahman
                 Related U.S. Application Data
                                                                                          (74) Attorney, Agent, or Firm - Brinks Gilson & Liane
(63)   Continuation of application No. 13/572,166, filed on
       Aug. 10, 2012, now Pat. No. 9,269,208, which is a                                  (57)                             ABSTRACT
                        (Continued)                                                       A system is disclosed for providing secure access to a
                                                                                          controlled item, the system comprising a database of bio-
(30)              Foreign Application Priority Data                                       metric signatures, a transmitter subsystem comprising a
                                                                                          biometric sensor for receiving a biometric signal, means for
  Aug. 13, 2003       (AU) ................................ 2003904317                    matching the biometric signal against members of the data-
                                                                                          base of biometric signatures to thereby output an accessi-
(51)   Int. Cl.                                                                           bility attribute, and means for emitting a secure access signal
       H04L 29106               (2006.01)                                                 conveying information dependent upon said accessibility
       G06F 21132               (2013.01)                                                 attribute, wherein the secure access signal comprises one of
       G06F 21135               (2013.01)                                                 at least a rolling code, an encrypted Bluetooth™ protocol,
       G07C 9/00                (2006.01)                                                 and a WiFi™ protocol, and a receiver sub-system compris-
       H04W 12108               (2009.01)                                                 ing means for receiving the transmitted secure access signal
                          (Continued)                                                     and means for providing conditional access to the controlled
(52)   U.S. Cl.                                                                           item dependent upon said information.
       CPC .............. G06F 21132 (2013.01); G06F 21135
                (2013.01); G07C 9/00158 (2013.01); H04L                                                        17 Claims, 10 Drawing Sheets



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                                           Request

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                                                                                      116         ,11
                                                                                transmitter       receiver
                                                                                sub-system        sub-system




                                                                          Appx147                                                              IPR2022-00602
                                                                                                                                         Apple EX1001 Page 1
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             Related U.S. Application Data
       continuation of application No. 10/568,207, filed as
       application No. PCT/AU2004/001083 on Aug. 13,
       2004, now Pat. No. 8,266,442.

(51)   Int. Cl.
       H04W 84/12            (2009.01)
       H04W 84/18            (2009.01)




                                                       Appx148                               IPR2022-00602
                                                                                       Apple EX1001 Page 2
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                                Appx149                               IPR2022-00602
                                                                Apple EX1001 Page 3
                                                         Case: 24-1278             Document: 16         Page: 203       Filed: 04/23/2024




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                                   Request                                                                                                                    -....J
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                                                            Controller/                                      ...                                              .....




         Appx150
                                                           Transmitter      I                              I                                                  N
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                                                             Database!
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                                                                                           transmitter     I    receiver                         Fig. 2       ~
                                                                                           sub-system           sub-system                                    =
                                                                                                                                                              UI

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                                                              200

                                                           ,J

               NO




                          YES
                                       202

                         Compareto
                          signatures




               NO


                          YES
                                       204

                        Select control
                           option
       206
                                       205

                        Send access
                          signal




                                                          Fig. 3


                                   Appx151                             IPR2022-00602
                                                                 Apple EX1001 Page 5
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                                                             300

                                                          ✓




                         YES
                                     302

                        Compare to
                          code




                NO


                         YES
                                     304


         305           Send control
                         signal




                                                         Fig. 4


                                Appx152                              IPR2022-00602
                                                               Apple EX1001 Page 6
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                                         Appx153                         IPR2022-00602
                                                                   Apple EX1001 Page 7
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                                                                700

                                                             ✓
                              From Fig. 7 or Fig. 8




   or
   Fig. 9
                                        NO



                        YES



                                         NO




                                                           Fig. 6


                                  Appx154                           IPR2022-00602
                                                              Apple EX1001 Page 8
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                                                                       600

                                                                    ~
                                From Fig. 6 707




                                        Compare to
                                        signatures



     604    Insert duress     YES
                bit(s)


     606
           Insert telemetry   YES
                blt(s)



     608
            Insert access     YES
                bit(s}

                                                NO

                               609
                                         Insert alert
                                            bit(s)

                                                        610

                                        Send control
                                          sJgnal

                                 811
            To Fig. 6 705



                                                                   Fig. 7


                                       Appx155                              IPR2022-00602
                                                                      Apple EX1001 Page 9
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                                                                            800

                                                                       ,J
  ~--Store       administrator-14--..---<
                signature




                                                                      811
                            805

             Store duress
                                  YES
               signature



                            807


             Store simple
              signature



                            809

                Erase
             signature(s)




                                                            YES
                                                                      Fig. 8


                                        Appx156                           IPR2022-00602
                                                                   Apple EX1001 Page 10
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                                                                                       900

                                                                                    ✓
             903     Emit "enrolment"    _,____J"
                     tone & flash Red
                      LED (ongoing)



                                                     Emit "enrolment"
                                 904                tone & flash Green    902
                                                       LED (once)



                                                      Read biometric
                                                    signal (directed by   905
                                                       Amber LED}


 To Fig. 6
                      Emit nrejection"
                           tone




              911.---------.
                    Store signature




                               913
                                                      Erase rerevant
                                                       signature(s)
                                                                          912




                                                                                   Fig. 9


                                               Appx157                                  IPR2022-00602
                                                                                 Apple EX1001 Page 11
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   I          Processor                                   Memory
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                                      Interface
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                         bio sensor

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                                                                                   Fig. 10



                                                Appx158                                    IPR2022-00602
                                                                                    Apple EX1001 Page 12
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                                                     US 9,665,705 B2
                              1                                                                   2
              REMOTE ENTRY SYSTEM                                      Current systems as depicted in FIG. 1 utilise a commu-
                                                                    nication protocol called "Wiegand" for communication
            CROSS-REFERENCE TO RELATED                              between the code entry module 403 and the controller 405.
                         APPLICATIONS                               The Wiegand protocol is a simple one-way data protocol that
                                                                  5 can be modified by increasing or decreasing the bit count to
   This application is a continuation patent application of         ensure uniqueness of the protocol among different security
U.S. Non-Provisional application Ser. No. 10/568,207 for            companies. The Wiegand protocol does not secure the
REMOTE ENTRY SYSTEM, filed Jun. 4, 2008, the disclo-                information being sent between the code entry module 403
sure of which is incorporated by reference in its entirety.         and the controller 405.
                                                                 10    More advanced protocols such as RS 485 have been used
                 FIELD OF THE INVENTION                             in order to overcome the vulnerability of the Wiegand
                                                                    protocol over the long distance route 404. RS 485 is a duplex
   The present invention relates to secure access systems           protocol offering encryption capabilities at both the trans-
and, in particular, to systems using wireless transmission of       mitting and receiving ends, i.e. the code entry module 403
                                                                 15 and the controller 405 respectively in the present case. The
security code information.
                                                                    length of the path 404 nonetheless provides an attack point
                         BACKGROUND                                 for the unauthorised person.
                                                                       Due to the cost and complexity ofre-wiring buildings and
                                                                    facilities, security companies often make use of existing
   FIG. 1 shows a prior art arrangement for providing secure
                                                                 20 communication cabling when installing and/or upgraded
access. A user 401 makes a request, as depicted by an arrow
                                                                    security systems, thereby maintaining the vulnerability
402, directed to a code entry module 403. The module 403            described above.
is typically mounted on the external jamb of a secure door.
The request 402 is typically a secure code of some type                                      SUMMARY
which is compatible with the code entry module 403. Thus, 25
for example, the request 402 can be a sequence of secret               It is an object of the present invention to substantially
numbers directed to a keypad 403. Alternately, the request          overcome, or at least ameliorate, one or more disadvantages
402 can be a biometric signal from the user 401 directed to         of existing arrangements.
a corresponding biometric sensor 403. One example of a                 According to a first aspect of the present invention, there
biometric signal is a fingerprint. Other physical attributes 30 is provided a system for providing secure access to a
that can be used to provide biometric signals include voice,        controlled item, the system comprising:
retinal or iris pattern, face pattern, palm configuration and so       a database of biometric signatures;
on.                                                                    a transmitter subsystem comprising: a biometric sensor
   The code entry module 403 conveys the request 402 by             for receiving a biometric signal; means for matching the
sending a corresponding signal, as depicted by an arrow 404, 35 biometric signal against members of the database of bio-
to a controller 405 which is typically situated in a remote or      metric signatures to thereby output an accessibility attribute;
inaccessible place. The controller 405 authenticates the            and means for emitting a secure access signal conveying
security information provided by the user 401 by interro-           information dependent upon said accessibility attribute,
gating a database 407 as depicted by an arrow 406. If the           wherein the secure access signal comprises one of at least a
user 401 is authenticated, and has the appropriate access 40 rolling code, an encrypted Bluetooth™ protocol, and a
privileges, then the controller 405 sends an access signal, as      WiFi™ protocol; and
depicted by an arrow 408, to a device 409 in order to provide          a receiver sub-system comprising; means for receiving the
the desired access. The device 409 can, for example, be the         transmitted secure access signal; and means for providing
locking mechanism of a secure door, or can be an electronic         conditional access to the controlled item dependent upon
lock on a personal computer (PC) which the user 401 desires 45 said information.
to access.                                                             According to another aspect of the present invention,
   A proximity card can also be used to emit the request 402,       there is provided a transmitter sub-system for operating in a
in which case the code entry module 403 has appropriate             system for providing secure access to a controlled item, the
functionality.                                                      system comprising a database of biometric signatures, a
   Although the request 402 can be made secure, either by 50 receiver sub-system comprising means for receiving a
increasing the number of secret digits or by using a biomet-        secure access signal transmitted by the transmitter sub-
ric system, the communication infrastructure in FIG. 1 is           system, and means for providing conditional access to the
typically less secure. The infrastructure 400 is generally          controlled item dependent upon information conveyed in the
hardwired, with the code entry module 403 generally being           secure access signal; wherein the transmitter subsystem
mounted on the outside jamb of a secured door. In such a 55 comprises: a biometric sensor for receiving a biometric
situation, the signal path 404 can be over a significant            signal; means for matching the biometric signal against
distance in order to reach the controller 405. The path 404         members of the database of biometric signatures to thereby
represents one weak point in the security system 400,               output an accessibility attribute; and means for emitting the
providing an unauthorised person with relatively easy access        secure access signal conveying said information dependent
to the information being transmitted between the code entry 60 upon said accessibility attribute, wherein the secure access
module 403 and the controller 405. Such an unauthorised             signal comprises one of at least a rolling code, an encrypted
person can, given this physical access, decipher the com-           Bluetooth™ protocol, and a WiFi™ protocol.
municated information between the code entry module 403                According to another aspect of the present invention,
and the controller 405. This captured information can be            there is provided receiver sub-system for operating in a
deciphered, replayed in order to gain the access which 65 system for providing secure access to a controlled item, the
rightfully belongs to the user 401, or to enable modification       system comprising a database of biometric signatures, a
for other subversive purposes.                                      transmitter subsystem comprising a biometric sensor for

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receiving a biometric signal, means for matching the bio-          and means for emitting a secure access signal conveying
metric signal against members of the database of biometric         information dependent upon said accessibility attribute,
signatures to thereby output an accessibility attribute, and       wherein the secure access signal comprises one of at least a
means for emitting a secure access signal conveying infor-         rolling code, an encrypted Bluetooth™ protocol, and a
mation dependent upon said accessibility attribute, wherein 5 WiFi™ protocol, said method comprising the steps of:
the secure access signal comprises one of at least a rolling          receiving the transmitted secure access signal; and pro-
code, an encrypted Bluetooth™ protocol, and a WiFi™                viding conditional access to the controlled item dependent
protocol; wherein the receiver sub-system comprises; means         upon said information.
for receiving the transmitted secure access signal; and means         According to another aspect of the present invention,
for providing conditional access to the controlled item 10
                                                                   there is provided a computer program product having a
dependent upon said information.
                                                                   computer readable medium having a computer program
   According to another aspect of the present invention,
                                                                   recorded therein for directing a processor to provide secure
there is provided a method for providing secure access to a
controlled item, the method comprising the steps of:               access to a controlled item, said computer program product
   receiving a biometric signal;                                15
                                                                   comprising:
   matching the biometric signal against members of a                 code for receiving a biometric signal;
database of biometric signatures to thereby output an acces-          code for matching the biometric signal against members
sibility attribute;                                                of  a database of biometric signatures to thereby output an
   emitting a secure access signal conveying information           accessibility attribute;
dependent upon said accessibility attribute, wherein the 20           code for emitting a secure access signal conveying infor-
secure access signal comprises one of at least a rolling code,     mation dependent upon said accessibility attribute, wherein
an encrypted Bluetooth™ protocol, and a WiFi™ protocol;            the secure access signal comprises one of at least a rolling
and                                                                code, an encrypted Bluetooth™ protocol, and a WiFi™
   providing conditional access to the controlled item depen-      protocol; and
dent upon said information.                                     25    code for providing conditional access to the controlled
   According to another aspect of the present invention,           item dependent upon said information.
there is provided a method for populating a database of               According to another aspect of the present invention,
biometric signatures in a system for providing secure access       there is provided a computer program product having a
to a controlled item, the system comprising said database of       computer readable medium having a computer program
biometric signatures, a transmitter subsystem comprising a 30 recorded therein for directing a processor to populate a
biometric sensor for receiving a biometric signal, and means
                                                                   database of biometric signatures in a system for providing
for emitting a secure access signal, and a receiver sub-
                                                                   secure access to a controlled item, said computer program
system comprising means for receiving the transmitted
                                                                   product comprising:
secure access signal, and means for providing conditional
access to the controlled item dependent upon information in 35        code for receiving a series of entries of the biometric
said secure access signal, said method comprising the steps        signal;
of:                                                                   code for determining at least one of the number of said
   receiving a series of entries of the biometric signal;          entries and a duration of each said entry;
   determining at least one of the number of said entries and         code for mapping said series into an instruction; and
a duration of each said entry;                                  40    code for populating the database according to the instruc-
   mapping said series into an instruction; and                    tion.
   populating the database according to the instruction.              According to another aspect of the present invention,
   According to another aspect of the present invention,           there is provided a computer program product having a
there is provided a method for transmitting a secure access        computer readable medium having a computer program
signal in a system for providing secure access to a controlled 45 recorded therein for directing a processor to transmit a
item, the system comprising a database of biometric signa-         secure access signal in a system for providing secure access
tures, a receiver sub-system comprising means for receiving        to a controlled item, said computer program product com-
the secure access signal transmitted by a transmitter sub-         prising:
system, and means for providing conditional access to the             code for receiving a biometric sensor by biometric signal;
controlled item dependent upon information conveyed in the 50         code for matching the biometric signal against members
secure access signal, said method comprising the steps of:         of the database of biometric signatures to thereby output an
receiving a biometric sensor by biometric signal; matching         accessibility attribute; and
the biometric signal against members of the database of               code for emitting the secure access signal conveying said
biometric signatures to thereby output an accessibility attri-     information dependent upon said accessibility attribute,
bute; and emitting the secure access signal conveying said 55 wherein the secure access signal comprises one of at least a
information dependent upon said accessibility attribute,           rolling code, an encrypted Bluetooth™ protocol, and a
wherein the secure access signal comprises one of at least a       WiFi™ protocol.
rolling code, an encrypted Bluetooth™ protocol, and a                 According to another aspect of the present invention,
WiFi™ protocol.                                                    there is provided a computer program product having a
   According to another aspect of the present invention, 60 computer readable medium having a computer program
there is provided a method for receiving a secure access           recorded therein for directing a processor to receive a secure
signal in a system for providing secure access to a controlled     access signal in a system for providing secure access to a
item, the system comprising a database of biometric signa-         controlled item, said computer program product comprising:
tures, a transmitter subsystem comprising a biometric sensor          code for receiving the transmitted secure access signal;
for receiving a biometric signal, means for matching the 65 and
biometric signal against members of the database of bio-              code for providing conditional access to the controlled
metric signatures to thereby output an accessibility attribute,    item dependent upon said information.

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   According to another aspect of the present invention,          signatures for authorised users against which the request 102
there is provided a system for providing secure access, the       can be authenticated. If the identity of the user 101 is
system comprising:                                                authenticated successfully, then the code entry module 103
   a biometric sensor for authenticating the identity of a user;  sends a signal 106 to a controller/transmitter 107. The
   a transmitter for transmitting information using a secure    5 controller/transmitter 107 checks, as depicted by an arrow
wireless signal dependent upon a request from the user and        112, the current rolling code in a database 113. The con-
the authentication of the user identity; and                      troller 107 then updates the code and sends the updated
   a control panel for receiving the information and for          code, this being referred to as an access signal, as depicted
providing the secure access requested.                            by an arrow 108 to a controller 109. The rolling code
   Other aspects of the invention are also disclosed.
                                                               10 protocol offers non-replay encrypted communication.

       BRIEF DESCRIPTION OF THE DRAWINGS                             The controller 109 tests the rolling code received in the
                                                                  access signal 108 against the most recent rolling code which
   Some aspects of the prior art and one or more embodi-          has been stored in a database 115, this testing being depicted
ments of the present invention are described with reference       by an arrow 114. If the incoming rolling code forming the
to the drawings, in which:                                     15 access signal 108 is found to be legitimate, then the con-
   FIG. 1 shows a prior art arrangement for providing secure      troller 109 sends a command, as depicted by an arrow 110,
access;                                                           to a controlled item 111. The controlled item 111 can be a
   FIG. 2 is a functional block diagram of an arrangement for     door locking mechanism on a secure door, or an electronic
providing secure access according to the present disclosure;      key circuit in a personal computer (PC) that is to be accessed
   FIG. 3 shows an example of a method of operation of the 20 by the user 101. It is noted that the controller 109 contains
remote control module of FIG. 2;                                  a receiver 118 that receives the transmitted access signal 108
   FIG. 4 shows an example of a method of operation of the        and converts it into a form that is provided, as depicted by
(fixed) control device of FIG. 2;                                 an arrow 120, into a form that the controller 109 can use.
   FIG. 5 shows incorporation of a protocol converter into           The code entry module 103 also incorporates at least one
the arrangement of FIG. 2; and                                 25 mechanism for providing feedback to the user 101. This
   FIG. 6 shows another example of how the remote access          mechanism can, for example, take the form or one or more
system operates;                                                  Light Emitting Diodes (LEDs) 122 which can provide visual
   FIG. 7 shows an access process relating to the example of      feedback, depicted by an arrow 123 to the user 101. Alter-
FIG. 6;                                                           nately or in addition the mechanism can take the form of an
   FIG. 8 shows one enrollment process relating to the 30 audio signal provided by an audio transducer 124 providing
example of FIG. 6;                                                audio feedback 125.
   FIG. 9 shows another enrollment process relating to the           The arrangement in FIG. 2 has been described for the case
example of FIG. 6; and                                            in which the secure code in the access signal 108 used
   FIG. 10 is a schematic block diagram of the system in          between the sub-systems 116 and 117 is based upon the
FIG. 2.                                                        35 rolling code. It is noted that this is merely one arrangement,
                                                                  and other secure codes can equally be used. Thus, for
      DETAILED DESCRIPTION INCLUDING BEST                         example, either of the Bluetooth™ protocol, or the Wi Fi™
                             MODE                                 protocols can be used.
                                                                     Rolling codes provide a substantially non-replayable non-
   It is to be noted that the discussions contained in the 40 repeatable and encrypted radio frequency data communica-
"Background" section relating to prior art arrangements           tions scheme for secure messaging. These codes use inher-
relate to discussions of documents or devices which form          ently secure protocols and serial number ciphering
public knowledge through their respective publication and/        techniques which in the present disclosure hide the clear text
or use. Such should not be interpreted as a representation by     values required for authentication between the key fob
the present inventor(s) or patent applicant that such docu- 45 (transmitter) sub-system 116 and the receiver/controller 118/
ments or devices in any way form part of the common               109.
general knowledge in the art.                                        Rolling codes use a different code variant each time the
   Where reference is made in any one or more of the              transmission of the access signal 108 occurs. This is
accompanying drawings to steps and/or features, which have        achieved by encrypting the data from the controller 107 with
the same reference numerals, those steps and/or features 50 a mathematical algorithm, and ensuring that successive
have for the purposes of this description the same                transmissions of the access signal 108 are modified using a
function(s) or operation(s), unless the contrary intention        code and/or a look-up table known to both the transmitter
appears.                                                          sub-system 116 and the receiver sub-system 117. Using this
   FIG. 2 is a functional block diagram of an arrangement for     approach successive transmissions are modified, resulting in
providing secure access according to the present disclosure. 55 a non-repeatable data transfer, even if the information from
A user 101 makes a request, as depicted by an arrow 102, to       the controller 107 remains the same. The modification of the
a code entry module 103. The code entry module 103                code in the access signal 108 for each transmission signifi-
includes a biometric sensor 121 and the request 102 takes a       cantly reduces the likelihood that an intruder can access the
form which corresponds to the nature of the sensor 121 in         information replay the information to thereby gain entry at
the module 103. Thus, for example, if the biometric sensor 60 some later time.
121 in the code entry module 103 is a fingerprint sensor, then       The sub-system in FIG. 2 falling to the left hand side, as
the request 102 typically takes the form of a thumb press on      depicted by an arrow 116, of a dashed line 119 can be
a sensor panel (not shown) on the code entry module 103.          implemented in a number of different forms. The sub-system
   The code entry module 103 interrogates, as depicted by an      116 can for example be incorporated into a remote fob
arrow 104, a user identity database 105. Thus for example if 65 (which is a small portable device carried by the user 101),
the request 102 is the thumb press on the biometric sensor        or alternately can be mounted in a protected enclosure on the
panel 121 then the user database 105 contains biometric           outside jamb of a secured door. The sub-system 116 com-

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municates with the sub-system 117 on the right hand side of         The transmitter sub-system 116 is preferably fabricated in
the dashed line 119 via the wireless communication channel       the form of a single integrated circuit (IC) to reduce the
used by the access signal 108. The sub-system 117 is             possibility of an authorised person bypassing the biometric
typically located in an inaccessible area such as a hidden       sensor 121 in the code entry module 103 and directly forcing
roof space or alternately in a suitable protected area such as 5 the controller 107 to emit the rolling code access signal 108.
an armoured cupboard. The location of the sub-system 117            FIG. 3 shows the method of operation of the remote
must of course be consistent with reliable reception of the      control module (i.e. the sub-system 116) of FIG. 2. The
wireless access signal 108.                                      method 200 commences with a testing step 201 in which the
   Although typically the communication channel uses a           biometric sensor 121 in the code entry module 103 checks
wireless transmission medium, there are instances where the 10 whether a biometric signal 102 is being received. If this is
channel used by the access signal 108 can use a wired            not the case, then the method 200 is directed in accordance
medium. This is particularly the case when the transmitter       with an NO arrow back to the step 201 in a loop. If, on the
sub-system 116 is mounted in an enclosure on the door jamb       other hand, the biometric signal 102 has been received, then
rather than in a portable key fob.                               the method 200 is directed in accordance with a YES arrow
   The biometric signature database 105 is shown in FIG. 2 15 to a step 202. The step 202 compares the received biometric
to be part of the transmitter sub-system 116. However, in an     signal 102 with information in the biometric signature
alternate arrangement, the biometric signature database 105      database 105 in order to ensure that the biometric signal
can be located in the receiver sub-system 117, in which case     received 102 is that of the rightful user 101 of the sub-
the communication 104 between the code entry module 103          system 116.
and the signature database 105 can also be performed over 20        A subsequent testing step 203 checks whether the com-
a secure wireless communication channel such as the one          parison in the step 202 yields the desired authentication. If
used by the access signal 108. In the event that the secure      the biometric signature matching is authenticated, then the
access system is being applied to providing secure access to     process 200 is directed in accordance with a YES arrow to
a PC, then the secured PC can store the biometric signature      a step 204. The authentication of the biometric signature
of the authorised user in internal memory, and the PC can be 25 matching produces an accessibility attribute for the biomet-
integrated into the receiver sub-system 117 of FIG. 1.           ric signal 102 in question. The accessibility attribute estab-
   In the event that the sub-system 116 is implemented as a      lishes whether and under which conditions access to the
remote fob, the combination of the biometric verification        controlled item 111 should be granted to a user. Thus, for
and the strongly encrypted wireless communication pro-           example, the accessibility attribute may comprise one or
vides a particularly significant advantage over current sys- 30 more of an access attribute (granting unconditional access),
tems. The remote key fob arrangement allows easy instal-         a duress attribute (granting access but with activation of an
lation, since the wired communication path 404 (see FIG. 1)      alert tone to advise authorities of the duress situation), an
is avoided. Other existing wiring elements of the present        alert attribute (sounding a chime indicating that an unau-
systems 400 can be used where appropriate. When the              thorised, but not necessarily hostile, person is seeking
sub-system 116 is implemented as a remote fob, the fob 35 access, and a telemetry attribute, which represents a com-
incorporates the biometric (eg fingerprint) authentication       munication channel for communicating state information for
arrangement, in which case only one biometric signature is       the transmitter sub-system to the receiver sub-system such
stored in the fob. This arrangement reduces the requirements     as a "low battery" condition. The step 204 enables the user
on the central database 115. Once the key fob authenticates      101 to select a control option by providing one or more
the user through biometric signature (eg fingerprint) verifi- 40 additional signals (not shown) to the controller 107. Thus for
cation, the rolling code in the access signal 108 is transmit-   example the control option could enable the user 101 to
ted to the controller 109 for authorisation of the user for that access one of a number of secure doors after his or her
location at that time.                                           identity has been authenticated in the step 203. In the
   In addition to authenticating the user 101 the biometric      subsequent step 205 the controller 107 sends the appropriate
sensor 121 in the code entry module 103 in conjunction with 45 access signal 108 to the controller 109. The process 200 is
the controller 107 can also check other access privileges of     then directed in accordance with an arrow 206 back to the
the user 101. These access privileges can be contained in the    step 201.
database 105 which can be located either locally in the             Thus for example the sub-system 116 can be provided
remote key fob, or in the receiver sub-system 117 as             with a single biometric sensor 121 in the code entry module
previously described. In one example, Tom Smith can firstly 50 103 which enables the user 101 to select one of four door
be authenticated as Tom Smith using the thumb press by           entry control signals by means of separate buttons on the
Tom on the biometric sensor panel (not shown).AfterTom's         controller 107 (not shown). This would enable the user 101,
personal biometric identity is authenticated, the transmitter    after authentication by the biometric sensor 121 in the code
sub-system 116 can check if Tom Smith is in fact allowed to      entry module 103 and the controller 107 to obtain access to
use the particular door secured by the device 111 on week- 55 any one of the aforementioned for secure doors.
ends. Thus the security screening offered by the described          Returning to the testing step 203, if the signature com-
arrangement can range from simple authentication of the          parison indicates that the biometric signal 102 is not authen-
user's identity, to more comprehensive access privilege          tic, and has thus not been received from the proper user, then
screening.                                                       the process 200 is directed in accordance with a NO arrow
   The incorporation of the biometric sensor 121 into the 60 back to the step 201. In an alternate arrangement, the NO
code entry module 103 in the form of a remote key fob also       arrow from the step 203 could lead to a disabling step which
means that if the user 101 loses the remote key fob, the user    would disable further operation of the sub-system 116, either
need not be concerned that someone else can use it. Since the    immediately upon receipt of the incorrect biometric signal
finder of the lost key fob will not be able to have his or her   102, or after a number of attempts to provide the correct
biometric signal authenticated by the biometric sensor 121 65 biometric signal 102.
in the code entry module 103, the lost key fob is useless to        FIG. 4 shows the method of operation of the control
anyone apart from the rightful user 101.                         sub-system 117 of FIG. 2. The method 300 commences with

                                                         Appx162                                          IPR2022-00602
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a testing step 301 which continuously checks whether the           by replacing the code entry module 403 and the transmission
access signal 108 has been received from 107. The step 301         path 404, leaving the other components of the system 400
is performed by the controller 109. As long as the access          (i.e., the controller 405, the code database 407, and the
signal 108 is not received the process 300 is directed in          controlled item 409, together with existing wiring 408 and
accordance with a NO arrow in a looping manner back to the 5 406), largely intact. Minor modifications might however be
step 301. When the access signal 108 is received, the process      necessary. When upgrading systems in this manner, the
300 is directed from the step 301 by means of a YES arrow          sub-system 116 can either be used in a remote fob configu-
to a step 302. In the step 302, the controller 109 compares        ration, or can be placed in a secure housing on an external
the rolling code received by means of the access signal 108        door jamb.
with a reference code in the database 115. A subsequent 1
testing step 303 is performed by the controller 109. In the
                                                                 °    From a practical perspective, incorporating the protocol
                                                                   converter 501 into an existing controller 109' would require
step 303 if the code received on the access signal 108 is
                                                                   direct wiring of the converter 501 into the housing of the
successfully matched against the reference code in the
database 115 then the process 300 is directed in accordance        secure controller 109'.
with a YES arrow to a step 304.                                 15
                                                                      FIG. 6 shows another process 700 of operation of the
   In the step 304 the controller 109 sends the control signal     remote    access system. The process 700 commences with a
110 to the controlled item 111 (for example opening the            step 701 that determines if a biometric signal has been
secured door). The process 300 is then directed from the step      received by the biometric sensor 121 in the code entry
304 as depicted by an arrow 305 back to the step 301.              module in FIG. 2. If not, then the process 700 follows a NO
Returning to the testing step 303 if the code received on the 20 arrow back to the step 701. If however a biometric signal has
access signal 108 is not successfully matched against the          been received, then the process 700 follows a YES arrow to
reference code in the database 115 by the controller 109 then      a step 702 that determines if the user ID database 105 in FIG.
the process 300 is directed from the step 303 in accordance        2 is empty. This would be the case, for example, if the code
with a NO arrow back to the step 301.                              entry module is new and has never been used, or if the user
   As was described in regard to FIG. 3, in an alternate 25 101 has erased all the information in the database 105.
arrangement, the process 300 could be directed, if the code           If the database 105 is empty, then the process 700 is
match is negative, from the step 303 to a disabling step           directed by an arrow 703 to 706 in FIG. 8 which depicts a
which would disable the sub-system 117 if the incorrect            process 800 dealing with the enrollment or the administra-
code where received once or a number of times.                     tion function for loading relevant signatures into the data-
   FIG. 5 shows incorporation of a protocol converter into 30 base 105. Ifon the other hand the database 105 is not empty,
the arrangement of FIG. 2. In the arrangement of FIG. 2 the        then the process 700 is directed to a step 704 that determines
receiver 118 in the controller 109 is able to directly receive     if the biometric signal that has been received is an admin-
and process the rolling code in the access signal 108 in a         istrator's biometric signal.
manner as to provide, as depicted by the arrow 120, the               The disclosed remote entry system can accommodate at
necessary information to the controller 109. FIG. 5 shows 35 least three classes of user, namely administrators, (ordinary)
how an existing controller depicted by a reference numeral         users, and duress users. The administrators have the ability
109' that uses Wiegand input signalling can be used in the         to amend data stored, for example, in the database 105,
disclosed arrangement when alarm systems are upgraded.             while the ordinary users do not have this capability. The first
FIG. 5 shows how the incoming access signal 108 is                 user of the code entry module 103, whether this is the user
received by a receiver 118' as is the case in FIG. 2. In FIG. 40 who purchases the module, or the user who programs the
5 however the receiver 118' provides, as depicted by an            module 103 after all data has been erased from the database
arrow 503, the received rolling code from the access signal        105, is automatically categorised as an administrator. This
108 to a rolling code/Wiegand protocol converter 501. The          first administrator can direct the system 100 to either accept
converter 501 converts, as depicted by an arrow 504, the           further administrators, or alternately to only accept further
incoming rolling code 503 to a form that can be used by the 45 ordinary users.
controller 109' that is designed to handle Wiegand protocol           Although the present description refers to "Users", in fact
incoming signals. Therefore, the converted incoming signal         it is "fingers" which are the operative entities in system
504 is in the Wiegand format.                                      operation when the biometric sensor 121 (see FIG. 2) is a
   The converter 501 uses a microprocessor-based arrange-          fingerprint sensor. In this event, a single user can enroll two
ment running software code to process the incoming rolling 50 or more of his or her own fingers as separate administrators
code information 503 and decode this information 503 to            or (ordinary) users of the system, by storing corresponding
clear text form. The converter 501 converts this clear text to     fingerprints for corresponding fingers in the database 105 via
a Wiegand variable bit-length data stream. In FIG. 2, the          the enrollment process 800 (see FIG. 8).
receiver 118 performs the conversion of the incoming rolling          Some class overlap is possible. Thus a stored signature
code access signal 108 to clear text which enables the 55 can belong to an administrator in the duress class.
controller 109 to identify the serial number of the originating       The first administrator can provide control information to
key fob sub-system 116 to enable the access rights of the          the code entry module by providing a succession of finger
user to be verified.                                               presses to the biometric sensor 121, providing that these
   Further to the Wiegand conversion arrangement, the pro-         successive presses are of the appropriate duration, the appro-
tocol converter 501 approach can be adapted to convert 60 priate quantity, and are input within a predetermined time. In
between the incoming rolling code 503 (or any other appro-         one arrangement, the control information is encoded by
priate secure code) to any other convenient protocol used by       either or both (a) the number of finger presses and (b) the
the controller 169'.                                               relative duration of the finger presses. If the successive
   The advantage of the rolling code/Wiegand converter 501         finger presses are provided within this predetermined time,
is that security system upgrades can be made without 65 then the controller 107 accepts the presses as potential
replacing Wiegand compatible controller 109'. Accordingly,         control information and checks the input information against
existing systems as are described in FIG. 1 can be upgraded        a stored set of legal control signals.

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   One example of a legal control signal can be expressed as       controller 109 in the receiver sub-system 117 sounds an alert
follows:                                                           tone using a bell (not shown) or the like.
   "Enroll an ordinary user"-dit, dit, dit, dah where "dit" is        Returning to FIG. 7, if the step 603 determines that the
a finger press of one second' s duration (provided by the user     biometric signal is not in the duress class, then the process
101 in response to the feedback provided by the Amber LED 5 600 proceeds according to a NO arrow to the step 605. The
as described below), and "dah" is a finger press of two            step 605 determines if the code entry module 103 has a low
second's duration.                                                 battery condition, in which event the process 600 proceeds
   In the event that a legitimate sequence of finger presses       according to a YES arrow to a step 606 that prepares a
are not delivered within the predetermined time, then the          telemetry bit for insertion into the access signal 108. The
                                                                10 aforementioned telemetry bit is an access attribute of the
presses are considered not to be control information and
                                                                   biometric signal 102. Thereafter, the process proceeds to a
merely to be presses intended to provide access to the
                                                                   step 607.
controlled item 111. Legitimate control sequences are
                                                                      If the step 605 determines that telemetry signalling is not
defined in Read Only Memory (ROM) in the controller 107.           required, then the process 600 proceeds according to a NO
   The code entry module 103 has feedback signalling 15 arrow to the step 607. The step 607 checks the biometric
mechanisms 122, implemented for example by a number of             signal against the signatures in the database 105. If the
LEDs, and 124, implemented by an audio transducer. The             received biometric signal matches a legitimate signature in
LEDs 122 and the audio transducer 124 are used by the              the database 105, then the process is directed to a step 608
controller to signal the state of the code entry module 103 to     that prepares an "access" bit for insertion into the access
the user 101, and to direct the administration process. Thus, 20 signal 108. This access bit directs the controller 109 in the
in one example, three LEDs, being Red, Amber and Green             receiver sub-system 117 to provide access to the controlled
are provided.                                                      item 111. The aforementioned access bit is an access attri-
   When the Amber LED is flashing, it means "Press the             bute of the biometric signal 102. The process 600 then
sensor". When the Amber LED is steady ON, it means                 proceeds to a step 610.
"Maintain finger pressure". When the Amber LED is OFF, it 25          If the step 607 determines that the biometric input signal
means "Remove finger pressure". When the system enters             does not match any legitimate signatures in the database
the enrollment state (depicted by the process 800 in FIG. 8),      105, then the process 600 proceeds according to a NO arrow
then the audio transducer 124 emits the "begin enrollment"         to a step 609 that prepares an "alert" bit for insertion into the
signal (dit dit dit dit) and the Red LED flashes. Enrollment       access signal 108. The aforementioned alert bit is an access
of a normal user (according to the step 807 in FIG. 8) is 30 attribute of the biometric signal 102. This alert bit directs the
signaled by the OK audio signal (dit dit) and a single blink       controller 109 (a) not to provide access to the controlled item
of the Green LED.                                                  111, and (b) to provide an alert tone, like ringing a chime or
   Returning to the step 704, if the step determines that the      a bell (not shown), to alert personnel in the vicinity of the
biometric signal received is an administrator's signal, then       receiver sub-system 117 that an unauthorised user is
the process 700 is directed by a YES arrow to 706 in FIG. 35 attempting to gain access to the controlled item 111. The
8 as depicted by the arrow 703. If on the other hand, the step     alert bit can also cause a camera mounted near the controlled
704 indicates that the received biometric signal does not          item 111 to photograph the unauthorised user for later
belong to an administrator then the process 700 is directed        identification of that person. The camera can be activated if
by a NO arrow to 707 in FIG. 7.                                    the person attempting to gain access is unauthorised, and
   FIG. 7 shows the access process 600 by which a biometric 40 also if the person attempting to gain access is authorised but
signal 102 (see FIG. 2) is processed in order to provide           uses a duress signature.
access to the controlled item 111, or to take other action.           An optional additional step (not shown) can prepare an
Entering the process at 707 from FIG. 6, the process 600           identification field for insertion into the access signal 108.
proceeds to a step 602 that compares the received biometric        This sends, to the receiver sub-system 117, ID information
signature to signatures stored in the database 105. A follow- 45 that the receiver sub-system can use to construct an audit
ing step 603 determines if the received signal falls into the      trail listing which users, having signatures in the database
"duress" category. Signatures in this category indicate that       105, have been provided with access to the controlled item
the user 101 is in a coercive situation where, for example, an     111.
armed criminal is forcing the user 101 to access the secure           The process 600 is then directed to the step 610 which
facility (such as a bank door). If the step 603 determines that 50 inserts the various user defined bits into the access signal
the signature is in the duress class, then a following step 604    108 and sends the signal 108 to the receiver sub-system 117.
prepares a "duress" bit for incorporation into the code access     Thereafter, the process 600 is directed by an arrow 611 to
signal 108. The aforementioned duress bit is an access             705 in FIG. 6.
attribute of the biometric signal 102. Thereafter the process         FIG. 8 shows a process 800 for implementing various
600 proceeds to a step 605.                                     55 enrollment procedures. The process 800 commences at 706
   Modules used in the code entry module for producing the         from FIG. 6 after which a step 801 determines if the
rolling code enable a number of user defined bits to be            biometric signal is a first administrators input (which is the
inserted into the access signal 108, and these bits can be used    case if the database 105 is empty). If this is the case, then the
to effect desired control functions in the receiver sub-system     process 800 is directed to a step 802 that stores the admin-
117. The disclosed system 100 utilises four such user bits, 60 istrator's signature in the database 105. From a terminology
namely (a) to indicate that the user belongs to the duress         perspective, this first administrator, or rather the first admin-
category, (b) to indicate a "battery low" condition, or other      istrator's first finger (in the event that the biometric sensor
desired system state or "telemetry" variable, for the code         121 in FIG. 2 is a fingerprint sensor), is referred to as the
entry module 103, (c) to indicate that the biometric signal        "superfinger". Further administrator's fingers are referred to
represents a legitimate user in which case the secure access 65 as admin-fingers, and ordinary users fingers are referred to
to the controlled item 111 is to be granted, or (d) to indicate    merely as "fingers". The reason that someone would enroll
that the biometric signal is unknown, in which case the            more than one of their own fingers into the system is to

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ensure that even in the event that one of their enrolled fingers     a step 907. The step 907 emits a "Rejection" tone, after
is injured, the person can still operate the system using            which the process 900 is directed, according to an arrow 908
another enrolled finger.                                             to 705 in FIG. 6. Returning to the step 906, if the incoming
   It is noted that the step 802, as well as the steps 805, 807      biometric signal is legible, then the process 900 follows a
and 809 involve sequences of finger presses on the biometric 5 YES arrow to a step 909. The step 909 determines whether
sensor 121 in conjunction with feedback signals from the             the finger press exceeds a predetermined time. If this is not
LEDs 122 and/or the audio speaker 124. The process 800               the case, then the process 900 follows a NO arrow to a step
then proceeds to a step 810 that determines if further               910 which stores the biometric signal, which in the present
enrollment procedures are required. If this is the case, then        case is a fingerprint signature. Thereafter the process 900
the process 800 proceeds by a YES arrow back to the step 10 follows an arrow 911 to 705 in FIG. 6.
801. If no further enrollment procedures are required, then             Returning to the step 909 if the finger press does exceed
the process 800 proceeds by a NO arrow to 705 in FIG. 6.             the predetermined period, then the process follows a YES
   Returning to the step 801, if the biometric signal is not a       arrow to a step 912. The step 912 erases relevant signatures
first administrator's signal, then the process 800 proceeds by       depending upon the attributes of the incoming biometric
a NO arrow to a step 803. The step 803 determines if a 15 signal. Thus, for example, if the incoming biometric signal
further administrator signature is to be stored. It is noted that    belongs to an ordinary user, then the ordinary user's signa-
all signatures stored in the database are tagged as belonging        ture in the database 105 is erased by the step 912. If, on the
to one or more of the classes of administrator, ordinary user,       other hand, the incoming biometric signal belongs to the first
and duress users. If a further administrator signature is to be      administrator, then all the signatures in the database 105 are
stored, then the process 800 proceeds by a YES arrow to the 20 erased. Administrators who are not the first administrator
step 802 that stores the biometric signal as a further admin-        can be granted either the same powers as the first adminis-
istrator's signature.                                                trator in regard to erasure of signatures, or can be granted the
   If a further administrator's signature is not required, then      same powers as ordinary user in this respect.
the process 800 proceeds according to a NO arrow to a step              Once the step 912 has completed erasure of the relevant
804 that determines if a duress signature is to be stored. If 25 signatures, then the process 900 follows an arrow 913 to 705
this is the case then the process 800 follows a YES arrow to         in FIG. 6.
a step 805 that stores a duress signature. The process 800              FIG. 10 is a schematic block diagram of the system in
then proceeds to the step 810. If however the step 804               FIG. 2. The disclosed secure access methods are preferably
determines that a duress signature is not required, then the         practiced using a computer system arrangement 100', such
process 800 proceeds by a NO arrow to s step 806.                 30 as that shown in FIG. 10 wherein the processes of FIGS. 3-4,
   The step 806 determines if a further simple signature (i.e.       and 6-9 may be implemented as software, such as applica-
belonging to an ordinary user) is to be stored. If a further         tion program modules executing within the computer system
simple signature is to be stored, then the process 800               100'. In particular, the method steps for providing secure
proceeds by a YES arrow to the step 807 that stores the              access are effected by instructions in the software that are
biometric signal as a further ordinary signature.                 35 carried out under direction of the respective processor
   If a further simple signature is not required, then the           modules 107 and 109 in the transmitter and receiver sub-
process 800 proceeds according to a NO arrow to a step 808           systems 116 and 117. The instructions may be formed as one
that determines if any or all signatures are to be erased from       or more code modules, each for performing one or more
the database 105. If this is the case then the process 800           particular tasks. The software may also be divided into two
follows a YES arrow to a step 809 that erases the desired 40 separate parts, in which a first part performs the provision of
signatures. The process 800 then proceeds to the step 810. If        secure access methods and a second part manages a user
however the step 804 determines that no signatures are to be         interface between the first part and the user. The software
erased, then the process 800 proceeds by a NO arrow to the           may be stored in a computer readable medium, including the
step 810.                                                            storage devices described below, for example. The software
   FIG. 9 shows another enrollment process relating to the 45 is loaded into the transmitter and receiver sub-systems 116
example of FIG. 6. The process 900 commences at 706 from             and 117 from the computer readable medium, and then
FIG. 6 after which a step 901 determines if the received             executed under direction of the respective processor mod-
biometric signal comes from the first administrator. If this is      ules 107 and 109. A computer readable medium having such
the case, then the process 900 proceeds according to a YES           software or computer program recorded on it is a computer
arrow to a step 902. The step 902 emits an "Enrollment" tone 50 program product. The use of the computer program product
and flashes the green LED once only. Thereafter, a step 905          in the computer preferably effects an advantageous appara-
reads the incoming biometric signal which is provided by             tus for provision of secure access.
the user as directed by the Amber LED. When the Amber                   The following description is directed primarily to the
LED flashes continuously, this directs the user to "Apply            transmitter sub-system 116, however the description applies
Finger". When the Amber LED is in a steady illuminated 55 in general to the operation of the receiver sub-system 117.
state, this directs the user to "Maintain Finger Pressure".          The computer system 100' is formed, having regard to the
Finally, when the amber LED is off, this directs the user to         transmitter sub-system 116, by the controller module 107,
"Remove Finger".                                                     input devices such as the bio sensor 121, output devices
   Returning to the step 901, if the incoming biometric signal       including the LED display 122 and the audio device 124. A
does not belong to the first administrator, then the process 60 communication interface/transceiver 1008 is used by the
900 proceeds according to a NO arrow to a step 903. The              controller module 107 for communicating to and from a
step 903 emits an "Enrollment" tone, and flashes the Red             communications network 1020. Although FIG. 2 shows the
LED in an on-going fashion. Thereafter; the process 900              transmitter sub-system 116 communicating with the receiver
proceeds according to an arrow 904 to the step 905.                  sub-system 117 using a direct wireless link for the access
   Following the step 905, a step 906 determines whether the 65 signal 108, this link used by the access signal 108 can be
incoming biometric signal is legible. If this is not the case,       effected over the network 1020 forming a tandem link
then the process 900 proceeds according to a NO arrow to             comprising 108-1020-108'. The aforementioned communi-

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cations capability can be used to effect communications                 a transmitter sub-system controller configured to match
between the transmitter sub-system 116 and the receiver                    the biometric signal against members of the database
sub-system 117 either directly or via the Internet, and other              of biometric signatures to thereby output an acces-
network systems, such as a Local Area Network (LAN) or                     sibility attribute; and
a Wide Area Network (WAN).                                              a transmitter configured to emit a secure access signal
   The controller module 107 typically includes at least one               conveying information dependent upon said acces-
processor unit 1005, and a memory unit 1006, for example                   sibility attribute; and
formed from semiconductor random access memory (RAM)                 a receiver sub-system comprising:
and read only memory (ROM). The controller module 107                   a receiver sub-system controller configured to:
                                                               10          receive the transmitted secure access signal; and
also includes an number of input/output (I/O) interfaces
                                                                           provide conditional access to the controlled item
including an audio-video interface 1007 that couples to the
                                                                              dependent upon said information;
LED display 122 and audio speaker 124, an I/O interface
                                                                     wherein the transmitter sub-system controller is further
1013 for the bio-sensor 121, and the interface 1008 for                 configured to:
communications. The components 1007, 1008, 1005, 1013 15                receive a series of entries of the biometric signal, said
and 1006 the controller module 107 typically communicate                   series being characterised according to at least one of
via an interconnected bus 1004 and in a manner which                       the number of said entries and a duration of each said
results in a conventional mode of operation of the controller              entry;
107 known to those in the relevant art.                                 map said series into an instruction; and
   Typically, the application program modules for the trans- 20         populate the data base according to the instruction,
mitter sub-system 116 are resident in the memory 1006                      wherein the controlled item is one of: a locking
iROM, and are read and controlled in their execution by the                mechanism of a physical access structure or an
processor 1005. Intermediate storage of the program and any                electronic lock on an electronic computing device.
data fetched from the bio sensor 121 and the network 1020            2. The system according to claim 1, wherein the trans-
may be accomplished using the RAM in the semiconductor 25 mitter sub-system controller is further configured to:
memory 1006. In some instances, the application program              provide a signal for directing input of the series of entries
modules may be supplied to the user encoded into the ROM                of the biometric signal;
in the memory 1006. Still further, the software modules can          incorporate into the secure access signal an identification
also be loaded into the transmitter sub-system 116 from                 field identifying the biometric signal if the signal
other computer readable media, say over the network 1020. 30            matches a member of the database; and
The term "computer readable medium" as used herein refers            construct an audit trail of biometric signals provided to
to any storage or transmission medium that participates in              the biometric sensor in order to access the controlled
providing instructions and/or data to the transmitter sub-              item.
system 116 for execution and/or processing. Examples of              3. The system according to claim 1, wherein the database
storage media include floppy disks, magnetic tape, CD- 35 of biometric signatures comprises signatures in at least one
ROM, a hard disk drive, a ROM or integrated circuit, a            of a system administrator class, a system user class, and a
magneto-optical disk, or a computer readable card such as a       duress class, the accessibility attribute comprising:
PCMCIA card and the like, whether or not such devices are            an access attribute if the biometric signal matches a
internal or external of the transmitter sub-system 116.                 member of the database of biometric signatures;
Examples of transmission media include radio or infra-red 40         a duress attribute if the biometric signal matches a mem-
transmission channels as well as a network connection to                ber of the database of biometric signatures and said
another computer or networked device, and the Internet or               member belongs to the duress class; and
Intranets including e-mail transmissions and information             an alert attribute if the biometric signal does not match a
recorded on Websites and the like.                                      member of the database of biometric signatures.
                                                               45    4. The system according to claim 1, wherein the biometric
               INDUSTRIAL APPLICABILITY                           sensor is responsive to one of voice, retinal pattern, iris
                                                                  pattern, face pattern, and palm configuration, and/or the
   It is apparent from the above that the arrangements            database of biometric signatures is located in at least one of
described are applicable to the security industry.                the transmitter sub-system and the receiver sub-system.
   The foregoing describes only some embodiments of the 50           5. The system according to claim 1, wherein said condi-
present invention, and modifications and/or changes can be        tional access comprises one of:
made thereto without departing from the scope and spirit of          provision of access to the controlled item if the accessi-
the invention, the embodiments being illustrative and not               bility attribute comprises an access attribute:
restrictive.                                                         provision of access to the controlled item and sounding of
   The system 100 can also be used to provide authorised 55             an alert if the accessibility attribute comprises a duress
access to lighting systems, building control devices, exterior          attribute; and
or remote devices such as air compressors and so on. The             denial of access to the controlled item and sounding of an
concept of "secure access" is thus extendible beyond mere               alert if the accessibility attribute comprises an alert
access to restricted physical areas.                                    attribute.
                                                               60    6. The system as claimed in claim 1, wherein the biomet-
   The invention claimed is:                                      ric sensor is further configured to authenticate the identity of
   1. A system for providing secure access to a controlled        a user;
item, the system comprising:                                         wherein the transmitter is further configured to transmit
   a memory comprising a database of biometric signatures;              information capable of granting access to the controlled
   a transmitter sub-system comprising:                        65       item using a secure wireless signal dependent upon a
      a biometric sensor configured to receive a biometric              request from the user and the authentication of the user
         signal;                                                        identity; and

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   the system further comprising a control panel configured            12. The method according to claim 11, wherein populat-
      to receive the information and provide the secure             ing the database of biometric signatures further comprises
      access requested.                                             enrolling a biometric signature into the database of biomet-
   7. The system according to claim 6, wherein the control          ric signatures, and wherein enrolling the biometric signature
panel includes a converter configured to receive the secure 5 into the database comprises:
wireless signal and output the information, and/or the bio-            receiving a biometric signal; and
metric sensor is configured to authenticate the identity of the        enrolling the biometric signal as an administrator signa-
user by comparing a biometric input from the user with a                  ture in response to the database of biometric signatures
biometric signature for the user in a biometric database,                 being empty.
and/or the biometric sensor, the biometric database, and the 10
                                                                       13. The method according to claim 12, wherein enrolling
transmitter are located in a remote fob.
                                                                    the biometric signature further comprises receiving another
   8. The system according to claim 7, wherein the secure
                                                                    biometric signal to confirm the enrolling of the biometric
wireless signal comprises an RF carrier and a rolling code,
and the converter converts the rolling code to the Wiegand          signal as an administrator signature, and wherein enrolling
protocol.                                                        15
                                                                    the biometric signature is dependent upon generation of a
   9. The system according to claim 1, wherein:                     feedback signal adapted to direct provision of at least one of
   the transmitter sub-system and the receiver sub-system           the biometric signal and the other biometric signal.
      are collocated in the electronic computing device.               14. A non-transitory computer readable storage medium
   10. A transmitter sub-system for operating in a system for       storing a computer program comprising instructions, which
providing secure access to a controlled item, wherein the 20 when executed by processors causes the processors to:
transmitter sub-system comprises:                                      receive a series of entries of a biometric signal;
   a biometric sensor configured to receiving a biometric              determine at least one of a number of said entries and a
      signal;                                                             duration of each of said entries;
   a controller configured to match the biometric signal               map said series into an instruction;
      against members of a database of biometric signatures 25         populate a database of biometric signatures according to
      to thereby output an accessibility attribute; and                   the instruction;
   a transmitter configured to emit a secure access signal             receive the biometric signal;
      conveying said information dependent upon said acces-            match the biometric signal against members of the data-
      sibility attribute;                                                 base of biometric signatures to thereby output an acces-
   wherein the controller is further configured to:              30
                                                                          sibility attribute;
      receive a series of entries of the biometric signal, said
                                                                       emit a secure access signal conveying information depen-
         series being characterised according to at least one of
                                                                          dent upon said accessibility attribute; and
         the number of said entries and a duration of each said
                                                                       provide conditional access to a controlled item dependent
         entry;
      map said series into an instruction; and                   35
                                                                          upon said information, wherein the controlled item is
      populate the database according to the instruction,                 one of: a locking mechanism of a physical access
         wherein the controlled item is one of: a locking                 structure or an electronic lock on an electronic com-
         mechanism of a physical access structure or an                   puting device.
         electronic lock on an electronic computing device.            15. A system for providing secure access to a controlled
   11. A method for providing secure access to a controlled 40 item, the system comprising:
item in a system comprising a database of biometric signa-             a memory comprising a database of biometric signatures;
tures, a transmitter sub-system comprising a biometric sen-            a transmitter sub-system comprising:
sor configured to receive a biometric signal, and a transmit-             a biometric sensor capable of receiving a biometric
ter configured to emit a secure access signal capable of                     signal;
granting access to the controlled item, and a receiver sub- 45            a transmitter sub-system controller capable of matching
system comprising a receiver sub-system controller config-                   the biometric signal against members of the database
ured to receive the transmitted secure access signal, and                    of biometric signatures to thereby output an acces-
provide conditional access to the controlled item dependent                  sibility attribute; and
upon information in said secure access signal, the method                 a transmitter capable of emitting a secure access signal
comprising:                                                      50          conveying information dependent upon said acces-
   populating the database of biometric signatures by:                       sibility attribute; and
      receiving a series of entries of the biometric signal;           a receiver sub-system comprising:
      determining at least one of the number of said entries              a receiver sub-system controller capable of:
         and a duration of each said entry;                                  receiving the transmitted secure access signal; and
      mapping said series into an instruction; and               55          providing conditional access to the controlled item
      populating the database according to the instruction;                     dependent upon said information;
   receiving the biometric signal;                                     wherein the transmitter sub-system controller is further
   matching the biometric signal against members of the                   capable of:
      database of biometric signatures to thereby output an               receiving a series of entries of the biometric signal, said
      accessibility attribute;                                   60          series being characterised according to at least one of
   emitting a secure access signal conveying information                     the number of said entries and a duration of each said
      dependent upon said accessibility attribute; and                       entry;
   providing conditional access to the controlled item depen-             mapping said series into an instruction; and
      dent upon said information, wherein the controlled item             populating the data base according to the instruction,
      is one of: a locking mechanism of a physical access 65                 wherein the controlled item is one of: a locking
      structure or an electronic lock on an electronic com-                  mechanism of a physical access structure or an
      puting device.                                                         electronic lock on an electronic computing device.

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   16. A transmitter sub-system for operating in a system for        ing access to the controlled item, and a receiver sub-system
providing secure access to a controlled item, wherein the            comprising a receiver sub-system controller capable of
transmitter sub-system comprises:                                    receiving the transmitted secure access signal, and providing
   a biometric sensor capable of receiving a biometric signal;       conditional access to the controlled item dependent upon
   a controller capable of matching the biometric signal 5 information in said secure access signal, the method com-
      against members of a database of biometric signatures          prising:
      to thereby output an accessibility attribute; and                 populating the database of biometric signatures by:
   a transmitter capable of emitting a secure access signal                receiving a series of entries of the biometric signal;
      conveying said information dependent upon said acces-                determining at least one of the number of said entries
      sibility attribute;                                         10
                                                                              and a duration of each said entry;
   wherein the controller is further capable of:
                                                                           mapping said series into an instruction; and
      receiving a series of entries of the biometric signal, said
                                                                           populating the database according to the instruction;
         series being characterised according to at least one of
         the number of said entries and a duration of each said         receiving   the biometric signal;
         entry;                                                   15
                                                                        matching the biometric signal against members of the
      mapping said series into an instruction; and                         database of biometric signatures to thereby output an
      populating the database according to the instruction,                accessibility attribute;
         wherein the controlled item is one of: a locking               emitting   a secure access signal conveying information
         mechanism of a physical access structure or an                    dependent upon said accessibility attribute; and
         electronic lock on an electronic computing device. 20          providing conditional access to the controlled item depen-
   17. A method for providing secure access to a controlled                dent upon said information, wherein the controlled item
item in a system comprising a database of biometric signa-                 is one of: a locking mechanism of a physical access
tures, a transmitter sub-system comprising a biometric sen-                structure or an electronic lock on an electronic com-
sor capable of receiving a biometric signal, and a transmitter             puting  device.
capable of emitting a secure access signal capable of grant-                                  * * * * *




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FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
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                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 24-1278, 24-1354

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